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                        UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF MICHIGAN - SOUTHERN DIVISION


ABIGAIL MEALY, AMANDA MEALY,
MARIA VANORT, ZENA MALDONADO
and MEAGHAN ASHCRAFT;
                                                    Case No.:
                         Plaintiffs,
                                                    Hon.

                                                    COMPLAINT & JURY DEMAND
v.
                                                      Civil actions between these parties
MICHIGAN STATE UNIVERSITY; THE BOARD                  or other parties arising out of the
OF TRUSTEES OF MICHIGAN STATE                         transaction or occurrence alleged in
UNIVERSITY; LAWRENCE GERARD NASSAR                    this complaint have been previously
(individual capacity); USA GYMNASTICS, INC.;          filed in this court, where they were
TWISTARS, INC. d/b/a GEDDERT’S TWISTARS               given docket numbers 1:17-cv-00349,
GYMNASTICS CLUB USA; JOHN GEDDERT;                    1:17-cv-29, 1:17-cv-222, 1:17-cv-288,
KATHIE KLAGES (individual capacity); WILLIAM          and 1:17-cv-676, and were assigned
D. STRAMPEL, D.O., (individual capacity);             to Judge Quist. Those actions
JEFFREY R. KOVAN, D.O., (individual and               remain pending. A motion to
official capacity); GARY STOLLAK (individual          consolidate with Lead Case 1:17-cv-
capacity); DOUGLAS DIETZEL, D.O., (individual         29 will be filed concurrently or
and official capacity); BROOKE LEMMEN, D.O.,          shortly hereafter.
(individual capacity);DESTINY TEACHNOR-HAUK
(individual capacity); KRISTINE MOORE (individual
capacity);

                         Defendants.

Lisa M. Esser (P70628)
SOMMERS SCHWARTZ, P.C.
Attorney for Plaintiffs
1 Towne Square, Suite 1700
Southfield, MI 48076
(248) 355-0300
lesser@sommerspc.com


                                          COMPLAINT

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       NOW COME Plaintiffs, by and through their attorneys, SOMMERS SCHWARTZ, P.C.,

and for their Complaint against the above-named Defendants, Michigan State University

(hereinafter “Defendant MSU”), the Board of Trustees of Michigan State University, Kathie

Klages, William D. Strampel, D.O., Jeffrey R. Kovan, D.O., Douglas Dietzel, D.O., Brooke

Lemmen, D.O., Gary E. Stollak, Kristine Moore, Destiny Teachnor-Hauk (hereinafter with

Defendant MSU collectively referred to as “MSU Defendants”), Lawrence Gerard Nassar

(hereinafter “Defendant Nassar”), United States of America Gymnastics, Inc. (hereinafter

“Defendant USAG”), and John Geddert, Twistars USA, Inc., doing business as, Geddert’s Twistars

Gymnastics Club USA (hereinafter “Defendant Twistars”), state as follows:

                                    INTRODUCTORY STATEMENTS

       1.      This is a civil action for declaratory, injunctive, equitable, and monetary relief for

injuries sustained by Plaintiffs as a result of acts and omissions of Defendant MSU, Defendant

The Board of Trustees of Michigan State University, Defendant Nassar, Defendant USAG, and

Defendant Twistars, and their respective employees, agents, and/or representatives, relating to

sexual assault, battery, molestation, harassment, and discrimination by Defendant Nassar

against Plaintiffs.

       2.      At all times pertinent hereto, Defendant Nassar was retained by Defendant MSU

and Defendant USAG to provide medical care, treatment, and advice to Michigan State University

athletes and members of the general public. Defendant Nassar regularly provided such medical

care, treatment, and advice at Defendant MSU’s training department, MSU Jenison Fieldhouse,

MSU Breslin Center, MSU Sports Medicine Clinic, Holt High School, and/or Twistars USA

Gymnastics Club.
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       3.     Defendant Nassar came highly recommended to Plaintiffs as a renowned

orthopedic sports medicine physician, purportedly well-respected in the sports medicine

community, and specifically in the gymnastics community as the Team Physician for the United

States Gymnastics team.

       4.     Upon information and belief, Defendant Nassar used his position of trust and

confidence to regularly and systematically sexually assault, batter, molest, and harass female

patients over the entire course of his career in his capacity as an employee, agent, and/or

representative of Defendants MSU, USAG, and Twistars, for his own personal self-gratification.

       5.     Despite being informed of Defendant Nassar’s sexual assault, battery, molestation,

and harassment, Defendants MSU, USAG, and Twistars failed to take appropriate action to

prevent Defendant Nassar from sexually molesting, abusing, and harassing his patients over the

course of his career in his capacity as an employee, agent, and/or representative of Defendants

MSU, USAG, and Twistars.

                                      JURISDICTION AND VENUE

       6.     Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       7.     This action is brought pursuant to Title IX of the Education Amendments of 1972,

20 U.S.C. 1681 et seq., as more fully set forth herein.

       8.     This action also seeks to redress the deprivation of Plaintiffs’ rights secured by the

Equal Protection Clause and Due Process Clause of the Fourteenth Amendment of the United

States Constitution pursuant to 42 U.S.C. § 1983.

       9.     This Court has subject matter jurisdiction over this action pursuant to Title 28 U.S.C.
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§ 1331 in that the controversy arises under the Constitution, laws, and treaties of the United

States.

       10.     Subject matter jurisdiction is also founded upon 28 U.S.C. § 1343 which grants

district courts original jurisdiction over any civil action authorized by law to be commenced by any

person to redress the deprivation, under color of any state law, statute, ordinance, regulation,

custom or usage, of any right, privilege or immunity secured by the Constitution of the United

States or by any Act of Congress providing for equal rights of citizens or of all persons within the

jurisdiction of the United States; or any action to recover damages or to secure equitable or other

relief under any Act of Congress providing for the protection of civil rights.

       11.     Subject matter jurisdiction is also founded upon 28 U.S.C. § 1332 as it relates to

Plaintiffs’ claims against Defendant USAG for the reason that 28 U.S.C. § 1332 grants subject

matter jurisdiction over civil actions involving citizens of different states where the amount in

controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs.

       12.     Plaintiffs further invoke the supplemental jurisdiction of this Court, pursuant to 28

U.S.C. § 1367(a) to hear and decide claims arising under state law that are so related to the

claims within the original jurisdiction of this Court that they form part of the same case or

controversy.

       13.     Plaintiffs’ claims are cognizable under the United States Constitution, 42

U.S.C. § 1983, 20 U.S.C. § 1681, et seq., 42 U.S.C. § 18116, and under Michigan law.

       14.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the events

giving rise to Plaintiffs’ claims arose in this judicial district, in Ingham County, Michigan and Eaton

County, Michigan.
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       15.    All Plaintiffs have or will file the appropriate Notice of Intent to File Claim with the

Michigan Court of Claims pursuant to MCL 600.6431.

                                   PARTIES AND KEY INDIVIDUALS

       16.    Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       17.    Plaintiff Abigail Mealy is an adult female and is a resident of the State of Michigan.

She was a minor for most of the time she was sexually assaulted, abused, and molested by

Defendant Nassar.

       18.    Plaintiff Amanda Mealy is an adult female and is a resident of the State of

Michigan. She was a minor at the time she was sexually assaulted, abused and molested by

Defendant Nassar.

       19.    Plaintiff Zena Maldonado is an adult female and is a resident of the State of

Colorado.

       20.    Plaintiff Maria VanOrt is an adult female and is a resident of the State of Indiana.

       21.    Plaintiff Meaghan Ashcraft is an adult female and is a resident of the State of

Michigan. She was a minor at the time she was sexually assaulted, abused and molested by

Defendant Nassar.

       22.    Defendant Lawrence “Larry” Nassar (hereinafter “Defendant Nassar”) was

formerly a Doctor of Osteopathic Medicine, was a Michigan resident at the time of the events

set forth herein, and currently resides in federal prison in Tucson, Arizona.

       23.    Defendant Michigan State University is and was, at all times pertinent hereto, a

state-owned and operated public university and institution of higher education organized and
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existing under laws of the State of Michigan.

      24.    Michigan State University receives federal financial assistance and is therefore

subject to Title IX of the Educational Amendments of 1972, 20 U.S.C. § 1681 et seq.

      25.    Defendant The Board of Trustees of Michigan State University is the governing

body for Michigan State University.

      26.    Lou Anna K. Simon is the immediate past President of Defendant MSU, serving

from approximately January 2005 - 2018. Lou Anna K. Simon resigned her position as President

on Defendant MSU on January 24, 2018.

      27.    John Mathias Engler is the former Governor of the State of Michigan and is currently

serving as interim President of Defendant MSU.

      28.    M. Peter McPherson is a past President of Defendant MSU and served as President

from approximately 1993 - 2004.

      29.    Defendant William D. Strampel, D.O. (hereinafter “Defendant Strampel”) was the

Dean of the College of Osteopathic Medicine at Defendant MSU, serving as Dean from

approximately April 15, 2002 to December 14, 2017. Defendant Strampel was said to have

stepped down from his position as Dean for “medical reasons.”

      30.    On February 2, 2018, Defendant Strampel’s computer in his MSU office was seized

under a search warrant. It contained 50 pornographic images, many of which were thought to be

of MSU students. 1    Among additional pornographic videos, a video of Defendant Nassar



1See, “Timeline: Former Dean Strampel's Involvement at MSU, Alleged Misconduct”, Anna
Nichols, April 5, 2018. Available at, http://statenews.com/article/2018/04/timeline-of-strampel-
alleged-misconduct. Last accessed April 5, 2018.
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performing “treatment” on a young female patient was found. 2

           31.   On February 9, 2018, interim president John Engler filed a request to the Office of

the Provost to begin terminating Defendant Strampel’s employment at MSU.

           32.   On March 26, 2018, Defendant Strampel was arrested and charged with fourth

degree criminal sexual conduct, a felony count of misconduct in office and two misdemeanor

counts of willful neglect.

           33.   Defendant Jeffrey R. Kovan, D.O. (hereinafter “Defendant Kovan”), is or was the

Director of Division of Sports Medicine at Defendant MSU and was the supervisor of the

Department of Radiology, under which Defendant Nassar practiced medicine.

           34.   Defendant Douglas Dietzel, D.O. (hereinafter “Defendant Dietzel”), is the Clinical

Director of MSU Sports Medicine and Team Orthopedic Surgeon for MSU Department of

Intercollegiate Athletics serving as Clinical Director of MSU Sports Medicine since approximately

2004.

           35.   Defendant Brooke Lemmen, D.O. (hereinafter “Defendant Lemmen”), is or was a

practicing physician with MSU Sports Medicine from approximately 2010 to 2017.

           36.   Defendant Kathie Klages (hereinafter “Defendant Klages”) was the head coach of

the Michigan State University Gymnastics Program until her suspension and resignation in early

2017; she also conducted gymnastics classes and programs for children and young adults not

on the varsity gymnastics team.

           37.   Defendant Klages regularly referred MSU student athletes as well as young



2   Id.
                                                   7
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athletes who were not MSU students to Defendant Nassar for medical treatment.

       38.    Defendant Destiny Teachnor-Hauk (hereinafter “Defendant Teachnor- Hauk”) is or

was an athletic trainer for Defendant MSU for various sports including, but not limited to, softball,

track and field, gymnastics, rowing, and volleyball.

       39.    Defendant Teachnor-Hauk regularly referred MSU student athletes to Defendant

Nassar for medical treatment.

       40.    Defendant Gary E. Stollak (hereinafter “Defendant Stollak”) was a professor in the

clinical program within the Michigan State University Department of Psychology.

       41.    Defendant Kristine M. Moore (hereinafter “Defendant Moore”) served as the

Assistant Director for Institutional Equity Office for Inclusion and Intercultural Initiatives in 2014.

Following the incident that is the subject of this civil action, Defendant Moore began serving as,

and remains at this time, Assistant General Counsel at Michigan State University.

       42.    At all relevant times, the MSU Defendants maintained employment and offices at

Defendant MSU in East Lansing, Michigan.

       43.    Defendant USA Gymnastics, Inc. (hereinafter “Defendant USAG”) was and

continues to be an organization incorporated in Indiana, authorized to conduct business and

conducting business throughout the United States including, but not limited to, the State of

Michigan.

       44.    The U.S. Olympic Committee and the International Gymnastics Federation has

designated Defendant USAG as the national governing body for the sport of gymnastics in the

United States.

       45.    USAG advertises on its website: “Since 1990 – prior to almost all other National
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Governing Bodies – USA Gymnastics has provided awareness, prevention and reporting

information regarding sexual misconduct to professional members, athlete members and their

families.”3

         46.   Steve Penny was the president of Defendant USAG from approximately April 2005

to March 2017.      He was responsible for the overall management and strategic planning of

Defendant USAG.

         47.   Robert Colarossi is the past president of Defendant USAG and held the position

from approximately 1998 to 2005 and during that time was responsible for the overall

management and strategic planning of Defendant USAG.

         48.   Defendant Twistars USA, Inc. d/b/a Geddert’s Twistars Gymnastics Club USA

(hereinafter “Defendant Twistars”) was and continues to be an organization incorporated in

Michigan.

         49.   Defendant John Geddert (hereinafter “Defendant Geddert”) is the owner and

operator of Defendant Twistars USA, Inc. d/b/a Gedderts' Twistars USA Gymnastics Club and

has been the head coach of Defendant Twistars from approximately 1996 to the present.

         50.   Defendant Twistars is a member club and agent or instrumentality of Defendant

USAG.

         51.   Defendant USAG requires member clubs to pay it a fee in order to hold Defendant

USAG sanctioned events.

         52.   Defendant USAG also issues rules and requirements for its member clubs and



3   https://usagym.org/pages/education/safesport/.
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exercises some degree of control over its member clubs because Defendant USAG has the

authority to revoke a club's membership.

       53.    Defendant USAG also requires all coaches, judges, and athletes to pay it a

membership fee if they want to participate in USA Gymnastics sanctioned events.

       54.    Defendant Twistars required all gymnasts interested in competing to become

members of Defendant USAG and to pay a membership fee to Defendant USAG.

       55.    Club membership in Defendant USAG is a substantial benefit for Defendant

Twistars and Defendant Geddert, as membership with Defendant USAG and participation in

Defendant USAG sanctioned events is a considerable factor that interested gymnasts consider

in joining a gymnastics club-particularly gymnasts who have collegiate, national, or Olympic

aspirations in competitive gymnastics.

       56.    At all relevant times, Defendant Geddert served as an agent of Defendant USAG

and served as the 2011 USA World Championship Team Head Coach and the 2012 USA Olympic

Team Head Coach through his affiliations with Defendant USAG and Defendant Twistars.

       57.    Defendant Twistars's website states, regarding Defendant Geddert, "Being named

Head coach for the USA Olympic and World Championships Gold Medal Winning team, paints

the picture of national respect."

       58.    Defendant USAG received a financial benefit through its relationship with

Defendants Twistars and Geddert in the form of membership fees and fame.

       59.    Defendants Twistars and Geddert received a benefit through its relationship with

Defendant USAG in the form of national and global exposure, fame, and increased enrollment.



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                                GENERAL FACTUAL ALLEGATIONS

      60.      Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

      61.      Plaintiffs also incorporate by reference the allegations contained in the various

complaints filed in the respective member cases of the consolidated action under case number

1:17-cv-29.

      62.      At all times pertinent hereto, Defendant Nassar maintained an office at Defendant

MSU in East Lansing, Michigan.

      63.      At all relevant times, Defendants MSU, MSU Trustees, Nassar, Stollak, Strampel,

Kovan, Teachnor Hauk, Klages, and Lemmen were acting under color of law, to wit, under color

of statutes, ordinances, regulations, policies, customs, and usages of the State of Michigan

and/or Defendant Michigan State University.

      64.      At all times pertinent hereto, including the years 1996 to 2016, Defendant Nassar

was an employee, representative, and/or agent of Defendant MSU acting under their control and

supervision.

      65.      At all times pertinent hereto, including the years 1996 to 2015, Defendant Nassar

was an employee, representative, and/or agent of Defendant USAG acting under their control and

supervision.

      66.      At all times pertinent hereto, including the years 1996 to 2016, Defendant Nassar

was an agent and/or representative of Defendant Twistars acting under their control and

supervision.

      67.      At all times pertinent hereto, including the years 1996 to 2016, Defendant Nassar
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was acting in the scope of his employment or agency with Defendant MSU.

       68.    At all times pertinent hereto, including the years 1996 to 2015, Defendant Nassar

was acting in the scope of his employment or agency with Defendant USAG.

       69.    At all times pertinent hereto, including the years 1996 to 2016, Defendant Nassar

was acting in the scope of his employment or agency with Defendant Twistars.

       70.    At all times pertinent hereto, the MSU Defendants and Defendant Nassar were

acting under color of law, including acting under color of statutes, ordinances, regulations,

policies, customs, and usages of the State of Michigan and/or Defendant MSU.

       71.    Defendant Nassar graduated with a Doctor of Osteopathic Medicine degree from

Defendant MSU in approximately 1993.

       72.    Defendant Nassar was employed by, and/or an agent of, Defendant USAG from

approximately 1986 to 2015, serving in various positions, including, but not limited to: (a) Certified

Athletic Trainer; (b) Osteopathic Physician; (c) National Medical Doctor; (d) National Team

Physician for USA Gymnastics; and (e) National Team Physician for USA Gymnastics’ Women’s

Artistic Gymnastics National Team.

       73.    Defendant Nassar received a benefit from his relationship with Defendant USAG in

the form of national and global exposure, fame, and increased patients at his office at MSU, which

resulted in Defendant Nassar receiving higher compensation.

       74.    Defendant USAG received a benefit from its relationship with Defendant Nassar in

the form of medical services rendered to its member athletes, national and global exposure, fame,

and increased enrollment.

       75.    Defendant Nassar was employed by, and/or an agent of, Defendant MSU from
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approximately 1996 to 2016, serving in various positions, including, but not limited to: (a)

Associate Professor of Defendant MSU’s Division of Sports Medicine, Department of Radiology,

College of Osteopathic Medicine; (b) Team Physician of Defendant MSU’s Men’s and Women’s

Gymnastics Teams; (c) Team Physician of Defendant MSU’s Men’s and Women’s Track and Field

Teams; (d) Team Physician of Defendant MSU’s Men’s and Women’s Crew Teams; (e) Team

Physician of Defendant MSU’s Intercollegiate Athletics; (f) Medical Consultant with Defendant

MSU’s Wharton Center for the Performing Arts; and (g) Advisor for Student Osteopathic

Association of Sports Medicine.

       76.    As part of Defendant Nassar's employment and contractual duties with MSU,

Defendant Nassar was responsible for spending between 50 to 70% of his time engaged in

"Outreach" and/or "Public Services."

       77.    A part of Defendant Nassar's outreach included providing medical treatment to

athletes affiliated with Defendants USAG and Twistars as well as other organizations such as

Holt High School.

       78.    Based on MSU's decision to compensate Nassar for his work with USAG, Twistars

and Holt High School, Nassar was acting in the scope of his employment with MSU while he was

working at USAG, Twistars and Holt High School and also while he was working with athletes

from those institutions.

       79.    Defendant Twistars is a gymnastics facility with which Defendant Nassar affiliated

from its inception in or around 1996.

       80.    Defendant John Geddert ("Defendant Geddert"), owner and operator of Twistars

USA, Inc. d/b/a Gedderts' Twistars Gymnastics Club USA served as the USA World and Olympic
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Women's Gymnastics Team Head Coach.

         81.    Defendant Geddert regularly recommended Defendant Nassar to members of

Defendant Twistars as a reputable physician.

         82.    For a period of time, Defendant Twistars displayed a photo of Defendant Nassar at

its facility.

         83.    As an agent of Defendant Twistars, Defendant Nassar regularly provided services

and treatment to Defendant Twistars’ members and Defendant USAG’s members on Defendant

Twistars’ premises.

         84.    Defendant Nassar received a benefit from his relationship with Defendant Twistars

in the form of national and global exposure, fame, and increased patients at his office at MSU.

         85.    Defendant Twistars received a benefit from its relationship with Defendant Nassar

in the form of medical services rendered to its member athletes, national and global exposure,

fame, and increased enrollment.

         86.    As a former physician of Osteopathic Medicine, Defendant Nassar’s medical care

and treatment should have consisted largely of osteopathic adjustments and kinesiology

treatment to patients, including students and student athletes of Defendant MSU.

         87.    Defendant Nassar is not and has never been a medical doctor of obstetrics or

gynecology.

         88.    While employed by Defendants MSU and USAG, Defendant Nassar practiced

medicine at Defendant MSU's Sports Medicine Clinic, Jenison Fieldhouse and the Breslin Center,

all facilities at MSU.

         89.    For over 20 years, Defendant MSU’s Sports Medicine Clinic has provided health
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care to MSU student athletes and the general public. 4

       90.    When the MSU Defendants operated the MSU Sports Medicine Clinic and provided

medical services to Plaintiffs and others, they were acting as an arm of the state.

       91.    The MSU Sports Medicine Clinic charged patients, including Plaintiffs, for their

receipt of medical services.

       92.    Charging Plaintiffs (and others) and billing insurance companies for medical

services is proprietary in nature.

       93.    The MSU Defendants charged fees comparable to specialists for the services

provided at the MSU Sports Medicine Clinic. 5

       94.    The MSU Sports Medicine Clinic engaged in proprietary functions by entering into

the business of providing medical services for the primary purpose of raising funds and making

a profit for the MSU Defendants.

       95.    The MSU Sports Medicine Clinic cannot be normally supported by taxes and fees.

       96.    While employed by Defendant MSU and Defendant USAG, and acting as an agent

and/or representative of Defendant Twistars, Defendant Nassar sexually assaulted, abused, and

molested numerous female patients by engaging in nonconsensual sexual assault, battery,

molestation, and harassment, including, but not limited to, digital vaginal and anal penetration

without the use of gloves or lubricant.

       97.    The use of gloves when exposed to potentially infectious material, including vaginal



4See “MSU Sports Medicine,” http://sportsmed.msu.edu/, last accessed Feb. 24, 2018.
5See “MSU Sports Medicine,” http://sportsmed.msu.edu/patients.html, last accessed Feb 24,
2018.
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secretion, is mandated by the Michigan Administrative Code R.325.70001 et seq.

      98.    As early as 1997 and/or 1998, employees, representatives, and agents of

Defendant MSU were made aware of Defendant Nassar’s conduct, yet failed to appropriately

respond to allegations, resulting in the sexual assault, battery, molestation, and harassment of

Plaintiffs and other female patients through approximately 2016.

      99.    Upon information and belief, in or around 1998 a parent of a gymnast at Defendant

Twistars’ facility complained to Defendant Geddert regarding Defendant Nassar’s conduct, yet

the concerns and allegations went unaddressed.

      100.   Upon information and belief, Defendant MSU and Kathie Klages were expressly

notified by a minor female athlete at the time, Larissa Boyce, in 1997 and/or 1998, while under

the instruction of Kathie Klages and MSU Youth Gymnastics, that Defendant Nassar sexual

assaulted, battered, molested, and harassed Larissa Boyce on multiple occasions.

      101.   Upon information and belief, after receiving Larissa Boyce’s complaint, Katie

Klages told Larissa Boyce that she must be “misunderstanding” or “reading into” what Defendant

Nassar was doing. Kathie Klages convinced Larissa Boyce not to file a formal complaint by

explaining that it would have serious consequences for Larissa Boyce and Defendant Nassar.

      102.   As a result of MSU gymnastics head coach Kathie Klages being informed by Larissa

Boyce of Defendant Nassar’s conduct, Jane B8 Doe was asked by Klages if Nassar had

performed the “procedure” involving digital vaginal and anal penetration on Jane B8 Doe, and

Jane B8 Doe responded in the affirmative. Klages told Jane B8 Doe that there is no reason to

bring up Nassar’s conduct.

      103.   Despite her complaints to Defendant MSU employees, agents, and/or
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representatives, including Kathie Klages, Larissa Boyce’s concerns and allegations went

unaddressed in violation of reporting policies and procedures and Title IX and in a manner that

was reckless, deliberately indifferent, and grossly negligent.

       104.   Also, in or around 1998, Jane A71 Doe complained to a coach at Twistars’ facility

regarding Defendant Nassar’s conduct, yet the concerns and allegations went unaddressed.

       105.   In or around 1999 the MSU Defendants were also put on notice of Defendant

Nassar's conduct by a MSU student and track and cross-country athlete, Christie Achenbach,

after she complained to MSU employees, including trainers and her head coach, Kelli Bert, that

Defendant Nassar touched her vaginal area although she was seeking treatment for an injured

hamstring.

       106.   Despite her complaints to Defendant MSU’s employees, agents, and/or

representatives, including trainers and head coaches, Christie Achenbach’s concerns and

allegations went unaddressed in violation of reporting policies and procedures and Title IX and in

a manner that was reckless, deliberately indifferent, and grossly negligent.

       107.   Upon information and belief, Defendant MSU was notified in 2000 that Defendant

Nassar committed acts of sexual assault, battery, molestation, and harassment when a student

athlete, Tiffany Thomas Lopez, reported to MSU employees, agents, and/or representatives,

including the highest ranking employees within MSU’s Training Staff, that Defendant Nassar

touched her vaginal area on multiple occasions and inserted his ungloved hand into her vagina,

although she was seeking treatment for back pain.

       108.   Upon information and belief, an employee, agent, and/or representative of

Defendant MSU, who was one of three individuals that supervised the training department, told
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Tiffany Thomas Lopez that what happened to her was not sexual abuse, that Defendant Nassar

was a world renowned doctor, that she was not to discuss what happened, and that she was to

continue seeing Defendant Nassar for purported treatment. 6

      109.   One of the trainers that Ms. Lopez reported to was Lianna Hadden, who is still

presently employed by MSU as an athletic trainer with the volleyball team.

      110.   After reporting the assault to Ms. Hadden, Ms. Lopez also reported the assault to

Defendant Destiny Teachnor-Hauk.

      111.   Ms. Lopez told Defendant Teachnor-Hauk that she was "extremely uncomfortable,"

but Teachnor-Hauk told Ms. Lopez that Nassar was engaged in actual medical treatment.

      112.   Defendant Teachnor-Hauk further dissuaded Ms. Lopez from reporting Nassar's

conduct by telling Ms. Lopez that if Lopez pursued the matter further that it would cast a burden

over her family and cause Ms. Lopez a lot of heartache and trauma.

      113.   Defendant Teachnor-Hauk also defended Nassar by stating to Ms. Lopez why she

would want to drag Nassar through an allegation of sexual assault.

      114.   Despite her complaints to Defendant MSU employees, agents, and/or

representatives, including the highest ranking employees within MSU’s Training Staff, Tiffany

Thomas Lopez’s concerns and allegations went unaddressed in violation of reporting policies and

procedures and Title IX and in a manner that was reckless, deliberately indifferent, and grossly

negligent.

      115.   Upon information and belief, Defendant MSU was notified in approximately 2001 or


6See, Case No. BC644417, filed with the Superior California Court of the State of California,
County of Los Angeles, December 21, 2016, ¶26.
                                            18
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2002 that Defendant Nassar committed acts of sexual assault, battery, molestation, and

harassment when Jennifer Rood Bedford, an MSU student athlete on the women's volleyball

team, was sexually assaulted and abused during "treatment" by Defendant Nassar and reported

Defendant Nassar's conduct to Defendant MSU's employees, including MSU athletic trainer

Lianna Hadden. 7

      116.   According to Ms. Bedford, Nassar was known among the women's volleyball team

as the "crotch doc" because of his "unconventional methods" of treating sports injuries with

vaginal penetrations.

      117.   Ms. Hadden dissuaded Ms. Bedford from filing a formal complaint against Nassar

because it would result in an investigation against Nassar, making an accusation against Nassar

and statement that she felt that what Nassar did was unprofessional or criminally wrong.

      118.   Upon information and belief, Defendant MSU was notified in approximately 2004

that Defendant Nassar committed acts of sexual assault, battery, molestation, and harassment

when Kyle Stephens–then 11 or 12 years old–was sexually assaulted and abused during

"treatment" by Defendant Nassar and reported Defendant Nassar's conduct to Defendant MSU's

employees, including Defendant Gary E. Stollak.

      119.   Kyle Stephens was not a medical patients of Defendant Nassar, so there was no

medical pretext for Defendant Nassar to commit the abuse.

      120.   Defendant Stollak did not report the abuse to law enforcement or to child protective



7See “Nassar Victim: Jennifer Rood Bedford Statement”, Jan. 16, 2018, Available at
https://www.clickondetroit.com/video/nassar-victim-jennifer-rood-bedford-statement. Last
accessed February 1, 2018.
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services.

      121.   Instead, Defendant Stollak suggested that Ms. Stephens and her parents meet with

Nassar.

      122.   Ms. Stephens refused to attend the meeting, but her parents met with Defendant

Stollak and Defendant Nassar.

      123.   Defendant Stollak’s failure to report Defendant Nassar endangered dozens, if not

hundreds, of plaintiffs who were subsequently sexually abused, assaulted, and molested by

Defendant Nassar.

      124.   Also in 2004, a 16-year old woman, Brianne Randall-Gay, reported Defendant

Nassar's conduct to her parents and to the Meridian Township Police Department in Meridian

Township, Michigan in 2004.

      125.   The employees, agents, and/or representatives of Defendant MSU, including MSU

trainers, coaches, Katie Klages, Lianna Hadden, and Gary Stollak, had a duty to report

allegations of Defendant Nassar’s inappropriate sexual conduct directed at Larissa Boyce,

Christie Achenbach, Tiffany Thomas Lopez, Jennifer Rood Bedford, and Kyle Stephens.

      126.   Because MSU took no action to investigate the 1997/1998, 1999, 2000, 2001/2002,

and 2004 complaints and took no corrective action, from 1997 and/or 1998 to 2016, under the

guise of treatment, several individuals, including Plaintiffs, were sexually assaulted, abused,

molested, and harassed by Defendant Nassar by vaginal and/or anal digital penetration, without

the use of gloves or lubricant and by touching and groping their breasts and/or buttocks.

      127.   Defendant MSU’s deliberate indifference before, during, and after the sexual

assault, battery, molestation, and harassment of Plaintiffs was in violation of Title IX of the
                                               20
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Education Amendments of 1972, 20 U.S.C. § 1681 et seq., 42 U.S.C. § 1983, as well as other

federal and state laws.

       128.    Defendant MSU’s failure to comply with Title IX of the Education Amendments of

1972, 20 U.S.C. § 1681, et seq., 42 U.S.C. 1983, and other federal and state laws, as described

in this Complaint, contributed to the creation of a sexually hostile environment on MSU’s campus

between 1997 and 2018.

       129.    In 2014, following receipt of an unrelated complaint regarding a sexual assault on

Defendant MSU's campus, between 2014 and 2015 the U.S. Department of Education's Office

of Civil Rights (hereinafter "OCR") conducted an investigation regarding the complainant's

allegations, another complaint regarding sexual assault and retaliation from 2011, and Defendant

MSU's response to said complaints, and their general policies, practices, and customs pertaining

to their responsibilities under Title IX. 8

       130.    The OCR concluded their investigation in 2015 and presented Defendant MSU with

a twenty-one-page agreement containing measures and requirements to resolve the 2011 and

2014 complaints and to bring Defendant MSU in compliance with Title IX. 9

       131.    The report confirmed that the “OCR determined that the University’s Title IX

grievance procedures, in place during the time period covered by OCR’s investigation, failed to



8 See, Letter from U.S. Department of Education Office for Civil Rights to Michigan State
University, September 1, 2015, OCR Docket #15-11-2098, #15-14-2113. Available at
https://www2.ed.gov/documents/press-releases/michigan -state-letter.pdf. Last accessed
February 1, 2018.
9 See, Resolution Agreement, August 28, 2018, OCR Document #15-11-2098, #15-14-2133.

Available at, https://www.2ed.gov/documents/press-releases/michigan-state-agreement.pdf.
Last accessed February 1, 2018.
                                              21
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comply with the requirements of Title IX.”

       132.   The report further confirmed that the “OCR determined that a sexually hostile

environment existed for and affected numerous students and staff on campus at the University

during the time period covered by OCR’s investigation; and that the University’s failure to address

complaints of sexual harassment, including sexual violence, in a prompt and equitable manner

caused and may have contributed to a continuation of this sexually hostile environment.”

       133.   While the OCR was conducting their investigation, additional complaints regarding

Defendant Nassar’s conduct surfaced in 2014. Amanda Thomashow reported she had an

appointment with Defendant Nassar to address hip pain and was sexually abused and molested

by Defendant Nassar when he cupped her buttocks, massaged her breast and vaginal area, and

he became sexually aroused. 10

       134.   Upon information and belief, Kristine Moore, an attorney investigator in Defendant

MSU’s Title IX office investigated the 2014 complaints.

       135.   However, Amanda Thomashow reported to Defendant MSU facts which were

omitted or withheld from the investigative report including but not limited to the following:

       a.     Defendant Nassar was sexually aroused while touching her;

       b.     The appointment with Defendant Nassar did not end until Amanda

              Thomashow physically removed his hands from her body.

       136.   Three months after initiating the investigation, in July 2014, Amanda Thomashow’s



10See, At MSU: Assault, harassment and secrecy. Matt Mencarini, December 15, 2016.
Available at, http://www.lansingstatejournal.com/story/news/local/2016/12/15/michigan-state-
sexual-assault-harassment-larry-nassar/94993582/. Last accessed January 30, 2018.
                                               22
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complaints were dismissed and Defendant MSU determined she didn’t understand the “nuanced

difference” between sexual assault and an appropriate medical procedure and deemed Defendant

Nassar’s conduct “medically appropriate” and “[n]ot of a sexual nature.” 11

           137.   Two of the medical experts consulted by the Office of Institutional Equity in

investigating the victim’s allegations were Defendants Lemmen and Teachnor-Hauk.

           138.   Following the investigation, on or about July 30, 2014, Defendant Strampel sent an

e-mail to Defendant Nassar that provided new institutional guidelines and restrictions that

Defendant Nassar was subject to including:

           a.     Defendant Nassar was not to examine or treat patients alone but was to be
                  accompanied by a chaperone such as a resident or nurse; 12

           b.     The alleged “procedure” was to be altered to ensure there would be little to
                  no skin to skin contact when in certain “regions” and if skin to skin contact
                  was “absolutely necessary” the “procedure” was to be explained in detail
                  with another person in the room for both the explanation and the
                  “procedure;” and,

           c.     New people in the practice were to be “oriented” to ensure understanding
                  with the guidelines.

           139.   Defendant Strampel sent a copy of the July 30, 2014 e-mail that outlined Defendant

Nassar’s restrictions and guidelines to Defendant Dietzel.

           140.   At all relevant times, Defendant Dietzel, Defendant Strampel, and Defendant Kovan

were acting in a supervisory role to Defendant Nassar.

           141.   The MSU Defendants failed to take any actions to enforce or ensure that Defendant

Nassar was in compliance with the restrictions outlined by Defendant Strampel in his July 30,


11   Id.
12   Id.
                                                    23
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2014 e-mail to Defendant Nassar.

       142.   Upon information and belief, the MSU Defendants failed to take any action to orient

new MSU employees to ensure that they were aware of the restrictions placed on Nassar.

       143.   In approximately March 2016, Diane Rork was an employee of MSU serving as a

registered medical assistant. 13

       144.   Through her employment with MSU, Diane Rork had occasion to work with patients

who were to be seen by Defendant Nassar.

       145.   At no point in time was Diane Rork ever told of any restrictions or guidelines

regarding Defendant Nassar’s treatment of patients.

       146.   On one occasion in March 2016, Diane Rork was completing a chart of a girl younger

than 13 who was set to be examined by Defendant Nassar in an exam room at Defendant MSU’s

Sports Medicine Clinic.

       147.   Defendant Nassar ordered Diane Rork to leave the room so that he could “treat”

the young girl alone.

       148.   Diane Rork reported her March 2016 interaction with Defendant Nassar to the MSU

Police Department in January 2017.

       149.   MSU terminated Diane Rork’s employment approximately two weeks later.

       150.   In addition, an unnamed registered nurse employed by MSU at the MSU Sports

Medicine from approximately 2015 to 2016, has indicated that she was never made aware of any



13See, Witness: MSU Knew Nassar Asked Her to Leave Girl’s Exam, Kim Kozlowski, DETROIT
NEWS (Dec. 21, 2017), http://www.detroitnews.com/story/news/michigan/2017/12/21/msu-
nassar-scandal-witness-claims-retribution/108800992/. Last visited January 30, 2018.
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restrictions or guidelines concerning Defendant Nassar.

       151.   This unnamed registered nurse was the only registered nurse employed by

Defendant MSU’s Sports Medicine Clinic during the time of her employment.

       152.   From July 2014 to September 2016, despite complaints about Defendant

Nassar’s conduct and an open criminal investigation into Defendant Nassar’s conduct, Defendant

MSU continued to permit Defendant Nassar unfettered access to female athletes without

adequate oversight or supervision to ensure he was complying with the new guidelines.

       153.   In a March 14, 2017 interview with Michigan State University Police Department

Detective Sergeant Christopher Rozman, Defendant Strampel admitted that the institutional

restrictions and guidelines that Defendant Nassar was subject to were illusory in nature because

he only shared them with Defendant Dietzel and took no action whatsoever to ensure that the

institutional restrictions and guidelines were implemented, followed, or enforced.

       154.   Defendant Strampel also told Detective Sergeant Rozman that he did not want any

other employees in the Sports Medicine Clinic to know that Defendant Nassar had been accused

of sexual assault or that Nassar was subject to institutional restrictions or guidelines.

       155.   Defendant Strampel also admitted to Detective Sergeant Rozman that he did not

take any steps to orient any new employees at Defendant MSU’s Sports Medicine Clinic to the

institutional restrictions or guidelines that Defendant Nassar was purportedly subject to until after

Defendant Nassar’s termination.

       156.   In a March 15, 2017 interview with Michigan State University Police Department

Detective Lieutenant Andrea Munford, Michigan State University Police Department Detective

Sergeant Christopher Rozman, and Federal Bureau of Investigation Special Agent Rodney
                                                 25
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Charles, Defendant Teachnor-Hauk stated that she had never had an athlete tell her that

Defendant Nassar had made them uncomfortable or that Defendant Nassar had performed digital

vaginal penetration.

       157.   Defendant Teachnor-Hauk’s March 15, 2017 statements to law enforcement were

false for the reason that numerous athletes had previously reported concerns of uncomfortable

and inappropriate treatment by Defendant Nassar to her, including complaints of digital vaginal

penetration by Defendant Nassar under the guise of medical treatment.

       158.   Plaintiffs were made aware of Defendant Nassar’s widespread sexual abuse

recently through recent related media coverage. 14

       159.   After receiving allegations of “athlete concerns,” in approximately summer 2015,

Defendant USAG relieved Defendant Nassar of his duties. 15

       160.   Defendant Nassar’s employment ended with Defendant MSU on approximately

September 20, 2016 only after the MSU Defendants became aware that:

       a.     Defendants Nassar and USAG were sued by a former Olympian who alleged
              she was sexually assaulted by Defendant Nassar; and,

       b.     A former patient of Defendant Nassar, Rachel Denhollander, filed a criminal
              complaint with the Michigan State University Police Department alleging
              Defendant Nassar sexually assaulted her when she was 15 years old and
              seeking treatment for back pain as a result of gymnastics. Ms.
              Denhollander’s allegations of sexual assault by Defendant Nassar included
              but were not limited to:



14 Id.
15 See, Former USA Gymnastics Doctor Accused of Abuse, Mark Alesia, Marisa Kwiatkowski,
Tim Evans, September 12, 2016. Available at,
http://www.indystar.com/story/news/2016/09/12/former-usa-gymnastics-doctor-accused-
abuse/89995734/. Last accessed January 30, 2018.
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                        i.        Massaging her genitals;

                        ii.       Penetrating her vagina and anus with his finger and thumb;
                                  and,

                        iii.      Unhooking her bra and massaging her breasts.

       161.   Reasons given to Defendant Nassar for his termination included but were not

limited to:

       a.     Deviation from “required best practices put in place following the internal
              sexual harassment investigation conducted … in 2014;”

       b.     Failure to disclose a 2004 complaint to Meridian Township Police; and,

       c.     Dishonesty by Defendant Nassar when Defendant MSU questioned him
              about receiving prior complaints about the “procedure” at issue.

       162.   Defendant MSU’s failure to properly supervise Defendant Nassar and their

negligence in retaining Defendant Nassar is in violation of Michigan common law.

       163.   In 2004, Defendant Nassar authored a chapter in Principles of Manual Sports

Medicine by Steven J. Karageanes.

       164.   In the chapter, Defendant Nassar described the pelvic diaphragm, coccyx, and

sacroiliac ligaments as an area of the body not fully examined due to its proximity to the genitalia

and buttocks, and stated it was "referred to as the 'no fly zone' because of the many cultural

stigmas in touching this area."

       165.   Defendant Nassar recommended taking "special measures to explain any

examination and techniques applied in this region," and "warning in advance of what you are

planning to do," among other suggestions.

       166.   There is no mention of intravaginal or intra-rectal techniques or procedures in the

                                                  27
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chapter.

       167.   As described in detail below, Defendant Nassar often failed to follow his own

recommendations with Plaintiffs as:

       a.     He did not explain any intravaginal or intra-rectal techniques to Plaintiffs or
              their parents; and,

       b.     He did not warn Plaintiffs he was going to engage in vaginal or anal digital
              penetration before doing so.

       168.   Shortly after MSU terminated Defendant Nassar's employment, Defendant Klages

requested the MSU Women's Gymnastics Team members to sign a card for the team to show

their support for Defendant Nassar-despite the fact that Defendant Klages was aware that

Defendant Nassar's employment had been terminated due to numerous claims of sexual assault

against patients and athletes. 16

       169.   Defendant Klages also passionately defended Defendant Nassar to the MSU

Women's Gymnastics Team and told her athletes that she would trust her own grandkids with

him-despite the numerous allegations of sexual assault against Defendant Nassar and the

existence of open criminal investigations into his conduct.

       170.   In September 2016, following MSU's termination of Defendant Nassar's

employment, MSU Athletic Department's Director of Athletic Communications, Jamie Weir

Baldwin, instructed members of the MSU Women's Gymnastics Team not to speak to the media

or post on their social media accounts regarding Defendant Nassar's actions.


16 See, MSU Abuse Scandal: Coach Had Gymnasts Sign Card for Dr. Larry Nassar, Stephanie
Gosk, Kristen Powers, and Tracy Connor, March 21, 2017. Available at,
https://www.nbcnews.com/news/us-news/msu-abuse-scandal-coach-had-gymnasts-sign-card-
dr-larry-n731781. Last accessed January 30, 2018.
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        171.   Based on the communications of the MSU Athletic Department, members of the

MSU Women's Gymnastics Team believed that they would be punished by MSU or face

consequences if they came forward to the police or media to describe sexual assaults against

them.

        172.   In December 2016, following the filing of federal child pornography charges against

Defendant Nassar, Defendant Klages continued to defend Defendant Nassar and told the parent

of one of Defendant Nassar's victims that the child pornography "could have been planted" by

somebody suing Defendant Nassar and also continued to deny that Defendant Nassar had

sexually assaulted any patients by suggesting that the victims had "misinterpreted the treatment."

        173.   MSU did not directly encourage the members of the MSU Women's Gymnastics

Team to report suspected abuse by Defendant Nassar to the police until February 2017-

approximately 5 months after MSU terminated Defendant Nassar's employment.

        174.   In approximately December 2016, Defendant USAG settled one or more claims

against it involving allegations of sexual abuse by Defendant Nassar against Olympic gold-medal-

winning gymnast McKayla Maroney pursuant to a confidential settlement agreement in California.

        175.   Upon information and belief, USAG entered into one or more confidential settlement

agreements in California involving claims of child sex abuse or other acts that could be prosecuted

as a felony sex offense by Defendant Nassar.

        176.   Notably, California law prohibits confidential settlements in cases involving

allegations of child sexual abuse or an act that could be prosecuted as a felony sex offense. CAL.

CIV. PROC. CODE § 1002.

        177.   Upon information and belief, USAG's settlement agreement with McKayla Maroney
                                                29
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is not the first or the only settlement agreement that USAG has entered into to resolve civil claims

of victims of sexual abuse by Defendant Nassar against USAG.

         178.   At no time did Defendant USAG inform Defendants MSU, MSU Trustees, or other

MSU representatives of the concerns that led to Defendant Nassar being relieved from his duties

with Defendant USAG.

         179.   At no time did Defendant USAG inform Defendant Twistars or Defendant Geddert

of the concerns that led to Defendant Nassar being relieved from his duties with Defendant USAG

–despite the fact that Defendant Twistars is a USAG member club and Defendant Geddert is a

USAG member coach.

         180.   In late November 2016, Defendant Nassar was arrested and charged in Ingham

County, Michigan on three charges of first-degree criminal sexual conduct with a person under

13, and was later released on a $1 million bond. 17

         181.   In mid-December 2016, Defendant Nassar was indicted, arrested, and charged in

the United States District Court for the Western District of Michigan in Grand Rapids, Michigan on

charges of possession of child pornography and receipt/attempted receipt of child pornography.

         182.   According to the federal indictment 18, Defendant Nassar:

         a.     Knowingly received and attempted to receive child pornography between
                approximately September 18, 2004 and December 1, 2004;

         b.     Knowingly possessed thousands of images of child pornography between
                approximately February 6, 2003 and September 20, 2016, including images
                involving a minor who was under the age of 12.



17   State of Michigan, Ingham County Circuit Court Case No. 17-142-FC.
18   1:16-cr-00242 PageID.1-4.
                                                30
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        183.   Testimony given by an FBI agent at a hearing held on December 21, 2016, alleged,

among other allegations, that Defendant Nassar used a GoPro camera to record video images

of children in a swimming pool and that:

        a.     Defendant Nassar's hand can be seen grabbing one girl's hand and shoving
               it into the vaginal area of another girl; and 19

        b.     Defendant Nassar's thumb can be seen pressing into a child's
               vagina/vaginal area. 20

        184.   In mid-January 2017, Brooke Lemmen, D.O. submitted a letter of resignation to Mr.

Strampel amid allegations that she:

        a.     Removed several boxes of confidential treatment patient records from
               Defendant MSU's Sports Medicine clinic at Defendant Nassar's request;

        b.     Did not disclose to Defendant MSU that Defendant USAG was investigating
               Defendant Nassar as of July 2015; and

        c.     Made a staff member feel pressured not to fully cooperate in an internal
               investigation into allegations against Defendant Nassar.

        185.   On February 7, 2017, a superseding indictment added an additional count of

"Destruction and Concealment of Records and Tangible Objects" alleging between September

19, 2016 and September 20, 2016, Defendant Nassar "caused a third-party vendor to

permanently delete and destroy all images, records, documents, and files contained on the

hard drive of a laptop computer, and the defendant threw in the trash a number of external hard

drives." 21

        186.   On February 17, 2017, following a preliminary examination, Defendant Nassar was


19 Id. at PageID.49-50.
20 Id. at PageID.50.
21 Id. at PageID.88.

                                               31
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ordered to stand trial on three charges of first-degree criminal sexual conduct with a person under

13 in Ingham County following testimony, which included, among other, allegations of digital

vaginal penetration at Defendant Nassar’s residence.

       187.   On February 22, 2017, Defendant Nassar was arraigned on 22 counts of first- degree

criminal sexual conduct with a person under 13 years old, and 14 counts of third- degree criminal

sexual conduct with a person under 13 years old in Ingham County, Michigan and Eaton County,

Michigan.

       188.   On March 17, 2017, Defendant MSU's Office of Institutional Equity released a Title

IX report concluding that Defendant Nassar sexually assaulted one of his patients, Rachael

Denhollander, in or about 2000. The report stated that evidence supports a finding that Defendant

Nassar "committed these acts in a sexual manner regardless of whether it was done for medical

purposes."

       189.   At least three more internal Title IX investigations conducted by Michigan State

University following the Title IX investigation for Rachael Denhollander determined Larry Nassar

violated University policy.

       190.   Defendant Nassar's preliminary examinations on the second set of charges in

Ingham County were held on May 12, 2017, May 26, 2017, and June 23, 2017.

       191.   During Nassar's preliminary examination on May 12, 2017 in the 55th District Court

in Ingham County, Michigan, a young woman testified regarding an instance of sexual assault

that occurred at Twistars's facility in Dimondale, Michigan in approximately 2010 when she was

fifteen years old as follows, "Mostly all I remember is [Nassar] doing the treatment on me with his

fingers in my vagina, massaging my back with a towel over my butt, and John [Geddert] walking
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in and making a joke that I guess my back really did hurt, and then I was uncomfortable because

John [Geddert] was in there during that."

       192.   At the conclusion of the preliminary examinations, Defendant Nassar was ordered

to stand trial on 12 counts of first-degree criminal sexual conduct following testimony by Rachael

Denhollander and others, which included among others, allegations of digital vaginal penetration

by Defendant Nassar.

       193.   Defendant Nassar's preliminary examination on the charges issued in Eaton County,

Michigan was held on June 30, 2017.

       194.   At the conclusion of the preliminary examination, Defendant Nassar was ordered to

stand trial on 7 counts of first-degree criminal sexual conduct following testimony, which included

among others, allegations of digital vaginal penetration by Defendant Nassar.

       195.   On or about July 11, 2017, Defendant Nassar pled guilty in his federal criminal case

to: (1) Receipt and Attempted Receipt of Child Pornography, in violation of 18 U.S.C. §

2252A(a)(2)(A); (2) Possession of Child Pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B);

and (3) Destruction and Concealment of Records and Tangible Objects, in violation of 18 U.S.C.

§ 1519.

       196.   On November 11, 2017 Defendant Nassar pleaded guilty to seven counts of first-

degree criminal sexual conduct in Ingham County Circuit Court.

       197.   On November 29, 2017 Defendant Nassar pleaded guilty to three counts of first-

degree criminal sexual conduct in Eaton County Circuit Court.

       198.   On December 7, 2017 Defendant Nassar was sentenced in the United States

District Court for the Western District of Michigan by District Court Judge Janet T. Neff to three
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twenty-year sentences to be served consecutively on his convictions for (1) Receipt and

Attempted Receipt of Child Pornography, in violation of 18 U.S.C. § 2252A(a)(2)(A); (2)

Possession of Child Pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B); and (3) Destruction

and Concealment of Records and Tangible Objects, in violation of 18 U.S.C. § 1519.

      199.   On January 24, 2018, Defendant Nassar was sentenced in the Ingham County

Circuit Court for the State of Michigan by the Honorable Rosemarie E. Aquilina to 40 to 175 years

in prison on seven sexual assault charges.

      200.   On February 5, 2018, Defendant Nassar was sentenced in the Eaton County Circuit

Court for the State of Michigan by the Honorable Janice K. Cunningham to 40 to 125 years in

prison on three sexual assault charges.

      201.   Between the sentencing hearings Ingham and Eaton Counties, approximately 204

victim impact statements were given over nine days.

      202.   The acts, conduct, and omissions of the MSU Defendants, and their policies,

customs, and practices with respect to investigating sexual assault allegations severely

compromised the safety and health of Plaintiffs and an unknown number of individuals, and have

resulted in the sexual assault, battery, molestation, and harassment of Plaintiffs by Defendant

Nassar, which has been devastating for Plaintiffs and their families.

      203.   A special, confidential, and fiduciary relationship was created between Plaintiffs and

Defendant Nassar when Plaintiffs sought medical treatment from Defendant Nassar in the course

of his employment, agency, and/or representation of the MSU Defendants, resulting in Defendant

Nassar owing Plaintiffs a duty to disclose known acts of sexual assault, battery, molestation, and

harassment against Plaintiffs.
                                                34
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      204.   A special, confidential, and fiduciary relationship was created between Plaintiffs and

the MSU Defendants when Plaintiffs sought medical treatment from Defendant Nassar in the

course of his employment, agency, and/or representation of the MSU Defendants, resulting in the

MSU Defendants owing Plaintiffs a duty to disclose known acts of sexual assault, battery,

molestation, and harassment against Plaintiffs.

      205.   A special, confidential, and fiduciary relationship was created and existed between

Nassar and the MSU Defendants, resulting in the MSU Defendants owing Plaintiffs a duty to

disclose known acts of sexual assault, battery, molestation, and harassment to Plaintiffs.

      206.   A special, confidential, and fiduciary relationship was created between Plaintiffs and

Defendant USAG when Plaintiffs sought medical treatment from Defendant Nassar in the course

of his employment, agency, and/or representation of Defendant USAG, resulting in Defendant

USAG owing Plaintiffs a duty to disclose known acts of sexual assault, battery, molestation, and

harassment against Plaintiffs.

      207.   A special, confidential, and fiduciary relationship was created and existed between

Nassar and Defendant USAG, resulting in Defendant USAG owing Plaintiffs a duty to disclose

known acts of sexual assault, battery, molestation, and harassment to Plaintiffs.

      208.   A special, confidential, and fiduciary relationship was created between Plaintiffs and

Defendant Twistars when Plaintiffs sought medical treatment from Defendant Nassar in the

course of his employment, agency, and/or representation of Defendant Twistars, resulting in

Defendant Twistars owing Plaintiffs a duty to disclose known acts of sexual assault, battery,

molestation, and harassment against Plaintiffs.

      209.   A special, confidential, and fiduciary relationship was created and existed between
                                                  35
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Nassar and Defendant Twistars, resulting in Defendant USAG owing Plaintiffs a duty to disclose

known acts of sexual assault, battery, molestation, and harassment to Plaintiffs.

       210.   This action arises from Defendants’ blatant disregard for Plaintiffs’ federal and state

rights, and Defendants’ deliberately indifferent and unreasonable response to physician-on-

patient/physician-on-student/physician-on-athlete sexual assault, battery, molestation, and

harassment.

                           ALLEGATIONS SPECIFIC TO EACH PLAINTIFF

       A.     PLAINTIFF ABIGAIL MEALY:

       211.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       212.   Plaintiff Abigail Mealy is an adult female. She was a minor for most of the time she

was sexually assaulted, abused, and molested by Defendant Nassar.

       213.   Plaintiff Abigail Mealy was a competitive gymnast and a member of USA

Gymnastics.

       214.   Plaintiff Abigail Mealy was a competitive gymnast and member of Defendant

Twistars and was coached by Defendant Geddert.

       215.   Plaintiff Abigail Mealy was referred to Defendant Nassar for treatment of hamstring

pain initially by her gymnastics coach Defendant Geddert and she underwent frequent and

regular treatments with Defendant Nassar from approximately 2008 until immediately before his

arrest in 2016.

       216.   Plaintiff Abigail Mealy was approximately 11 years old when she began treatments

with Defendant Nassar. She was a minor during almost all of the sexual assaults.
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       217.   Defendant Nassar treated Abigail Mealy at Defendant Twistars facility, Michigan

State University facilities, including the MSU Sports Medicine Clinic, Holt High School and his

home. Over the years, treatments were for hamstring injuries, shoulders, knees, elbows and a

spinal stress fracture.

       218.   Defendant Nassar provided Plaintiff Abigail Mealy with his personal cell phone

number to arrange “treatments”.

       219.   During hundreds of visits over the course of 8 years, Defendant Nassar fondled her

genitals and digitally penetrated her vagina and anus without gloves, lubricant, or chaperone.

       220.   Some of this conduct occurred after Michigan State University imposed a particular

protocol for Defendant Nassar, including, but not limited to: 1) having another person (resident,

nurse, etc.) in the room while he performed treatments; 2) procedures were to involve little to no

skin contact; 3) procedures were to be explained in detail with another person in the room for

both the explanation and the procedure.

       221.   Michigan State University and MSU Sports Medicine Clinic had received notice of

Nassar’s inappropriate conduct on multiple occasions dating back to at least 1997.

       222.   These actions were intentionally and fraudulently concealed and not documented

in the medical record.

       223.   Defendant Nassar did not give prior notice or obtain consent for the digital

penetration of Abigail Mealy without gloves from either Abigail Mealy or her parents.

       224.   Plaintiff Abigail Mealy did not treat or intend to treat with Defendant Nassar for

OB/GYN related issues.

       225.   Plaintiff, Abigail Mealy, a minor during most of the abuse, believed the conduct of
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Defendant Nassar constituted medical treatment and did not discover or become aware that said

conduct breached the standard of care or practice or was otherwise unlawful or tortious until

recent media publications and victim impact statements.

       226.   Plaintiff Abigail Mealy now believes the conduct committed by Defendant Nassar

was sexual assault, abuse, molestation and harassment performed for Defendant Nassar’s

sexual pleasure and gratification.

       B.     PLAINTIFF AMANDA MEALY:

       227.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       228.   Plaintiff Amanda Mealy is an adult female. She was a minor when she was

sexually assaulted, abused, and molested by Defendant Nassar.

       229.   Plaintiff Amanda Mealy was a competitive gymnast and a member of USA

Gymnastics before the sexual assault.

       230.   Plaintiff Amanda Mealy was a member of Defendant Twistars and was coached

by Defendant John Geddert before the sexual assault.

       231.   Plaintiff Amanda Mealy treated with Defendant Nassar at the MSU Sports

Medicine Clinic shortly before his arrest in 2016 for general aches and pains from competitive

dance.

       232.   Plaintiff Abigail Mealy is Plaintiff Amanda Mealy’s older sister and was also

present at the MSU Sports Medicine Clinic during the time of the assault in 2016.

       233.   During this visit in the late summer of 2016, Defendant Nassar massaged Plaintiff

Amanda Mealy’s buttocks, inner thighs, and genitals and digitally penetrated her vagina without
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gloves, lubricant, or chaperone.

      234.   This conduct occurred after Michigan State University imposed a particular protocol

for Defendant Nassar, including, but not limited to: 1) having another person (resident, nurse,

etc.) in the room while he performed treatments; 2) procedures were to involve little to no skin

contact; 3) procedures were to be explained in detail with another person in the room for both the

explanation and the procedure.

      235.   Michigan State University and MSU Sports Medicine Clinic had received notice of

Nassar’s inappropriate conduct on multiple occasions dating back to at least 1997.

      236.   These actions were intentionally and fraudulently concealed and not documented

in the medical record.

      237.   Defendant Nassar did not give prior notice or obtain consent for massaging and the

digital penetration of Amanda Mealy without gloves from either Amanda Mealy or her parents.

      238.   Plaintiff Amanda Mealy did not treat or intend to treat with Defendant Nassar for

OB/GYN related issues.

      239.   Defendant Nassar did not provide notice to Amanda Mealy or her parents of the

above-described intended treatments, nor did he obtain their consent.

      240.   Plaintiff Amanda Mealy did not treat or intend to treat with Defendant Nassar for

OB/GYN related issues.

      241.   Plaintiff Amanda Mealy, a minor at the time of the abuse, believed the conduct of

Defendant Nassar constituted medical treatment and did not discover or become aware that said

conduct breached the standard of care or practice or was otherwise unlawful or tortious until

recent media publications and victim impact statements.
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        242.   Plaintiff Amanda Mealy now believes the conduct committed by Defendant Nassar

was sexual assault, abuse, molestation and harassment performed for Defendant Nassar’s

sexual pleasure and gratification.

        C.     PLAINTIFF ZENA MALDONADO:

        243.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

        244.   Plaintiff Zena Maldonado is an adult female.

        245.   Plaintiff Zena Maldonado was not a member of USA Gymnastics.

        246.   Plaintiff Zena Maldonado was not a member of Defendant Twistars gym.

        247.   Plaintiff Zena Maldonado was a student at Michigan State University from 1995 to

1999. Her maiden name when she was a MSU student was Cummings.

        248.   Plaintiff Zena Maldonado was an avid runner and in 1995/1996 she began to

experience shoulder pain. She presented to the MSU Sports Medicine Clinic on campus. Dr.

Julie Dodds initially treated her with steroid injections. However, shortly thereafter, Defendant

Nassar took over her care and treatment at the Clinic. She saw Defendant Nassar on an as

needed basis thereafter.

        249.   After graduating from MSU, Plaintiff Zena Maldonado remained in the Lansing

area.

        250.   In approximately 2006, Plaintiff Zena Maldonado began to have hip pain. At this

time, her married name was Zena Rochford. She presented to Defendant Nassar at the MSU

Sports Medicine Clinic for treatment. During two consecutive visits, Defendant Nassar fondled

her genitals and digitally penetrated her vaginally. During said digital penetrations, Plaintiff
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Zena Maldonado could see that Defendant Nassar was sexually aroused.

       251.      Defendant Nassar committed the digital vaginal penetrations of Plaintiff Zena

Maldonado without gloves, without lubrication and without providing notice to her, or obtaining

consent from her.

       252.      Michigan State University and MSU Sports Medicine Clinic had received notice of

Defendant Nassar’s inappropriate conduct on multiple occasions dating back to at least 1997.

       253.      These actions were intentionally and fraudulently concealed and not documented

in the medical record.

       254.      Plaintiff Zena Maldonado did not treat or intend to treat with Defendant Nassar for

OB/GYN related issues.

       255.      Plaintiff Zena Maldonado believed the conduct of Defendant Nassar constituted

medical treatment and did not discover or become aware that said conduct breached the

standard of care or practice or was otherwise unlawful or tortious until recent media publications

and victim impact statements.

       256.      Plaintiff Zena Maldonado now believes the conduct of Nassar was sexual assault,

abuse, molestation and harassment performed for Defendant Nassar’s sexual pleasure and

gratification.

       D.        PLAINTIFF MARIA VANORT:

       257.      Plaintiff Maria VanOrt is an adult female.

       258.      Plaintiff Maria VanOrt was not a member of USA Gymnastics.

       259.      Plaintiff Maria VanOrt was not a member of Defendant Twistars gym.

       260.      Plaintiff Maria VanOrt was a student at Michigan State University from 2000 to
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  2003. She was also a member of the MSU Women’s Basketball Team during that time. Her

  maiden name when she was a student was Recker.

      261.   Defendant Kovan was a team doctor at the time of the sexual assaults by Defendant

  Nassar.

      262.   Plaintiff Maria VanOrt treated with Defendant Nassar at regular and frequent

  intervals while she was on the Michigan State University campus from 2000 to 2003 for

  shoulder and back pain. She would receive treatments primarily at the Jenison Fieldhouse

  and Breslin Center.

      263.   During dozens of treatments over several years, Defendant Nassar would massage

  Plaintiff Maria VanOrt’s buttocks, breasts, give her wedges with her underwear, fondle her

  genitals and digitally penetrate her vaginally.

      264.   Defendant Nassar committed the digital vaginal penetrations of Plaintiff Maria

  VanOrt without gloves, without lubrication and without providing notice to her, or obtaining

  consent from her.

      265.   Michigan State University and MSU Sports Medicine Clinic had received notice of

  Defendant Nassar’s inappropriate conduct on multiple occasions dating back to at least 1997.

      266.   These actions were intentionally and fraudulently concealed and not documented

  in the medical record.

      267.   Plaintiff Maria VanOrt did not treat or intend to treat with Defendant Nassar for

  OB/GYN related issues.

      268.   Plaintiff Maria VanOrt believed the conduct of Defendant Nassar constituted

medical treatment and did not discover or become aware that said conduct breached the
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standard of care or practice or was otherwise unlawful or tortious until recent media publications

and victim impact statements.

      269.   Plaintiff Maria VanOrt now believes the conduct of Dr. Nassar was sexual assault,

battery, abuse, molestation and harassment performed by Defendant Nassar for Defendant

Nassar’s sexual pleasure and gratification.

      E. PLAINTIFF MEAGHAN ASHCRAFT:

      270.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

      271.   Plaintiff Meaghan Ashcraft is an adult female. She was a minor when she was

sexually assaulted, abused, and molested by Defendant Nassar.

      272.   Plaintiff Meaghan Ashcraft was a competitive gymnast and a member of USA

Gymnastics and Twistars.

      273.   Starting in approximately 2005, while in the 6th grade, Plaintiff Meaghan Ashcraft

was referred to Defendant Nassar for treatment of a separated growth plate in her foot.

      274.   Plaintiff Meaghan Ashcraft also saw Defendant Nassar for injuries to her ribs and

clavicle over the next couple years.

      275.   In 10th grade, or approximately 2009, Plaintiff Meaghan Ashcraft fractured her knee

cap and tore her hamstring. She received treatment from Defendant Nassar for said injury.

      276.   Plaintiff Meaghan Ashcraft received treatment for the aforementioned injuries at the

MSU Sports Medicine Clinic, Defendant Twistars and at various gymnastic meets.

      277.   During each of the visits to Defendant Nassar, Defendant Nassar extensively

massaged her inner thighs and buttocks, fondled her genitals and digitally penetrated her vagina
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without gloves, lubricant, or proper chaperone.

       278.   Michigan State University and MSU Sports Medicine Clinic had received notice of

Nassar’s inappropriate conduct on multiple occasions dating back to at least 1997.

       279.   These actions were intentionally and fraudulently concealed and not documented

in the medical record.

       280.   Defendant Nassar did not give prior notice or obtain consent for the digital

penetration of Meaghan Ashcraft without gloves from either Meaghan Ashcraft or her parents.

       281.   Plaintiff Meaghan Ashcraft did not treat or intend to treat with Defendant Nassar

for OB/GYN related issues.

       282.   Plaintiff, Meaghan Ashcraft, a minor all of the abuse, believed the conduct of

Defendant Nassar constituted medical treatment and did not discover or become aware that said

conduct breached the standard of care or practice or was otherwise unlawful or tortious until

recent media publications and victim impact statements.

       283.   Plaintiff Meaghan Ashcraft now believes the conduct committed by Defendant

Nassar was sexual assault, abuse, molestation and harassment performed for Defendant

Nassar’s sexual pleasure and gratification.

                         ALLEGATIONS OF FRAUDULENT CONCEALMENT

       A.     THE MSU DEFENDANTS

       284.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       285.   Plaintiffs sought treatment at Defendant MSU’s Sports Medicine Clinic and were in

a special relationship in which they paid or were billed for medical treatment.
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       286.   Given the special relationship, the MSU Defendants had a duty to disclose and to

warn and protect the athletes and patients who sought treatment at its facility with its doctor.

       287.   Plaintiffs hereby allege that the MSU Defendants committed Fraudulent

Concealment by committing Fraud, as described in detail above and below, and concealing the

existence of Plaintiffs' claims and that Plaintiffs had a cause of action against Defendant Nassar

and/or the MSU Defendants at the time Defendant Nassar's sexual assaults occurred by making

a material representation(s) to Plaintiffs involving a past or existing fact by:

       a.     Making the statement, explaining, that his acts and/or conduct were a "new
              procedure" which involved vaginal or anal penetration;

       b.     Making the statement, referring to his conduct, disguised as "treatment," as a pelvic
              adjustment;

       c.     Making the statement, explaining, that his acts and/or conduct was "checking your
              sternum;"

       d.     Making the statement, explaining, that his acts and/or conduct was
              doing a "breast exam;"

       e.     Making the statement, explaining, that his acts and/or conduct was medical
              "treatment" or for a legitimate medical purpose;

       f.     Making the statement, explaining, that his acts and/or conduct was "attempting to
              manipulate [their] ribs;" and,

       g.     Making a statement, explaining to Plaintiffs and another medical professional; that
              the position of his hand was in an appropriate place, when it was not and while he
              was digitally penetrating Plaintiffs, all which were made contemporaneously and/or
              shortly after the abrupt, sudden, quick, and unexpected sexual assaults by
              Defendant Nassar.

       288.   When Defendants' agents and employees made the material representation(s),

they knew that they were false, in that they knew that the "treatment[s]" were not proper,

appropriate, legitimate, and/or considered within standard of care by any physician of any
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specialty and/or sports therapist.

       289.    Defendants made the material representation(s) with the intent that the material

representation(s) should be acted or relied upon by Plaintiffs or their parents, such that Plaintiffs:

       a.      Should believe that the "treatments" were in fact legitimate medical "treatments;"

       b.      Should believe that the "treatment[s]" were proper, appropriate, and legitimate;

       c.      Should not believe that they had been sexually assaulted;

       d.      Should not believe that they had been sexually assaulted so that he could prevent
               discovery of his sexual assaults;

       e.      Should continue the "treatment[s]" so that he could continue to sexually assault
               them;

       f.      Should not question and/or report the conduct to appropriate authorities; and

       g.      Should not reasonably believe and not be aware of a possible cause of action that
               they have against Defendant Nassar and/or Defendant MSU.

     290.     Plaintiffs acted in reliance upon the material representation(s), in that Plaintiffs:

       a.      Reasonably believed that the "treatments" were in fact "treatments;"

       b.      Reasonably believed that the "treatments" were proper, appropriate, and legitimate;

       c.      Reasonably did not believe that they had been sexually assaulted;

       d.      Believed that they should continue the "treatment[s];"

       e.      Did not believe that they should question and/or report the conduct to appropriate
               authorities; and,

       f.      Did not reasonably believe that they had and were not aware of a possible cause
               of action that they had against Defendant Nassar and/or the MSU Defendants.

       291.    Plaintiffs thereby suffered injury, in that Plaintiffs:

       a.      Could not stop the sexual assault;

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       b.     Continued to undergo the "treatment[s]" and sexual assault[s];

       c.     And suffered discomfort, bleeding, and infections, related physical manifestations
              thereof, sleep deprivation, physical illness, vomiting, severe emotional distress,
              shock, humiliation, fright, grief, embarrassment, loss of self-esteem, disgrace, loss
              of familial relationships, loss of enjoyment of life and will continue to suffer pain of
              mind and body, were prevented and will continue to be prevented from performing
              Plaintiffs' daily activities and obtaining the full enjoyment of life, and have sustained
              and continue to sustain loss of earnings and earning capacity, among other injuries
              more fully described below.

       292.   Concealing the fraud by making a fraudulent material representation(s) to Plaintiffs

that was/were designed and/or planned to prevent inquiry and escape investigation and prevent

subsequent discovery of his fraud, in that he made a material representation(s) to Plaintiffs

involving a past or existing fact by:

       a.     Making the statement, explaining, that his acts and/or conduct were a "new
              procedure" which involved vaginal or anal penetration;

       b.     Making the statement, referring to his conduct, disguised as "treatment," as a pelvic
              adjustment;

       c.     Making the statement, explaining, that his acts and/or conduct was "checking your
              sternum;"

       d.     Making the statement, explaining, that his acts and/or conduct was doing a "breast
              exam;"

       e.     Making the statement, explaining, that his acts and/or conduct was medical
              "treatment" for a legitimate medical purpose and that it was the same that he
              performed on Olympic athletes;

       f.     Making the statement, explaining, that his acts and/or conduct was "attempting to
              manipulate [their] ribs;" and,

       g.     Making the statement that the position of his hand was in an appropriate place-
              when it was not-while he was digitally penetrating Plaintiffs, all of which were made
              contemporaneously and/or shortly after the abrupt, sudden, quick, and unexpected
              sexual assaults by Defendant Nassar.

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      293.   Defendants' agents and employees concealed the fraud by affirmative act(s) that

was/were designed and/or planned to prevent inquiry and escape investigation and prevent

subsequent discovery of his fraud, in that Defendant Nassar:

      a.     Positioned himself in a manner in which parents or chaperones in the room could
             not see his conduct, so that he could conceal and prevent discovery of his conduct;

      b.     Dismissed a medical professional from the room, during an examination of a plaintiff
             while he was digitally penetrating a plaintiff, who questioned the placement of his
             hands;

      c.     Prevented other medical professionals, chaperones, parents, guardians, and/or
             caregivers from being in the room during examinations and treatments of Plaintiffs
             so that he could sexually assault Plaintiffs;

      d.     Did not abide by or follow the standard and care which requires another medical
             professional, chaperone, parent, guardian, and/or caregiver be in the room during
             the examination and treatment of minors and female patients;

      e.     Did not abide by or follow the restrictions that had been put into place in 2014
             by Defendant MSU restricting his examination and treatment of patients only with
             another person in the room; and,

      f.     Gave Plaintiff(s), at appointments, gifts such as t-shirts, pins, flags, leotards, and
             other items, some with USAG logos and others without, in order to gain their trust.

      294.   The actions and inactions of Defendants, as described in the preceding paragraphs,

constituted Fraudulent Concealment.

      295.   At all times pertinent to this action, Defendant Nassar was an agent, apparent

agent, servant, and employee of Defendant MSU and operated within the scope of his

employment and his negligence is imputed to Defendant MSU.

      296.   At all times material hereto, Plaintiffs were entirely free of any negligence

contributing to the injuries and damages hereinafter alleged.

      297.   Plaintiffs did not know, could not have reasonably known, and were reasonably
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unaware of a possible cause of action that they had against Defendant Nassar and/or Defendant

MSU until sometime thereafter September 2016, for the following reasons among others:

      a.     Plaintiffs reasonably relied on the Fraud committed by Defendant Nassar by his
             material representations and concealment of the true nature of his
             "treatments[s]"and his actions;

      b.     Plaintiffs were minors and/or young females at the time of the assaults and
             "treatments;"

      c.     Plaintiffs did not know what a legitimate and appropriately performed intra-vaginal
             or intra-anal/rectal treatment was like because they had never experienced and/or
             had an intra-vaginal or intra-anal/rectal treatment before;

      d.     Plaintiffs had never experienced and/or had an intra-vaginal treatment before
             because they had never been treated by a physician and/or therapist that performed
             them;

      e.     Plaintiffs did not know what a legitimate and appropriately performed pelvic,
             vaginal, anal, and/or breast exam was like because they had never experienced
             and/or had a pelvic, vaginal, anal, and/or breast exam before;

      f.     Plaintiffs had never experienced and/or had a pelvic and/or vaginal exam before
             because pelvic and/or vaginal exams are not recommended and routinely
             performed until a female reaches at least the age of 18 years old, pursuant to
             longstanding recommendations in the literature, expert opinions, treatment
             guidelines, and position statement from the American Academy of Pediatrics,
             American Academy of Family Physicians, American Cancer Society, American
             College of Obstetricians and Gynecologists, American Society for Clinical
             Pathology, and American Society for Colposcopy and Cervical Pathology;

      g.     Plaintiffs had never experienced and/or had a breast exam before because breast
             exams are not recommended and routinely performed until a female reaches at
             least the age of 21 years old, pursuant to longstanding recommendations in the
             literature, expert opinions, treatment guidelines, and position statement from the
             American Academy of Pediatrics, American Academy of Family Physicians,
             American Cancer Society, American College of Obstetricians and Gynecologists,
             American Society for Clinical Pathology;

      h.     Because of these recommendations and never having had one of these treatments
             or exams, it was very difficult if not impossible for Plaintiffs to differentiate a
             legitimate and appropriately performed intra-vaginal treatment, pelvic, vaginal, anal,
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        and/or breast exam from a sexual assault;

  i.    Plaintiffs could not have possibly known because there were no parents,
        chaperones, guardians, caregivers, and/or other medical professionals in the room
        during the "treatments" to observe, question, and/or discover that his "treatments"
        were sexual assaults and inform Plaintiffs that they had been sexually assaulted
        and had a cause of action against Defendant Nassar;

  j.    In the instances where a parent was present in the room, Defendant Nassar's
        actions to conceal the physical assaults from the view of the parents prevented the
        parents from discovering that his "treatments" were sexual assaults and informing
        Plaintiffs that they had been sexually assaulted and had a cause of action against
        Defendant Nassar;

  k.    Based on Neuroscience, the prefrontal cortex of the brain, which we use to make
        decisions and distinguish right from wrong, is not fully formed until around the age
        of 23;

  l.    Based on Neuroscience, as the prefrontal cortex of the brain matures teenagers are
        able to make better judgments;

  m.    Plaintiffs were intimidated by Defendant Nassar's notoriety and reputation and
        therefore believed his misrepresentations that the "treatment[s]" were legitimate
        and appropriate;

  n.    Plaintiffs trusted Defendant Nassar due to his notoriety and reputation;

  o.    Plaintiffs trusted Defendant Nassar because he groomed them to believe that his
        "treatments" were legitimate;

  p.    Plaintiffs trusted and felt that Defendant Nassar was a friend because at
        appointments he gave Plaintiff(s) gifts such as t-shirts, pins, flags, leotards, and
        other items, some with USAG logos and others without, in order to gain their trust;

  q.    Plaintiffs had no reason to believe or be aware that they could possibly sue or had
        a possible cause of action because they were minors and young females who were
        not knowledgeable or aware of the civil justice system;

  r.    Plaintiffs had no reason to believe or be aware that they could possibly sue or had
        a possible cause of action because they were minors and young females who were
        not knowledgeable or aware of any remedy at law;

  s.    Plaintiffs had no reason to believe or be aware that they could possibly sue or had
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              a possible cause of action evidenced by the fact that so many other girls had been
              sexually assaulted by Defendant Nassar over the past few decades, none of them
              had a reason to believe or be aware that they could possibly sue or had a possible
              cause of action in the past; and none of them have ever sued him in the past;

       t.     Plaintiffs were never told by Defendant Nassar that his conduct was sexual in nature
              and not legitimate and appropriate "treatment[s]" and to conceal the sexual conduct
              from their parents and others, unlike other victims of sexual abuse who are typically
              told by their perpetrators that their conduct is of a sexual nature and to conceal the
              sexual conduct from their parents and others;

       u.     Plaintiffs were compelled by Defendant Nassar to undergo "treatment[s]" like other
              athletes if they wanted to continue being involved in their relevant sport therefore
              the "treatments" were legitimate and appropriate;

       v.     Plaintiffs were minors and young athletes; therefore, they were easily suggestible;
              and,

       w.     Plaintiffs had never previously heard about any allegations in the media regarding
              sexual assaults or misconduct by Defendant Nassar, and some Plaintiffs were out
              of State.

       298.   Defendant MSU's sports medicine trainers, employees, staff, managers,

supervisors, directors, agents, apparent agents, and/or servants made material representation(s)

to Plaintiffs involving a past or existing fact by making statements that:

       a.     Defendant Nassar was an "Olympic doctor" and "knew what he was doing" in regard
              to performing appropriate "treatments;"

       b.     Defendant Nassar was a "world-renowned doctor" and that "it was legitimate
              medical treatment," in regard to the legitimacy and appropriateness of the
              "treatments;"

       c.     Defendant Nassar's conduct was "not sexual abuse;"

       d.     Defendant Nassar was a "world-renowned doctor;" and,

       e.     Defendant Nassar's conduct and "treatment[s]" were "medically appropriate" and
              "[n]ot of a sexual nature" because the complainant "didn't understand the "nuanced
              differrence" between sexual assault and an appropriate medical procedure."

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       299.    The material representation(s) to Plaintiffs were false, in that the MSU Defendants

had previously received strikingly similar complaints of abuse by Defendant Nassar from other

patients, students, and student athletes and knew that the appropriateness of his "treatment[s]"

had been questioned in the past.

       300.    When the MSU Defendants made the material representation(s), they knew that

they were false and/or made the material representation(s) recklessly, without any knowledge of

their truth and as a positive assertion, in that they knew that Defendant MSU had previously

received strikingly similar complaints of abuse by Defendant Nassar from other students and

student athletes and knew that the appropriateness of his "treatment[s]" had been questioned

in the past.

       301.    The MSU Defendants made the material representation(s) with the intent that the

material representation(s) should be acted upon by Plaintiffs, in that Plaintiffs:

       a.      Should believe that the "treatments" were in fact "treatments;"

       b.      Should believe that the "treatment[s]" were proper, appropriate, and legitimate;

       c.      Should not believe that they had been sexually assaulted;

       d.      Should not question and/or report the conduct to other authorities; and,

       e.      Should not reasonably believe and not be aware of a possible cause of action that
               they have against Defendant Nassar and/or the MSU Defendants.

       302.    Plaintiffs acted in reliance upon the material representation(s), in that Plaintiffs:

       a.      Reasonably believed that the "treatments" were in fact "treatments;"

       b.      Reasonably believed that the "treatments" were proper, appropriate, and legitimate;

       c.      Reasonably did not believe that they had been sexually assaulted;
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       d.     Reasonably believed that they should continue the "treatment[s];"

       e.     Did not believe that they should question and/or report the conduct to appropriate
              authorities; and,

       f.     Did not reasonably believe that they had and were not aware of a possible cause
              of action that they had against Defendant Nassar and/or Defendant MSU.

       303.   Plaintiffs thereby suffered injury, in that Plaintiffs:

       a.     Could not stop the sexual assault(s);

       b.     Continued to undergo the "treatment[s]" and sexual assault(s); and,

       c.     Suffered discomfort, bleeding, infections, related physical manifestations thereof,
              sleep deprivation, physical illness, vomiting, severe emotional distress, shock,
              humiliation, fright, grief, embarrassment, loss of self-esteem, disgrace, loss of
              familial relationships, loss of enjoyment of life and will continue to suffer pain of
              mind and body, were prevented and will continue to be prevented from performing
              Plaintiffs' daily activities and obtaining the full enjoyment of life, and have sustained
              and continue to sustain loss of earnings and earning capacity, among other injuries
              more fully described below.

       304.   The MSU Defendants concealed the fraud by making a fraudulent material

representation(s) to Plaintiffs that was/were designed and/or planned to prevent inquiry and

escape investigation and prevent subsequent discovery of his fraud, in that they made a

material representation(s) to Plaintiffs involving a past or existing fact by:

       a.     Making the statement that Defendant Nassar was an "Olympic doctor" and "knew
              what he was doing" in regard to performing appropriate "treatments;"

       b.     Making the statement that Defendant Nassar was a "world-renowned doctor" and
              that "it was legitimate medical treatment," in regard to the legitimacy and
              appropriateness of the "treatments;"

       c.     Making the statement that Defendant Nassar's conduct was "not sexual abuse,"
              that he was a "world-renowned doctor;" and,

       d.     Making the statement that Defendant Nassar's conduct and "treatment[s]" were
              "medically appropriate" and "[n]ot of a sexual nature" because the complainant
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               "didn't understand the "nuanced difference" between sexual assault and an
               appropriate medical procedure."

       305.    The MSU Defendants concealed the fraud by affirmative acts that were designed

and/or planned to prevent inquiry and escape investigation and prevent subsequent discovery of

his fraud, in that they:

       a.      Ignored, refused, and failed to inquire, question, and investigate the complaints and
               take action regarding Defendant Nassar's "treatments;"

       b.      Did not create a policy to require adults, parents, chaperones, guardians, and/or
               caregiver's presence during an examination of a minor or female by a physician;
               and,

       c.      Did not enforce the restrictions that had been put into place in 2014 by Defendant
               MSU restricting his examination and treatment of patients only with another person
               in the room.

       306.    Plaintiffs did not know, could not have reasonably known, and were reasonably

unaware of a possible cause of action that they had against Defendant Nassar and/or the MSU

Defendants until the September 12, 2016 publication of a story regarding a complaint filed with

Defendant MSU's Police Department, titled "Former USA Gymnastics doctor accused of Abuse,"

or thereafter, for the following reasons among others:

       a.      Plaintiffs reasonably relied on the Fraud committed by Defendant Nassar by his
               material representations and concealment of the true nature of his
               "treatments[s]"and his actions;

       b.      Plaintiffs were minors and/or young females at the time of the assaults and
               "treatments;"

       c.      Plaintiffs did not know what a legitimate and appropriately performed intra-vaginal
               treatment was like because they had never experienced and/or had an intra-vaginal
               treatment before;

       d.      Plaintiffs had never experienced and/or had an intra-vaginal treatment before
               because they had never been treated by a physician and/or therapist that performed
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        them;

  e.    Plaintiffs did not know what a legitimate and appropriately performed pelvic,
        vaginal, anal, and/or breast exam was like because they had never experienced
        and/or had a pelvic, vaginal, anal, and/or breast exam before;

  f.    Plaintiffs had never experienced and/or had a pelvic and/or vaginal exam before
        because pelvic and/or vaginal exams are not recommended and routinely
        performed until a female reaches at least the age of 18 years old, pursuant to
        longstanding recommendations in the literature, expert opinions, treatment
        guidelines, and position statement from the American Academy of Pediatrics,
        American Academy of Family Physicians, American Cancer Society, American
        College of Obstetricians and Gynecologists, American Society for Clinical
        Pathology, and American Society for Colposcopy and Cervical Pathology to name
        a few.

  g.    Plaintiffs had never experienced and/or had a breast exam before because breast
        exams are not recommended and routinely performed until a female reaches at
        least the age of 21 years old, pursuant to longstanding recommendations in the
        literature, expert opinions, treatment guidelines, and position statement from the
        American Academy of Pediatrics, American Academy of Family Physicians,
        American Cancer Society, American College of Obstetricians and Gynecologists,
        American Society for Clinical Pathology;

  h.    Because of these recommendations and never having had one of these treatments
        or exams, it was very difficult if not impossible for Plaintiffs to differentiate a
        legitimate and appropriately performed intra-vaginal treatment, pelvic, vaginal, anal,
        and/or breast exam from a sexual assault;

  i.    Plaintiffs could not have possibly known because there were no parents,
        chaperones, guardians, caregivers, and/or other medical professionals in the room
        during the "treatments" to observe, question, and/or discover that his "treatments"
        were sexual assaults and inform Plaintiffs that they had been sexually assaulted
        and had a cause of action against Defendant Nassar;

  j.    In the instances where a parent was present in the room, Defendant Nassar's
        actions to conceal the physical assaults from the view of the parents prevented the
        parents from discovering that his "treatments" were sexual assaults and informing
        Plaintiffs that they had been sexually assaulted and had a cause of action against
        Defendant Nassar;

  k.    Based on Neuroscience, the prefrontal cortex of the brain, which we use to make
        decisions and distinguish right from wrong, is not fully formed until around the age
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        of 23;

  l.    Based on Neuroscience, as the prefrontal cortex of the brain matures teenagers are
        able to make better judgments;

  m.    Plaintiffs were intimidated by Defendant Nassar's notoriety and reputation and
        therefore believed his misrepresentations that the "treatment[s]" were legitimate
        and appropriate;

  n.    Plaintiffs trusted Defendant Nassar due to his notoriety and reputation;

  o.    Plaintiffs trusted Defendant Nassar because he groomed them to believe that his
        "treatments" were in fact legitimate "treatments;"

  p.    Plaintiffs trusted and felt that Defendant Nassar was a friend because he gave
        Plaintiffs, at appointments, gifts such as t-shirts, pins, flags, leotards, and other
        items, some with USAG logos and others without, in order to gain their trust;

  q.    Plaintiffs had no reason to believe or be aware that they could possibly sue or had
        a possible cause of action because they were minors and young females who were
        not knowledgeable or aware of the civil justice system;

  r.    Plaintiffs had no reason to believe or be aware that they could possibly sue or had
        a possible cause of action because they were minors and young females who were
        not knowledgeable or aware of any remedy at law;

  s.    Plaintiffs had no reason to believe or be aware that they could possibly sue or had
        a possible cause of action evidenced by the fact that so many other girls had been
        sexually assaulted by Defendant Nassar over the past few decades, none of them
        had a reason to believe or be aware that they could possibly sue or had a possible
        cause of action in the past; and none of them have ever sued him in the past;

  t.    Plaintiffs were never told by Defendant Nassar that his conduct was sexual in nature
        and not legitimate and appropriate "treatment[s]" and to conceal the sexual conduct
        from their parents and others, unlike other victims of sexual abuse who are typically
        told by their perpetrators that their conduct is of a sexual nature and to conceal the
        sexual conduct from their parents and others;

  u.    Plaintiffs were compelled by Defendant Nassar to undergo "treatment[s]" like other
        athletes if they wanted to continue being involved in their relevant sport therefore
        the "treatments" were legitimate and appropriate;

  v.    Plaintiffs were minors and young athletes; therefore, they were easily suggestible;
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      w.     Plaintiffs had never previously heard about any allegations in the media regarding
             sexual assaults or misconduct by Defendant Nassar;

      x.     Plaintiffs reasonably relied on the Fraud committed by Defendant MSU by their
             material representations and concealment of the true nature of Defendant Nassar's
             "treatments[s]" and his actions;

      y.     Plaintiffs trusted Defendant MSU that they would protect Plaintiffs from harm and
             not hire, employee, and/or retain a physician that had, was, or would perform
             illegitimate and/or inappropriate "treatment[s]," engage in inappropriate conduct,
             and/or sexually assault patients, students, and/or athletes;

      z.     Plaintiffs were never told by Defendant MSU that Defendant Nassar's conduct and
             "treatment[s]" were inappropriate and sexual assault, to the contrary Plaintiffs were
             told that Defendant Nassar's conduct and "treatment[s]" were appropriate and
             legitimate "treatment[s]," "not sexual abuse," "medically appropriate," and "[n]ot of
             a sexual nature" from a "world-renowned" and "Olympic doctor," who "knew what
             he was doing" and that Plaintiffs, because of their age and inexperience with intra-
             vaginal treatment, pelvic, vaginal, anal, and/or breast exams, "didn't understand the
             'nuanced difference' between sexual assault and an appropriate medical
             procedure;"

      aa.    Plaintiffs reasonably relied on Defendant MSU to protect them and Defendant
             MSU's statements; and,

      bb.    Plaintiffs were compelled by Defendant MSU to undergo "treatment[s]" like other
             athletes if they wanted to continue being involved in their relevant sport therefore
             the "treatments" were legitimate and appropriate.

      307.   The actions and inactions of the MSU Defendants and their agents and employees,

as described in the preceding paragraphs, constituted Fraudulent Concealment.

      308.   At all times pertinent to this action, Defendant Nassar was an agent, apparent

agent, servant, and employee of Defendant MSU and operated within the scope of his

employment and his Fraudulent Concealment is imputed to Defendant MSU.

      309.   The actions and inactions of the sports medicine trainers, employees, staff,

managers, supervisors, and directors of the MSU Defendants, as described in the preceding

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paragraphs, constituted Fraudulent Concealment.

       310.   At all times pertinent to this action, the sports medicine trainers, employees, staff,

managers, supervisors, and directors of Defendant MSU were agents, apparent agents, servants,

and employees of Defendant MSU and operated within the scope of their employment and their

Fraudulent Concealment is imputed to Defendant MSU.

       311.   At all times material hereto, Plaintiffs were entirely free of any negligence

contributing to the injuries and damages hereinafter alleged.

       B.     DEFENDANT USA GYMNASTICS

       312.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       313.   Plaintiffs sought and received medical treatment from Defendant USAG and were

in a special relationship with Defendant USAG due to its provision of medical treatment to its

athletes.

       314.   Given the special relationship, Defendant USAG had a duty to disclose and to warn

and protect the athletes and patients who sought treatment at its sanctioned events and member

gyms with its doctor.

       315.   Plaintiffs incorporate by reference the Fraud claims made below and hereby allege

that Defendant USAG committed Fraudulent Concealment by committing Fraud, as described in

detail above and below, and concealing the existence of Plaintiffs' claims and that Plaintiffs had

a cause of action against Defendant Nassar and/or Defendant USAG at the time his sexual

assaults occurred by Defendant Nassar making a material representation(s) to Plaintiffs involving

a past or existing fact by:
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       a.     Making the statement, explaining, that his acts and/or conduct were a "new
              procedure" which involved vaginal penetration;

       b.     Making the statement, referring to his conduct, disguised as "treatment," as a pelvic
              adjustment;

       c.     Making the statement, explaining, that his acts and/or conduct was "checking your
              sternum;"

       d.     Making the statement, explaining, that his acts and/or conduct was doing a "breast
              exam;"

       e.     Making the statement, explaining, that his acts and/or conduct was medical
              "treatment" for a legitimate medical purpose and that it was the same that he
              performed on Olympic athletes;

       f.     Making the statement, explaining, that his acts and/or conduct was "attempting to
              manipulate [their] ribs;" and,

       g.     Making a statement, explaining to Plaintiff and another medical professional that
              the position of his hand was in an appropriate place-when it was not-and while he
              was digitally penetrating Plaintiffs, all of which were made contemporaneously
              and/or shortly after the abrupt, sudden, quick, and unexpected sexual assaults by
              Defendant Nassar.

       316.   The material representation(s) to Plaintiffs by Defendant Nassar were false, in that

he was actually performing them for his own sexual gratification and pleasure evidenced by his

observed arousal, flushed face, and closing of the eyes during the conduct.

       317.   When Defendant Nassar made the material representation(s), he knew that they

were false, in that he knew that the "treatment[s]" were not proper, appropriate, legitimate, and/or

considered within standard of care by any physician of any specialty and/or sports therapist.

       318.   Defendant USAG had knowledge of Nassar’s criminal propensity of committing

sexual abuse as early as 1998. This is confirmed by the following evidence:

       a.     Upon information and belief, in 1998, Defendant USAG received a complaint about
              Larry Nassar’s sexual abuse by a parent of Jane A71 Doe. The complaint was made
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              directly to US Olympic Gymnastics Head Coach, John Geddert, a long-time agent
              of USAG.

       b.     Upon information and belief, the parent of Plaintiff Jane A71 Doe, also complained
              of Nassar’s sexual abuse to other USAG coaches while Plaintiff Jane A71 Doe was
              engaged in gymnastics activities at the Twistars facility, which is a USAG registered
              gymnastics club.

       c.     During Nassar’s preliminary examination on May 12, 2017 in the 55th District Court
              in Ingham County, Michigan, a young woman testified regarding an instance of
              sexual assault that occurred at Twistars’ facility in Dimondale, Michigan in
              approximately 2010 when she was fifteen years old. She testified that, “Mostly all I
              remember is [Nassar] doing the treatment on me with his fingers in my vagina,
              massaging my back with a towel over my butt, and John [Geddert] walking in and
              making a joke that I guess my back really did hurt, and then I was uncomfortable
              because John [Geddert] was in there during that.”

       d.     Altogether, between 1999 and 2016, at least thirty-two (32) USAG gymnasts were
              sexually abused by Larry Nasser while participating in USAG-sanctioned events, at
              USAG’s famed Karolyi Ranch, and at the USAG gymnastics club, Twistars. Upon
              information and belief, the living quarters and scheduling routines of these
              gymnasts were such that it was nearly impossible for USAG coaches, USAG
              trainers, and USAG agents to not know what Larry Nasser was doing.

       319.   Defendant Nassar made the material representation(s) with the intent that the

material representation(s) should be acted upon by Plaintiffs, in that Plaintiffs:

       a.     Should believe that the "treatments" were in fact "treatments;"

       b.     Should believe that the "treatment[s]" were proper, appropriate, and legitimate;

       c.     Should not believe that they had been sexually assaulted; should not believe that
              they had been sexually assaulted so that he could prevent discovery of his sexual
              assaults;

       d.     Should continue the "treatment[s]" so that he could continue to sexually assault
              them;

       e.     Should not question and/or report the conduct to appropriate authorities; and,

       f.     Should not reasonably believe and not be aware of a possible cause of action that
              they have against Defendant Nassar and/or Defendant USAG.
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        320.       Plaintiffs acted in reliance upon Defendant Nassar's material representation(s), in

that Plaintiffs:

        a.         Reasonably believed that the "treatments" were in fact "treatments;"

        b.         Reasonably believed that the "treatments" were proper, appropriate, and legitimate;

        c.         Reasonably did not believe that they had been sexually assaulted;

        d.         Believed that they should continue the "treatment[s];"

        e.         Did not believe that they should question and/or report the conduct to appropriate
                   authorities; and did not reasonably believe that they had and were not aware of a
                   possible cause of action that they had against Defendant Nassar and/or Defendant
                   USAG.

        321.       Plaintiffs thereby suffered injury, in that Plaintiffs:

        a.         Could not stop the sexual assault;

        b.         Continued to undergo the "treatment[s]" and sexual assault(s); and,

        c.         Suffered discomfort, bleeding, infections, related physical manifestations thereof,
                   sleep deprivation, physical illness, vomiting, severe emotional distress, shock,
                   humiliation, fright, grief, embarrassment, loss of self-esteem, disgrace, loss of
                   familial relationships, loss of enjoyment of life and will continue to suffer pain of
                   mind and body, were prevented and will continue to be prevented from performing
                   Plaintiffs' daily activities and obtaining the full enjoyment of life, and have sustained
                   and continue to sustain loss of earnings and earning capacity, among other injuries
                   more fully described below.

        322.       Defendant Nassar concealed the fraud by making a fraudulent material

representation(s) to Plaintiffs that was/were designed and/or planned to prevent inquiry and

escape investigation and prevent subsequent discovery of his fraud, in that he made a material

representation(s) to Plaintiffs involving a past or existing fact by:

        a.         Making the statement, explaining, that his acts and/or conduct were a "new
                   procedure" which involved vaginal penetration;
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       b.     Making the statement, referring to his conduct, disguised as "treatment," as a pelvic
              adjustment;

       c.     Making the statement, explaining, that his acts and/or conduct was "checking your
              sternum;"

       d.     Making the statement, explaining, that his acts and/or conduct was doing a "breast
              exam;"

       e.     Making the statement, explaining, that his acts and/or conduct was "treatment" and
              that it was the same that he performed on Olympic athletes;

       f.     Making the statement, explaining, that his acts and/or conduct was "attempting to
              manipulate [their] ribs;" and,

       g.     Making a statement, explaining to Plaintiffs and another medical professional that
              the position of his hand was in an appropriate place-when it was not-and while he
              was digitally penetrating Plaintiff, all which were made contemporaneously and/or
              shortly after the abrupt, sudden, quick, and unexpected sexual assaults by
              Defendant Nassar.

       323.   Defendant Nassar concealed the fraud by an affirmative act(s) that was/were

designed and/or planned to prevent inquiry and escape investigation and prevent subsequent

discovery of his fraud, in that he:

       a.     Positioned himself in a manner in which parents or chaperones in the room could
              not see his conduct, so that he could conceal and prevent discovery of his conduct;

       b.     Dismissed a medical professional from the room, during an examination of a plaintiff
              while he was digitally penetrating a plaintiff, who questioned the placement of his
              hands;


       c.     Prevented other medical professionals, chaperones, parents, guardians, and/or
              caregivers from being in the room during examinations and treatments of Plaintiffs
              so that he could sexually assault Plaintiffs;

       d.     Did not abide by or follow the standard and care which requires another medical
              professional, chaperone, parent, guardian, and/or caregiver be in the room during
              the examination and treatment of minors and female patients;
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       e.     Did not abide by or follow Defendant USAG's Code of Ethics, Participant Welfare
              Policy, Safety/Risk Management Certification, principles in Gymnastics Risk
              Management Safety Course Handbook, and Prohibited Conduct policy, which he
              was a part of creating by not examining patients in the presence of a parent,
              chaperone, guardian, and/or caregiver; and,

       f.     Gave Plaintiff(s), at appointments, gifts such as t-shirts, pins, flags, leotards, and
              other items, some with USAG logos and others without, in order to gain their trust.

       324.   The actions and inactions of Defendant Nassar, as described in the preceding

paragraphs, constituted Fraudulent Concealment.

       325.   At all times pertinent to this action, Defendant Nassar was an agent, apparent

agent, servant, and employee of Defendant USAG and operated within the scope of his

employment and his Fraudulent Concealment is imputed to Defendant USAG.

       326.   At all times material hereto, Plaintiffs were entirely free of any negligence

contributing to the injuries and damages hereinafter alleged.

       C.     DEFENDANTS TWISTARS & JOHN GEDDERT

       327.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       328.   Plaintiffs sought and received medical treatment from Defendant Twistars and

Geddert and were in a special relationship with Defendant Twistars and Geddert due to their

provision of medical treatment to their athletes.

       329.   Given the special relationship, Defendant Twistars and Geddert had a duty to

disclose and to warn and protect the athletes and patients who sought treatment at its sanctioned

events and facilities with its doctor.

       330.   Plaintiffs incorporate by reference the Fraud claims made below and hereby allege
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that Defendant Twistars and Defendant John Geddert committed Fraudulent Concealment by

committing Fraud, as described in detail above and below, and concealing the existence of

Plaintiffs' claims and that Plaintiffs had a cause of action against Defendant Nassar and/or

Defendant Twistars and Defendant John Geddert at the time his sexual assaults occurred by

Defendant Nassar making a material representation(s) to Plaintiffs involving a past or existing

fact by:

       a.     Making the statement, explaining, that his acts and/or conduct were a "new
              procedure" which involved vaginal penetration;

       b.     Making the statement, referring to his conduct, disguised as "treatment," as a pelvic
              adjustment;

       c.     Making the statement, explaining, that his acts and/or conduct was "checking your
              sternum;"

       d.     Making the statement, explaining, that his acts and/or conduct was doing a "breast
              exam;"

       e.     Making the statement, explaining, that his acts and/or conduct was medical
              "treatment" for a legitimate medical purpose and that it was the same that he
              performed on Olympic athletes;

       f.     Making the statement, explaining, that his acts and/or conduct was "attempting to
              manipulate [their] ribs;" and,

       g.     Making a statement, explaining to Plaintiff and another medical professional that
              the position of his hand was in an appropriate place-when it was not-and while he
              was digitally penetrating Plaintiffs, all of which were made contemporaneously
              and/or shortly after the abrupt, sudden, quick, and unexpected sexual assaults by
              Defendant Nassar.

       331.   The material representation(s) to Plaintiffs by Defendant Nassar were false, in that

he was actually performing them for his own sexual gratification and pleasure evidenced by his

observed arousal, flushed face, and closing of the eyes during the conduct.

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        332.       When Defendant Nassar made the material representation(s), he knew that they

were false, in that he knew that the "treatment[s]" were not proper, appropriate, legitimate, and/or

considered within standard of care by any physician of any specialty and/or sports therapist.

        333.       Defendant Nassar made the material representation(s) with the intent that the

material representation(s) should be acted upon by Plaintiffs, in that Plaintiffs:

        a.         Should believe that the "treatments" were in fact "treatments;"

        b.         Should believe that the "treatment[s]" were proper, appropriate, and legitimate;

        c.         Should not believe that they had been sexually assaulted; should not believe that
                   they had been sexually assaulted so that he could prevent discovery of his sexual
                   assaults;
        d.         Should continue the "treatment[s]" so that he could continue to sexually assault
                   them;
        e.         Should not question and/or report the conduct to appropriate authorities; and,

        f.         Should not reasonably believe and not be aware of a possible cause of action that
                   they have against Defendant Nassar and/or Defendant Twistars or Defendant
                   Geddert.

        334.       Plaintiffs acted in reliance upon Defendant Nassar's material representation(s), in

that Plaintiffs:

        a.         Reasonably believed that the "treatments" were in fact "treatments;"

        b.         Reasonably believed that the "treatments" were proper, appropriate, and legitimate;

        c.         Reasonably did not believe that they had been sexually assaulted;

        d.         Believed that they should continue the "treatment[s];"

        e.         Did not believe that they should question and/or report the conduct to appropriate
                   authorities; and did not reasonably believe that they had and were not aware of a
                   possible cause of action that they had against Defendant Nassar and/or Defendant
                   Twistars or Defendant Geddert.

        335.       Plaintiffs thereby suffered injury, in that Plaintiffs:
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       a.     Could not stop the sexual assault;

       b.     Continued to undergo the "treatment[s]" and sexual assault(s); and,

       c.     Suffered discomfort, bleeding, infections, related physical manifestations thereof,
              sleep deprivation, physical illness, vomiting, severe emotional distress, shock,
              humiliation, fright, grief, embarrassment, loss of self-esteem, disgrace, loss of
              familial relationships, loss of enjoyment of life and will continue to suffer pain of
              mind and body, were prevented and will continue to be prevented from performing
              Plaintiffs' daily activities and obtaining the full enjoyment of life, and have sustained
              and continue to sustain loss of earnings and earning capacity, among other injuries
              more fully described below.

       336.   Defendant Nassar concealed the fraud by making a fraudulent material

representation(s) to Plaintiffs that was/were designed and/or planned to prevent inquiry and

escape investigation and prevent subsequent discovery of his fraud, in that he made a material

representation(s) to Plaintiffs involving a past or existing fact by:

       a.     Making the statement, explaining, that his acts and/or conduct were a "new
              procedure" which involved vaginal penetration;

       b.     Making the statement, referring to his conduct, disguised as "treatment," as a pelvic
              adjustment;

       c.     Making the statement, explaining, that his acts and/or conduct was "checking your
              sternum;"

       d.     Making the statement, explaining, that his acts and/or conduct was doing a "breast
              exam;"

       e.     Making the statement, explaining, that his acts and/or conduct was medical
              "treatment" for a legitimate medical purpose and that it was the same that he
              performed on Olympic athletes;

       f.     Making the statement, explaining, that his acts and/or conduct was "attempting to
              manipulate [their] ribs;" and,

       g.     Making a statement, explaining to Plaintiffs and another medical professional that
              the position of his hand was in an appropriate place-when it was not-and while he
              was digitally penetrating Plaintiff, all which were made contemporaneously and/or
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              shortly after the abrupt, sudden, quick, and unexpected sexual assaults by
              Defendant Nassar.

       337.   Defendant Nassar concealing the fraud by an affirmative act(s) that was/were

designed and/or planned to prevent inquiry and escape investigation and prevent subsequent

discovery of his fraud, in that he:

       a.     Positioned himself in a manner in which parents or chaperones in the room could
              not see his conduct, so that he could conceal and prevent discovery of his conduct;

       b.     Dismissed a medical professional from the room, during an examination of a plaintiff
              while he was digitally penetrating a plaintiff, who questioned the placement of his
              hands;

       c.     Prevented other medical professionals, chaperones, parents, guardians, and/or
              caregivers from being in the room during examinations and treatments of Plaintiffs
              so that he could sexually assault Plaintiffs;

       d.     Did not abide by or follow the standard and care which requires another medical
              professional, chaperone, parent, guardian, and/or caregiver be in the room during
              the examination and treatment of minors and female patients;

       e.     Did not abide by or follow Defendant USAG's Code of Ethics, Participant Welfare
              Policy, Safety/Risk Management Certification, principles in Gymnastics Risk
              Management Safety Course Handbook, and Prohibited Conduct policy, or any
              similar policies established by Defendant Twistars or Defendant Geddert, by not
              examining patients in the presence of a parent, chaperone, guardian, and/or
              caregiver; and,

       f.     Gave Plaintiff(s), at appointments, gifts such as t-shirts, pins, flags, leotards, and
              other items, some with USAG logos and others without, in order to gain their trust.

       338.   The actions and inactions of Defendant Nassar, as described in the preceding

paragraphs, constituted Fraudulent Concealment.

       339.   At all times pertinent to this action, Defendant Nassar was an agent, apparent

agent, servant, and employee of Defendant Twistars and Defendant Geddert and operated within

the scope of his employment and his Fraudulent Concealment is imputed to Defendant Twistars
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and Defendant Geddert.

       340.   At all times material hereto, Plaintiffs were entirely free of any negligence

contributing to the injuries and damages hereinafter alleged.

       D.     DEFENDANT NASSAR

       341.   Plaintiffs reallege and incorporate by reference the allegations contained in the

  pervious paragraphs.

       342.   Plaintiffs had a special relationship with Defendant Nassar given their physician-

  patient relationship.

       343.   Given the special relationship, Defendant Nassar had an affirmative duty to

  disclose and to warn and protect athletes and patients who sought his medical treatment

  from sexual abuse, assault, and molestation.

       344.   Plaintiffs incorporate by reference the Fraud claims made below and hereby allege

that Defendant Nassar committed Fraudulent Concealment by committing Fraud, as described

in detail above and below, and concealing the existence of Plaintiffs' claims and that Plaintiffs

had a cause of action against Defendant Nassar and/or Defendant MSU at the time his sexual

assaults occurred by Defendant Nassar making a material representation(s) to Plaintiffs involving

a past or existing fact by:

       a.     Making the statement, explaining, that his acts and/or conduct were a "new
              procedure" which involved vaginal penetration;

       b.     Making the statement, referring to his conduct, disguised as "treatment," as a pelvic
              adjustment;

       c.     Making the statement, explaining, that his acts and/or conduct was "checking your
              sternum;"

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       d.     Making the statement, explaining, that his acts and/or conduct was doing a "breast
              exam;"

       e.     Making the statement, explaining, that his acts and/or conduct was medical
              "treatment" for a legitimate medical purpose and that it was the same that he
              performed on Olympic athletes;

       f.     Making the statement, explaining, that his acts and/or conduct was "attempting to
              manipulate [their] ribs;" and,

       g.     Making a statement, explaining to Plaintiff and another medical professional that
              the position of his hand was in an appropriate place-when it was not-and while he
              was digitally penetrating Plaintiffs, all of which were made contemporaneously
              and/or shortly after the abrupt, sudden, quick, and unexpected sexual assaults by
              Defendant Nassar.

       345.   The material representation(s) to Plaintiffs by Defendant Nassar were false, in that

he was actually performing them for his own sexual gratification and pleasure evidenced by his

observed arousal, flushed face, and closing of the eyes during the conduct.

       346.   When Defendant Nassar made the material representation(s), he knew that they

were false, in that he knew that the "treatment[s]" were not proper, appropriate, legitimate, and/or

considered within standard of care by any physician of any specialty and/or sports therapist.

       347.   Defendant Nassar made the material representation(s) with the intent that the

material representation(s) should be acted upon by Plaintiffs, in that Plaintiffs:

       a.     Should believe that the "treatments" were in fact "treatments;"

       b.     Should believe that the "treatment[s]" were proper, appropriate, and legitimate;

       c.     Should not believe that they had been sexually assaulted; should not believe that
              they had been sexually assaulted so that he could prevent discovery of his sexual
              assaults;
       d.     Should continue the "treatment[s]" so that he could continue to sexually assault
              them;
       e.     Should not question and/or report the conduct to appropriate authorities; and,

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        f.         Should not reasonably believe and not be aware of a possible cause of action that
                   they have against Defendant Nassar and/or Defendant Twistars or Defendant
                   Geddert.

        348.       Plaintiffs acted in reliance upon Defendant Nassar's material representation(s), in

that Plaintiffs:

        a.         Reasonably believed that the "treatments" were in fact "treatments;"

        b.         Reasonably believed that the "treatments" were proper, appropriate, and legitimate;

        c.         Reasonably did not believe that they had been sexually assaulted;

        d.         Believed that they should continue the "treatment[s];"

        e.         Did not believe that they should question and/or report the conduct to appropriate
                   authorities; and did not reasonably believe that they had and were not aware of a
                   possible cause of action that they had against Defendant Nassar and/or Defendant
                   Twistars or Defendant Geddert.

        349.       Plaintiffs thereby suffered injury, in that Plaintiffs:

        a.         Could not stop the sexual assault;

        b.         Continued to undergo the "treatment[s]" and sexual assault(s); and,

        c.         Suffered discomfort, bleeding, infections, related physical manifestations thereof,
                   sleep deprivation, physical illness, vomiting, severe emotional distress, shock,
                   humiliation, fright, grief, embarrassment, loss of self-esteem, disgrace, loss of
                   familial relationships, loss of enjoyment of life and will continue to suffer pain of
                   mind and body, were prevented and will continue to be prevented from performing
                   Plaintiffs' daily activities and obtaining the full enjoyment of life, and have sustained
                   and continue to sustain loss of earnings and earning capacity, among other injuries
                   more fully described below.

        350.       Defendant Nassar concealed the fraud by making a fraudulent material

   representation(s) to Plaintiffs that was/were designed and/or planned to prevent inquiry and

   escape investigation and prevent subsequent discovery of his fraud, in that he made a

   material representation(s) to Plaintiffs involving a past or existing fact by:
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    a.     Making the statement, explaining, that his acts and/or conduct were a "new
           procedure" which involved vaginal penetration;

    b.     Making the statement, referring to his conduct, disguised as "treatment," as a pelvic
           adjustment;

    c.     Making the statement, explaining, that his acts and/or conduct was "checking your
           sternum;"

    d.     Making the statement, explaining, that his acts and/or conduct was doing a "breast
           exam;"

    e.     Making the statement, explaining, that his acts and/or conduct was medical
           "treatment" for a legitimate medical purpose and that it was the same that he
           performed on Olympic athletes;

    f.     Making the statement, explaining, that his acts and/or conduct was "attempting to
           manipulate [their] ribs;" and,

    g.     Making a statement, explaining to Plaintiffs and another medical professional that
           the position of his hand was in an appropriate place-when it was not-and while he
           was digitally penetrating Plaintiff, all which were made contemporaneously and/or
           shortly after the abrupt, sudden, quick, and unexpected sexual assaults by
           Defendant Nassar.

    351.   Defendant Nassar concealing the fraud by an affirmative act(s) that was/were

designed and/or planned to prevent inquiry and escape investigation and prevent

subsequent discovery of his fraud, in that he:

    a.     Positioned himself in a manner in which parents or chaperones in the room could
           not see his conduct, so that he could conceal and prevent discovery of his conduct;

    b.     Dismissed a medical professional from the room, during an examination of a plaintiff
           while he was digitally penetrating a plaintiff, who questioned the placement of his
           hands;

    c.     Prevented other medical professionals, chaperones, parents, guardians, and/or
           caregivers from being in the room during examinations and treatments of Plaintiffs
           so that he could sexually assault Plaintiffs;

    d.     Did not abide by or follow the standard and care which requires another medical
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             professional, chaperone, parent, guardian, and/or caregiver be in the room during
             the examination and treatment of minors and female patients;

      e.     Did not abide by or follow Defendant USAG's Code of Ethics, Participant Welfare
             Policy, Safety/Risk Management Certification, principles in Gymnastics Risk
             Management Safety Course Handbook, and Prohibited Conduct policy, or any
             similar policies established by Defendant Twistars or Defendant Geddert, by not
             examining patients in the presence of a parent, chaperone, guardian, and/or
             caregiver; and,

      f.     Gave Plaintiff(s), at appointments, gifts such as t-shirts, pins, flags, leotards, and
             other items, some with USAG logos and others without, in order to gain their trust.

      352.   The actions and inactions of Defendant Nassar, as described in the preceding

paragraphs, constituted Fraudulent Concealment.

      353.   At all times pertinent to this action, Defendant Nassar was an agent, apparent

agent, servant, and employee of Defendant MSU, USAG, Twistars and Defendant Geddert and

operated within the scope of his employment and his Fraudulent Concealment is imputed to

Defendants MSU, USAG, Twistars and Defendant Geddert.

      354.   At all times material hereto, Plaintiffs were entirely free of any negligence

contributing to the injuries and damages hereinafter alleged.

                CLAIMS AGAINST MICHIGAN STATE UNIVERSITY DEFENDANTS

                                            COUNT ONE

     VIOLATION OF TITLE IX OF THE EDUCATION ACT OF 1972, 20 U.S.C. § 1681 et seq
                               (Against MSU Defendants)

      355.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

      356.   Title IX, 20 U.S.C. § 1681(a) provides in pertinent part:

      “No person in the United States shall, on the basis of sex, be excluded from
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       participation in, be denied the benefits of, or be subjected to discrimination under
       any education program or activity receiving Federal financial assistance. . .”

       357.   “Title IX also protects third parties from sexual harassment or violence in a

school’s education programs and activities.”

       358.   Under Title IX, sexual harassment is any type of unwelcome conduct of a sexual

nature. “It includes unwelcome sexual advances, requests for sexual favors, and other verbal,

nonverbal, or physical conduct of a sexual nature.”

       359.   Plaintiffs are “persons” within the meaning of 20 U.S.C. §1681(a).

       360.   Defendant MSU receives financial assistance for its education program and is

therefore subject to the provisions of Title IX of the Education Act of 1972, 20 U.S.C. §1681, et

seq.

       361.   The U.S. Department of Education’s Office of Civil Rights has explained that Title

IX covers all programs of a school, and extends to sexual harassment and assault by employees,

students, and third parties.

       362.   Defendant Nassar’s actions and conduct were carried out under one of Defendant

MSU’s programs, which provides medical treatment and medical care to students, including

student athletes, and members of the general public.

       363.   Defendant Nassar’s sexual assault, battery, molestation, and harassment of

Plaintiffs, including the massaging of breasts, thighs, buttocks, and vaginal areas, and

nonconsensual digital vaginal and anal penetration, constitutes sexual discrimination and

harassment under Title IX.

       364.   Defendant Nassar’s sexual assault, battery, molestation, and harassment of Larissa

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Boyce, Christie Achenbach, and Tiffany Thomas Lopez constituted sexual discrimination and

harassment under Title IX.

       365.   Pursuant to Title IX, Defendant MSU is obligated and required to investigate all

allegations of sexual assault, battery, molestation, and harassment, including allegations that

sexual assault, battery, molestation, and harassment has been committed by an employee,

student, or third party.

       366.   Defendant MSU owed Plaintiffs duties under Title IX, which duties included not to

engage in and be deliberately indifferent to known sexual assault, battery, molestation,

harassment, and other sexual misconduct.

       367.   Upon information and belief, an “appropriate person” at MSU, within the meaning

of Title IX, including but not limited to, Kathie Klages, Kelli Bert, Lianna Hadden, Destiny

Teachnor-Hauk, Gary Stollak, and other trainers and coaches, had actual and constructive

notice of sexual assault, battery, molestation, and harassment committed by Defendant Nassar

in 1997/1998, 1999, 2000, 2001/2002, 2004 and 2014, as described herein this Complaint.

       368.   The MSU Defendants failed to carry out their duties to investigate and take

corrective action, as well as to make appropriate recommendations, including informed consent,

under Title IX following the complaints of sexual assault, as described herein.

       369.   Despite the complaints and concerns conveyed to Defendant MSU employees,

agents, and/or representatives as described herein, allegations went unaddressed, which

violated reporting policies and procedures and Title IX and was done in a manner that was

reckless, grossly negligent, and deliberately indifferent.

       370.   The MSU Defendants acted with indifference and in a clearly unreasonable
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manner by failing to respond to the allegations of sexual assault, abuse, and molestation in light

of the known circumstances, Defendant Nassar’s conduct toward female athletes, and his

access to young girls and young women.

      371.   The MSU Defendants’ deliberate indifference is further confirmed by the

Department of Education’s investigation into MSU’s handling of sexual assault and relationship

violence allegations, which revealed:

      a.     That the MSU Defendants’ failure to adequately respond to allegations of sexual
             assault created a sexually hostile environment and affected numerous students and
             staff on MSU’s campus;

      b.     That the MSU Defendants’ failure to address complaints of sexual violence in a
             prompt and equitable manner caused and may have contributed to a continuation
             of the sexually hostile environment.

      372.   The MSU Defendants’ responses were clearly unreasonable as Defendant Nassar

continued to sexually assault female athletes and other individuals until he was discharged from

the University in 2016.

      373.   MSU Defendants had actual and constructive knowledge of, but were recklessly

and deliberately indifferent to, Defendant Nassar’s sexual assault, battery, molestation, and

harassment in between 1997 and/or 1998 and 2016.

      374.   Defendant MSU’s failure to investigate and take corrective actions to complaints

of Defendant Nassar’s sexual assault, battery, molestation, and harassment in 1997/1998, 1999,

2000, 2001/2002, 2004, and 2014 led to others, including Plaintiffs, being sexually assaulted,

battered, molested, and harassed by Defendant Nassar.

      375.   The MSU Defendants were notified again in 2014 of Defendant Nassar’s conduct

when Amanda Thomashow reported she had an appointment with Defendant Nassar to address
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hip pain and was sexually abused and molested by Defendant Nassar when he cupped her

buttocks, massaged her breast and vaginal area, and he became sexually aroused.

       376.   Amanda Thomashow reported to Defendant MSU facts which were omitted or

withheld from the investigative report including but not limited to the following:

       a.     Defendant Nassar was sexually aroused while touching her;

       b.     The appointment with Defendant Nassar did not end until she physically removed
              his hands from her body.

       377.   Three months after initiating an investigation, in July 2014, Amanda Thomashow’s

complaints were dismissed and Defendant MSU determined she didn’t understand the

“nuanced difference” between sexual assault and an appropriate medical procedure and

deemed Defendant Nassar’s conduct “medically appropriate” and “not of a sexual nature.”

       378.   In addition, Kristine Moore produced two different versions of the report in

response to the July 2014 investigation—one version was sent to Amanda Thomashow and a

different version was sent to Defendant Nassar and other MSU personnel.

       379.   The version of the report that Kristine Moore sent to Amanda Thomashow

contained the following conclusion:

                     We cannot find that the conduct was of a sexual nature. Thus, it did
              not violate the Sexual Harassment Policy. However, we find the claim
              helpful in that it allows us to examine certain practices at the MSU Sports
              Medicine Clinic.

       380.   The other version of the report that Kristine Moore produced for Defendant MSU

that was not provided to Amanda Thomashow contained the following conclusion:

                     We cannot find that the conduct was of a sexual nature. Thus, it did
              not violate the Sexual Harassment Policy. However, we find the claim
              helpful in that it brought to light some significant problems that the practice
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             will want to address.
                      We should find whether medically sound or not, the failure to
             adequately explain procedures such as these invasive, sensitive
             procedures, is opening the practice up to liability and is exposing patients
             to unnecessary trauma based on the possibility of perceived inappropriate
             sexual misconduct. In addition, we find that the failure to obtain consent
             from patients prior to the procedure is likewise exposing the practice to
             liability. If procedures can be performed skin-to-skin or over clothes in the
             breast or pelvic floor area, it would seem patients should have the choice
             between the two. Having a resident, nurse or someone in room during a
             sensitive procedure protects doctors and provides patients with peace of
             mind. If “touching is what the DO’s do” and that is not commonly known,
             perhaps the practice will want to consider a disclaimer or information sheet
             with that information provided to the patient up front.
                              Finally, we believe the practice should consider whether its
             procedure for intake of complaints about physicians’ behavior is adequate.
             Ms. Thomashow claims she tried to file a complaint with the front desk
             receptionist, telling her that she was cancelling her appointment because
             she felt “violated.” Whether this triggers a reporting protocol should be
             examined by the practice.

      381.   The substantial difference in the two reports supports Defendant MSU’s deliberate

indifference to sexual assaults on its campus because the differences in the versions of the

reports evidences an attempt to diminish the sexual abuse experienced by Amanda

Thomashow.

      382.   Following the 2014 investigation, Defendant Nassar became subject to new

institutional guidelines, including requirements that Defendant Nassar minimize or eliminate

skin-to-skin contact and to have a chaperone in the room.

      383.   Defendant Strampel conceded to law enforcement that these institutional

guidelines were illusory because no efforts were made to implement or enforce them.

      384.   As a result, Defendant MSU took no protective steps to reduce opportunities for

future harassment and hid the full results of the investigation from Amanda Thomashow, which

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caused countless other women and girls to be sexually assaulted by Defendant Nassar.

       385.    The MSU Defendants failed to adequately supervise or otherwise ensure

Defendant Nassar complied with the newly imposed institutional guidelines even though the

MSU Defendants had actual knowledge that Defendant Nassar posed a substantial risk of

additional sexual abuse of the females whom he had unfettered access.

       386.    Defendant MSU’s deliberate indifference before, during, and after the sexual

assault, battery, molestation, and harassment of Plaintiffs was in violation of Title IX of the

Education Amendments of 1972, 20 U.S.C. § 1681, et seq.

       387.    Defendant MSU’s failure to properly and appropriately investigate and take

corrective action for the 1997/1998, 1999, 2000, 2001/2002, 2004, and 2014 complaints of

Defendant Nassar’s sexual assault, battery, molestation, and harassment resulted in Plaintiffs

being subject to further sexual assault, battery, molestation, harassment, and a sexually hostile

environment.

       388.    The MSU Defendants’ failure to promptly and appropriately investigate and

remedy and respond to the sexual assaults after they received notice subjected Plaintiffs to

further harassment and a sexually hostile environment, effectively denying them access to

educational opportunities at MSU, including medical care.

       389.    Defendant MSU’s responses to the complaints 1997/1998, 1999, 2000,

2001/2002, 2004, and 2014 were clearly unreasonable as Defendant Nassar continued to

sexually assault young females until he was discharged from the University in 2016.

       390.    The MSU Defendants failed to offer counseling services to current or former

patients of Defendant Nassar, including Plaintiffs.
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       391.   As a direct and proximate result of the MSU Defendants’ actions and inactions,

Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to

be prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

       392.   In the alternative, the actions or inaction of the MSU Defendants was deliberately

indifferent or so reckless as to demonstrate a substantial lack of concern for whether an injury

would result to Plaintiffs and constitutes gross negligence that is the proximate cause of

Plaintiffs’ damages. Plaintiffs have suffered and continue to suffer pain and suffering, pain of

mind and body, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life,

post-traumatic life stress disorder resulting in physically manifested injuries including anxiety,

depressions, sleep disorders, nightmares, psychological injuries, and physical injuries.

Plaintiffs were prevented and will continue to be prevented from performing Plaintiffs’ daily

activities and obtaining full enjoyment of life, and have sustained and continue to sustain loss of

earnings and earning capacity.

                                           COUNT TWO

                                  SEX DISCRIMINATION
42 U.S.C. § 18116, et seq (PATIENT PROTECTION AND AFFORDABLE CARE ACT § 1557)
               (Against Defendant MSU and Defendant MSU Board of Trustees)

       393.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.
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       394.    Section 1557 of the Patient Protection and Affordable Care Act, which is codified

at 42 U.S.C. § 18116, provides that:

       Except as otherwise provided for in this title (or an amendment made by this title),
       an individual shall not, on the ground prohibited under . . . title IX of the Education
       Amendments of 1972 (20 U.S.C. 1681 et seq.) . . . be excluded from participation
       in, be denied the benefits of, or be subjected to discrimination under, any health
       program or activity, any part of which is receiving Federal financial assistance,
       including credits, subsidies, or contracts of insurance, or under any program or
       activity that is administered by an Executive Agency or any entity established under
       this title (or amendments). The enforcement mechanisms provided for and available
       under title IX shall apply for purposes of violations of this subsection.

       395.    Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq. prohibits

sex discrimination in programs that receive federal financial assistance.

       396.    Plaintiffs have a right under 42 U.S.C. § 18116 to receive health care services

free from discrimination on the basis of sex.

       397.    Plaintiffs are "individuals" within the meaning of 42 U.S.C. § 18116.

       398.    Defendant MSU receives federal financial assistance within the meaning of 42

U.S.C. § 18116 because it receives federal financial assistance such as credits, subsidies, or

contracts of insurance.

       399.    Defendants MSU and MSU Trustees employed the services of Defendant Nassar,

doctors, and other professional and non-professional health care providers who cared for

Plaintiffs and held themselves out to the public as competent, careful, and experienced in the

care and treatment of patients.

       400.    Plaintiffs sought medical care from Defendant Nassar at the MSU Sports Medicine

Clinic, Jenison Fieldhouse, Breslin Center, and other locations for a myriad of injuries as

identified in each Plaintiffs’ specific allegations.
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       401.   Plaintiffs expected to receive medical care for their injuries without being sexually

assaulted and without fear of sexual harassment or assault.

       402.   Defendant Nassar's conduct and actions toward Plaintiffs, that being

nonconsensual digital vaginal and anal penetration, touching of Plaintiffs vaginal area, touching

of Plaintiffs breasts, and other sexual touching as described herein this Complaint constitutes

sex discrimination under Title IX and 42 U.S.C. § 18116, and otherwise denied each individual

Plaintiff the benefits of appropriate medical care.

       403.   Defendants MSU and MSU Trustees, and Defendants Strampel, Kovan, Dietzel,

Teachnor-Hauk, and Klages knew or should have known of Nassar’s abuse yet failed to take

corrective action.

       404.   Defendant MSU and MSU Trustees are vicariously and/or contractually liable for

the actions of its principles, employees, agents, and representatives.

       405.   Defendants MSU, MSU Trusteed, Strampel, Kovan, Dietzel, and Klages

supervised Nassar and/or were in a position to take appropriate action upon learning of

concerns of misconduct as early as 1997.

       406.   Defendants MSU, MSU Trustees, Strampel, Kovan, Dietzel, and Klages are

directly liable for their failure to train, educate, and supervise.

       407.   Defendants MSU, MSU Trustees, Strampel, Kovan, Dietzel, and Klages failed to

properly train and supervise Nassar related to his treatment of Plaintiffs and with respect to

promulgating and enforcing policies and procedure related to patient safety (e.g. use of gloves;

consent; chaperones, etc.).

       408.   Because of Defendants inaction and deliberate indifference, Defendants forced
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Plaintiffs to endure unnecessary pain, trauma, humiliation, and duress.

       409.     Because of Plaintiffs’ sex, Defendants treated Plaintiffs with a lack of care, dignity,

and respect.

       410.     The conduct of Defendants MSU and MSU Trustees described above constitutes

sex discrimination against Plaintiffs.

       411.     Defendants MSU and MSU Trustees perpetrated this discrimination with malice,

deliberate disregard for, or deliberate or reckless indifference to Plaintiffs' rights.

       412.     The MSU Defendants' failure to promptly and appropriately investigate and

remedy and respond to the sexual assaults after they received repeated notice of Defendant

Nassar's wrongdoing subjected Plaintiffs and countless others to further sexual harassment and

sexual assaults as well as a sexually hostile environment-effectively denying them all access to

any health program or activity at MSU and effectively denying them the benefits of appropriate

medical care.

       413.     As a direct and proximate result of the MSU Defendants’ actions and inactions,

Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to

be prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

       414.     In the alternative, the actions or inaction of the MSU Defendants was deliberately

indifferent or so reckless as to demonstrate a substantial lack of concern for whether an injury

would result to Plaintiffs and constitutes gross negligence that is the proximate cause of
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Plaintiffs' damages. Plaintiffs have suffered and continue to suffer pain and suffering, pain of

mind and body, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life,

post-traumatic stress disorder resulting in physically manifested injuries including anxiety,

depressions, sleep disorders, nightmares, psychological injuries, and physical injuries. Plaintiffs

were prevented and will continue to be prevented from performing Plaintiffs' daily activities and

obtaining the full enjoyment of life, and have sustained and continue to sustain loss of earnings

and earning capacity.



                                            COUNT THREE

                       VIOLATION OF CIVIL RIGHTS, 42 U.S.C. § 1983
        (Against Defendant Klages, Defendant Strampel, Defendant Dietzel, Defendant
      Kovan, Defendant Lemmen, Defendant Teachnor-Hauk, Defendant Stollak, and
                                 Defendant Nassar)

       415.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       416.   Plaintiffs, as females, are members of a protected class under the Equal

Protection Clause of the Fourteenth Amendment to the United States Constitution.

       417.   Plaintiffs enjoy the constitutionally protected Due Process right to be free from the

invasion of bodily integrity through sexual assault, battery, molestation, and harassment under

the Fourteenth Amendment to the United States Constitution.

       418.   At all times pertinent hereto, Defendants Klages, Strampel, Kovan, Dietzel,

Lemmen, Teachnor-Hauk, Stollak and Nassar were acting under color of law, to wit, under color

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of statutes, ordinances, regulations, policies, customs, and usages of the State of Michigan

and/or Defendant Michigan State University.

       419.   The acts as alleged above amount to a violation of these clearly established

constitutionally protected rights, of which reasonable persons in the MSU Defendants’ position

should have known.

       420.   Defendants Klages, Strampel, Dietzel, and Kovan had, at all times pertinent

hereto, the ultimate responsibility and authority to train and supervise their employees, agents,

and representatives, in the appropriate manner of detecting, reporting, and preventing sexual

abuse, assault, and molestation and as a matter of acts, custom, policy, and/or practice failed to

do so with deliberate indifference.

       421.   At all times pertinent hereto, Defendants Strampel, Dietzel, and Kovan acted in a

supervisory role to Defendant Nassar through their roles at the MSU Sports Medicine Clinic,

MSU’s College of Osteopathic Medicine, and other affiliated MSU departments or institutions.

       422.   At all times pertinent hereto, Defendant Klages, as the head coach of the MSU

Women’s Gymnastics Team, acted in a supervisory role to Defendant Nassar while he was

acting as team physician to the MSU Women’s Gymnastics Team.

       423.   As a matter of custom, policy, and/or practice, Defendant Klages had the ultimate

responsibility and authority to investigate complaints from her athletes that involved allegations

of impropriety or sexual assault by her team physician.

       424.   As a matter of custom, policy, and/or practice, Defendants Klages, Strampel,

Dietzel, and Kovan had and have the ultimate responsibility and authority to investigate

complaints against their employees, agents, and representatives from all individuals including,
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but not limited to students, visitors, faculty, staff, or other employees, agents, and/or

representatives, and failed to do so with deliberate indifference.

          425.   Defendant Lemmen’s actions in assisting to exonerate Defendant Nassar from

wrongdoing in response to the 2014 Title IX investigation and Defendant Lemmen’s removal of

Defendant Nassar’s patient medical records from the MSU Sports Medicine Clinic at Defendant

Nassar’s request demonstrate the existence of an agreement or conspiracy between Defendant

Nassar and Defendant Lemmen to deprive Plaintiffs of their constitutional rights.

          426.   Defendant Teachnor-Hauk’s actions in assisting to exonerate Defendant Nassar

from wrongdoing in response to the 2014 Title IX investigation, her statements to discourage

Tiffany Thomas Lopez from pursuing further action against Defendant Nassar, and her

statements to law enforcement denying the existence of an agreement or conspiracy between

Defendant Nassar and Defendant Teachnor-Hauk to deprive Plaintiffs of their constitutional

rights.

          427.   Defendants Klages, Strampel, Dietzel, Lemmen, Kovan, Teachnor-Hauk, Stollak,

and Nassar had a duty to prevent sexual assault, abuse, and molestation of MSU’s patients,

athletes, and other members of the public who utilize MSU’s resources, those duties arising

under the above-referenced constitutional rights.

          428.   Defendant MSU’s internal policies provide that “[a]ll University employees are

expected to promptly report sexual misconduct or relationship violence that they observe or

learn about and that involves a member of the University community (faculty, staff or student) or

occurred at a University event or on University property." They further provide that "[t]he

employee must report all relevant details about the alleged relationship violence or sexual
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misconduct that occurred on campus or at a campus-sponsored event."

       429.    This policy was violated in or around 1997 and/or 1998 when Larissa Boyce and

Jane B8 Doe reported sexual assault, abuse, and molestation by Defendant Nassar to

Defendant Kathie Klages, and Defendant Klages refused to report the incident and instead

intimidated, humiliated, and embarrassed Larissa Boyce and Jane B8 Doe.

       430.    Defendant Klages’s violation of the policy by refusing to take any action in response

to legitimate and credible claims of sexual assault by Larissa Boyce and Jane B8 Doe resulted in

Plaintiffs’ continued violations of their constitutional rights, including their Due Process right to

bodily integrity, which includes the right to be free from sexual assaults.

       431.    Defendant Klages’s actions as alleged above also demonstrate the existence of an

agreement or conspiracy between Defendant Nassar and Defendant Klages to deprive Plaintiffs

of their constitutional rights.

       432.    Defendant MSU’s aforementioned internal policies were violated in or around

1999 when Christie Achenbach reported sexual assault, abuse, and molestation by Defendant

Nassar to MSU representatives including trainers and coaches, including Kelli Bert, and no

action was taken to address her complaints.

       433.    Defendant MSU’s aforementioned internal policies were violated in and around

2000 when Tiffany Thomas Lopez reported sexual assault, abuse, and molestation by

Defendant Nassar to Defendant Teachnor Hauk and other MSU representatives, including

trainers, and no action was taken to address her complaints.

       434.    Defendant MSU’s aforementioned internal policies were violated in and around

2001/2002 when Jennifer Rood Bedford reported sexual assault, abuse, and molestation by
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Defendant Nassar to Lianna Hadden and other MSU representatives, including trainers, and no

action was taken to address her complaints.

       435.   At all relevant times, Defendant MSU had a policy requiring MSU employees to

immediately report suspected child abuse, sexual assault, and child pornography. 22

       436.   Defendant Klages violated this policy in or around 1997/1998.

       437.   Defendant Teachnor-Hauk violated this policy in or around 2000.

       438.   Defendant Stollak violated this policy in or around 2004.

       439.   Defendants Klages, Strampel, Dietzel, Lemmen, Kovan, Stollak, and Teachnor-

Hauk failed to adequately and properly investigate the complaints of Plaintiffs or other similarly

situated individuals including but not limited to failing to:

          a. Perform a thorough investigation into improper conduct by Defendant Nassar with
             Plaintiffs after receiving complaints in 1997/1998, 1999, 2000, 2001/2002, 2004,
             and 2014;
          b. Thoroughly review and investigate all policies, practices, procedures, and training
             materials related to the circumstances surrounding the conduct of Defendant
             Nassar;

           c. Recognize sexual assault when reported in 2014 and permitted university officials
              to deem sexual assault as “medically appropriate” and “not of a sexual nature;”
              and

          d. Ensure all institutional guidelines issued following the 2014 investigation into
             Defendant Nassar’s conduct were satisfied.



22 See, President Lou Anna Simon reminds Michigan State employees of obligation to report
sexual assault, Brandon Howell, August 17, 2012, available at, http://www.mlive.com/lansing-
news/index.ssf/2012/08/president_lou_anna_k_simon_rem.html, Last accessed Feb. 17, 2018
(“Simon writes in the email …’I write to remind University employees about the reporting
protocols for suspected child abuse, child pornography, and allegations of sexual assault.’
Jason Cody, a spokesperson for the university said the protocols outlined in Simon’s email
“long have been in place for employees.”)
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        440.   As indicated in the U.S. Department of Education Office of Civil Rights report, the

MSU Defendants had a culture that permitted a sexually hostile environment to exist affecting

numerous individuals on Defendant MSU’s campus, including Plaintiffs.

        441.   Also indicated in the report was Defendant MSU’s custom, practice, and/or policy

of failing to address complaints of sexual harassment, including sexual violence in a prompt and

equitable manner which caused and may have contributed to a continuation of the sexually

hostile environment.

        442.   By failing to prevent the aforementioned sexual assault, abuse, and molestation

upon Plaintiffs, and by failing to appropriately respond to numerous reports of Defendant

Nassar’s sexual assault, abuse, and molestation in a manner that was so clearly unreasonable

it amounted to deliberate indifference, Defendants Klages, Strampel, Dietzel, Lemmen,

T e a c h n o r - H a u k , S t o l l a k , a n d Kovan are liable to Plaintiffs pursuant to 42 U.S.C. §

1983.

        443.   Defendants Klages, Strampel, Dietzel, Lemmen, Teachnor-Hauk, Kovan, and Stollak

are also liable to Plaintiffs under 42 U.S.C. § 1983 for maintaining customs, policies, and

practices which deprived Plaintiffs of rights secured by the Fourteenth Amendment to the

United States Constitution in violation of 42 U.S.C. § 1983.

        444.   Defendants Klages, Strampel, Dietzel, Lemmen, Teachnor-Hauk, Stollak, and

Kovan tolerated, authorized and/or permitted a custom, policy, practice or procedure of

insufficient supervision and failed to adequately screen, counsel, or discipline Defendant

Nassar, with the result that Defendant Nassar was allowed to violate the constitutional rights of

persons such as Plaintiffs with impunity.
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       445.   As a direct and proximate result of Defendants Klages, Strampel, Dietzel,

Lemmen, Teachnor-Hauk, Kovan, Stollak, and Defendant Nassar’s actions and/or inactions,

Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to

be prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

       446.   In the alternative, the actions or inactions of Defendants Klages, Strampel,

Dietzel, Lemmen, Teachnor-Hauk, Stollak, and Kovan were so reckless as to demonstrate a

substantial lack of concern for whether an injury would result to Plaintiffs and constitutes gross

negligence that is the proximate cause of Plaintiffs' damages. Plaintiffs have suffered and

continue to suffer pain and suffering, pain of mind and body, shock, emotional distress, physical

manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief,

humiliation, loss of enjoyment of life, post-traumatic stress disorder resulting in physically

manifested injuries including anxiety, depressions, sleep disorders, nightmares, psychological

injuries, and physical injuries. Plaintiffs were prevented and will continue to be prevented from

performing Plaintiffs' daily activities and obtaining the full enjoyment of life, and have sustained

and continue to sustain loss of earnings and earning capacity.

                                              COUNT FOUR

                       FAILURE TO TRAIN AND SUPERVISE, 42 U.S.C. § 1983
                     (Against Defendants Klages, Strampel, Deitzel, and Kovan)

       447.   Plaintiffs reallege and incorporate by reference the allegations contained in the

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previous paragraphs.

       448.    Defendants Klages, Strampel, Dietzel, and Kovan had, at all times pertinent hereto,

the ultimate responsibility and authority to train and supervise their employees, agents, and/or

representatives, including Defendant Nassar and all faculty and staff, regarding their duties

toward students, faculty, staff, and visitors.

       449.    Defendants Klages, Strampel, Dietzel, and Kovan failed to train and supervise its

employees, agents, and/or representatives, including all faculty and staff, regarding the

following duties:

       a.      Perceive, report, and stop inappropriate sexual conduct on campus;

       b.      Provide diligent supervision over student-athletes and other individuals;

       c.      Report suspected incidents of sexual abuse or sexual assault;

       d.      Ensure the safety of all students, faculty, staff, and visitors to Defendant MSU’s
               campuses premises;

       e.      Provide a safe environment for all students, faculty, staff, and visitors to Defendant
               MSU’s premises free from sexual harassment; and,

       f.      Properly train faculty and staff to be aware of their individual responsibility for
               creating and maintaining a safe environment.

       450.    The above list of duties is not exhaustive.

       451.    Defendants Klages, Strampel, Dietzel, and Kovan failed to adequately train

coaches, trainers, medical staff, and others regarding the aforementioned duties which led to

violations of Plaintiffs’ rights.

       452.    As a result, Defendants Klages, Strampel, Dietzel, and Kovan deprived Plaintiffs

of rights, including those described herein, secured by the Fourteenth Amendment to the United

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States Constitution in violation of 42 U.S.C. §1983.

       453.   As a direct and proximate result of Defendants Klages, Strampel, Dietzel, and

Kovan’s actions and/or inactions, Plaintiffs have suffered and continue to suffer pain of mind

and body, mental anguish, shock, emotional distress, physical manifestations of emotional

distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of

life, were prevented and will continue to be prevented from performing daily activities and

obtaining the full enjoyment of life, and have sustained and continue to sustain loss of earning

and loss of earning capacity.

       454.   In the alternative, the actions or inactions of the Defendants Klages, Strampel,

Dietzel, and Kovan were so reckless as to demonstrate a substantial lack of concern for

whether an injury would result to Plaintiffs and constitutes gross negligence that is the

proximate cause of Plaintiffs’ damages. Plaintiffs have suffered and continue to suffer pain and

suffering, pain of mind and body, shock, emotional distress, physical manifestations of

emotional distress, embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss

of enjoyment of life, post-traumatic stress disorder resulting in physically manifested injuries

including anxiety, depressions, sleep disorders, nightmares, psychological injuries, and physical

injuries. Plaintiffs were prevented and will continue to be prevented from performing Plaintiffs’

daily activities and obtaining the full enjoyment of life, and have sustained and continue to

sustain loss of earnings and earning capacity.

                                              COUNT FIVE

                            GROSS NEGLIGENCE – MCL 691.1407(2)(c)
                        (Against the MSU Defendants and Defendant Nassar)

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      455.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

      456.   The MSU Defendants owed Plaintiffs a duty of due care to ensure their safety and

freedom from sexual assault, abuse, and molestation while interacting with their employees,

representatives, and/or agents, including Defendant Nassar.

      457.   Defendant Nassar owed Plaintiffs a duty to use due care in providing medical

treatment as an employee, agent, and/or representative of the MSU Defendants.

      458.   A special, confidential, and fiduciary relationship was created between Plaintiffs

and Defendant Nassar when Plaintiffs sought medical treatment from Defendant Nassar in the

course of his employment, agency, and/or representation of the MSU Defendants, resulting in

Defendant Nassar owing Plaintiffs a duty to use due care.

      459.   A special, confidential, and fiduciary relationship was created and existed at all

times pertinent hereto between the MSU Defendants and Defendant Nassar, as described

herein this Complaint, resulting in the MSU Defendants owing Plaintiffs a duty to use due care.

      460.   The MSU Defendants and their employees, agents, and/or representatives had a

duty to report suspected sexual abuse.

      461.   The MSU Defendants had notice of complaints of a sexual nature related to

Defendant Nassar’s purported treatment with young girls and women through Defendant MSU

employees, agents, and/or representatives as early as 1997/1998, again in 1999, again in

2000, again in 2001/2002, again in 2004, and again in 2014, as described herein this

Complaint.

      462.   The MSU Defendants and their employees, agents, and/or representatives failed
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to report sexual abuse about which they knew or should have known in 1997/1998, 1999, 2000,

2001/2002, 2004, and 2014, as described herein this Complaint.

        463.    The MSU Defendants’ failure to adequately train and supervise Defendant

Nassar, especially after the MSU Defendants knew or should have known of complaints

regarding Defendant Nassar’s conduct, was so reckless as to demonstrate a substantial lack of

concern for whether injury resulted to Plaintiffs.

        464.    Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting

Plaintiffs in the course of his employment, agency, and/or representation of the MSU

Defendants under the guise of proper medical treatment was so reckless as to demonstrate a

substantial lack of concern for whether injury resulted to Plaintiffs.

        465.    Defendant Nassar's conduct in sexually assaulting, abusing, and molesting

Plaintiffs in the course of his employment, agency, and/or representation of the MSU

Defendants and under the guise of rendering "medical treatment" was so reckless as to

demonstrate a substantial lack of concern for whether injury would result to Plaintiffs.

        466.    The MSU Defendants' conduct and the conduct of their individual employees and

agents demonstrated a willful disregard for precautions to ensure Plaintiffs’ safety.

        467.    The MSU Defendants knew or should have known of complaints pertaining to

Defendant Nassar’s nonconsensual sexual touching and assaults that occurred under the guise

of medical treatment.

        468.    The MSU Defendants’ conduct demonstrated a willful disregard for substantial

risks to Plaintiffs.

        469.    The MSU Defendants breached duties owed to Plaintiffs and were grossly
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negligent when they conducted themselves in the manner described herein this Complaint.

These acts by the MSU Defendants were committed with reckless disregard to Plaintiffs’ safety,

health, constitutional and/or statutory rights, and with substantial lack of concern to whether

injury resulted to Plaintiffs.

       470.    The MSU Defendants failed to warn or advise current and former patients of

Defendant Nassar, including Plaintiffs, that allegations could surface that in fact the treatments

that the patients received was not medical treatment at all but was potentially sexual assault.

       471.    The MSU Defendants failed to offer counseling services to current of former

patients of Defendant Nassar, including Plaintiffs.

       472.    As a direct and proximate result of the MSU Defendants’ and Defendant Nassar’s

actions and/or inactions, Plaintiffs have suffered and continue to suffer pain of mind and body,

mental anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were

prevented and will continue to be prevented from performing daily activities and obtaining the

full enjoyment of life, and have sustained and continue to sustain loss of earning and loss of

earning capacity.

       473.    As a direct and/or proximate result of Defendants’ gross negligence, Plaintiffs

have suffered and continue to suffer pain and suffering, pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

nightmares, psychological injuries, and physical injuries. Plaintiffs were prevented and will
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continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

capacity.

                                               COUNT SIX

                                          NEGLIGENCE
                        (Against the MSU Defendants and Defendant Nassar)

       474.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       475.   The MSU Defendants owed Plaintiffs a duty to use ordinary care to ensure their

safety and freedom from sexual assault, abuse, and molestation while interacting with their

employees, agents, and/or representatives, including Defendant Nassar.

       476.   Defendant Nassar owed Plaintiffs a duty to use ordinary care in providing medical

treatment as an employee, agent, and/or representative of the MSU Defendants.

       477.   A special, confidential, and fiduciary relationship was created between Plaintiffs

and Defendant Nassar when Plaintiffs sought medical treatment from Defendant Nassar in the

course of his employment, agency, and/or representation of the MSU Defendants, resulting in

Defendant Nassar owing Plaintiffs a duty to use ordinary care in his undertakings.

       478.   A special, confidential, and fiduciary relationship was created and existed at all

times pertinent hereto between the MSU Defendants and Defendant Nassar, as described

herein this Complaint, resulting in the MSU Defendants owing Plaintiffs a duty to use ordinary

care in their undertakings.

       479.   The MSU Defendants and their employees, agents, and/or representatives had a

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duty to report suspected sexual abuse.

       480.   The MSU Defendants had notice of complaints of a sexual nature related to

Defendant Nassar’s purported treatment with young girls and women through Defendant MSU

employees, agents, and/or representatives as early as 1997/1998, again in 1999, again in

2000, again in 2001/2002, again in 2004, and again in 2014, as described herein this

Complaint.

       481.   The MSU Defendants and their employees, agents, and/or representatives failed

to report sexual abuse about which they knew or should have known in 1997/1998, 1999, 2000,

2001/2002, 2004, and 2014, as described herein this Complaint.

       482.   The MSU Defendants knew or should have known of the foreseeability of sexual

abuse with respect to youth and collegiate sports.

       483.   The MSU Defendants’ failure to properly address, investigate, and remedy

complaints against Defendant Nassar’s conduct was a breach of the duty to use ordinary care.

       484.   Defendant Nassar’s conduct in sexually assaulting, battering, molesting, and

harassing Plaintiffs in the course of his employment, agency, and/or representation of the MSU

Defendants under the guise of proper medical treatment was a breach of the duty to use

ordinary care.

       485.   The MSU Defendants’ failure to adequately train and supervise Defendant Nassar

breached the duty of ordinary care.

       486.   The MSU Defendants failed to warn or advise current and former patients of

Defendant Nassar, including Plaintiffs, that allegations could surface that in fact the treatments

that the patients received was not medical treatment at all but was potentially sexual assault.
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       487.   The MSU Defendants failed to offer counseling services to current of former

patients of Defendant Nassar, including Plaintiffs.

       488.   As a direct and proximate result of Defendants’ conduct, actions and/or inactions,

Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to

be prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

       489.   In the alternative, the actions or inaction of the Defendants was so reckless as to

demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs and

constitutes gross negligence that is the proximate cause of Plaintiffs’ damages. Plaintiffs have

suffered and continue to suffer pain and suffering, pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

nightmares, psychological injuries, and physical injuries. Plaintiffs were prevented and will

continue to be prevented from performing Plaintiffs’ daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

capacity.

                                              COUNT SEVEN

                                        VICARIOUS LIABILITY
                                     (Against the MSU Defendants)

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       490.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       491.   Vicarious liability is indirect responsibility imposed by operation of law where an

employer is bound to keep its employees within their proper bounds and is responsible if it fails

to do so.

       492.   Vicarious liability essentially creates agency between the principal and its agent

so that the principal is held to have done what the agent has done.

       493.   The MSU Defendants employed and/or held Defendant Nassar out to be its

employee, agent, and/or representative from approximately 1996 to 2016.

       494.   Defendant MSU’s website contains hundreds of web pages portraying Defendant

Nassar as a distinguished member of Defendant MSU’s College of Osteopathic Medicine,

Division of Sports Medicine.

       495.   A special, confidential, and fiduciary relationship was created and existed at all

times pertinent hereto between the MSU Defendants and Defendant Nassar, as described

herein this Complaint, resulting in The MSU Defendants owing Plaintiffs a duty to prevent them

from Defendant Nassar’s sexual assault, battery, molestation, and discrimination.

       496.   The MSU Defendants are vicariously liable for the actions of Defendant

Nassar, as described above, that were performed during the course of his employment, agency,

and/or representation with the MSU Defendants and while he had unfettered access to young

female athletes and patients on Defendant MSU’s campus and premises through its College of

Osteopathic Medicine and Division of Sports Medicine.

       497.   The MSU Defendants had actual and/or constructive knowledge of Defendant
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Nassar’s propensity for sexually assaulting, battering, molesting, and harassing females on

several occasions under the guise of medical treatment and during the course of his

employment, agency, and/or representation with the MSU Defendants, beginning in 1997 and/or

1998, as described herein this Complaint.

       498.   The MSU Defendants had actual and/or constructive knowledge of Defendant

Nassar’s propensity for sexually assaulting, battering, molesting, and harassing his patients and

other females under the guise of medical treatment and during the course of his employment,

agency, and/or representation with the MSU Defendants, and took no action to prevent such

conduct.

       499.   It was reasonably foreseeable that Defendant Nassar would continue to sexually

assault, batter, molest, and harass females under the guise of medical treatment during the

course of his employment, agency, and/or representation with the MSU Defendants, with the

actual and/or constructive knowledge the MSU Defendants had of such conduct.

       500.   As a direct and proximate result of Defendant Nassar’s actions carried out in the

course of his employment, agency, and/or representation of the MSU Defendants, Plaintiffs

have suffered and continue to suffer pain of mind and body, mental anguish, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to be

prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

       501.   In the alternative, the actions or inactions of the Defendants were so reckless as

to demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs and
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constitutes gross negligence that is the proximate cause of Plaintiffs' damages. Plaintiffs have

suffered and continue to suffer pain and suffering, pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

nightmares, psychological injuries, and physical injuries. Plaintiffs were prevented and will

continue to be prevented from performing Plaintiffs' daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

capacity.

                                              COUNT EIGHT

                                      EXPRESS/IMPLIED AGENCY
                                     (Against the MSU Defendants)

       502.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       503.   An agent is a person who is authorized by another to act on its behalf.

       504.   The MSU Defendants intentionally and/or negligently made representations that

Defendant Nassar was their employee, agent, and/or representative.

       505.   On the basis of those representations, Plaintiffs reasonably believed that

Defendant Nassar was acting as an employee, agent, and/or representative of the MSU

Defendants.

       506.   Plaintiffs were injured as a result of Defendant Nassar’s sexual assault, abuse,

and molestation, as described above. These acts were performed during the course of

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Defendant Nassar’s employment, agency, and/or representation with the MSU Defendants

while he had access to young females patients and athletes.

       507.   Plaintiffs were injured because they relied on the MSU Defendants to provide

employees, agents, and representatives who exercise reasonable skill and care.

       508.   As a direct and proximate result of Defendant Nassar’s actions carried out in the

course of his employment, agency, and/or representations of the MSU Defendants, Plaintiffs

have suffered and continue to suffer pain of mind and body, mental anguish, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to be

prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

       509.   In the alternative, the actions or inactions of the MSU Defendants were so

reckless as to demonstrate a substantial lack of concern for whether an injury would result to

Plaintiffs and constitutes gross negligence that is the proximate cause of Plaintiffs' damages.

Plaintiffs have suffered and continue to suffer pain and suffering, pain of mind and body, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress

disorder resulting in physically manifested injuries including anxiety, depressions, sleep

disorders, nightmares, psychological injuries, and physical injuries. Plaintiffs were prevented

and will continue to be prevented from performing Plaintiffs' daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

capacity.
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                                                COUNT NINE

                                       NEGLIGENT SUPERVISION
                                       (Against MSU Defendants)

       510.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       511.   The MSU Defendants had a duty to provide reasonable supervision of their

employee, agent, and/or representative, Defendant Nassar, while he was in the course of his

employment, agency, and/or representation with the MSU Defendants and while he interacted

with young females, including Plaintiffs.

       512.   Given the known sexual abuse in youth intercollegiate sports and gymnastics, it

was reasonably foreseeable that Defendant Nassar, who had prior allegations against him, had

and/or would sexually abuse young females, including Plaintiffs, unless properly supervised.

       513.   The MSU Defendants by and through their employees, agents, representatives,

managers, and/or assigns, such as Defendant Kathie Klages, President Simon, President

McPherson, Defendant Strampel, or Defendant Kovan, knew or reasonably should have known

of Defendant Nassar’s conduct and/or that Defendant Nassar was an unfit employee, agent,

and/or representative because of his sexual interest in children.

       514.   The MSU Defendants breached their duty to provide reasonable supervision of

Defendant Nassar, and permitted Defendant Nassar, who was in a position of trust and

authority, to commit acts against Plaintiffs.

       515.   The aforementioned sexual assault, abuse, and molestation occurred while

Plaintiffs and Defendant Nassar were on the premises of Defendant MSU and while Defendant

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Nassar was in the course of his employment, agency, and/or representation with the MSU

Defendants.

       516.    The MSU Defendants tolerated, authorized, and/or permitted a custom, policy,

practice, or procedure of insufficient supervision and failed to adequately screen, counsel, or

discipline such individuals, resulting in the allowance of Defendant Nassar to violate the rights of

persons such as Plaintiffs with impunity.

       517.    The MSU Defendants failed to warn or advise current and former patients of

Defendant Nassar, including Plaintiffs, that allegations surfaced that in fact the treatments that

the patients received were not medical treatment at all but were potentially sexual assaults.

       518.    As a direct and proximate result of the MSU Defendants’ failure to adequately

supervise, Plaintiffs have suffered and continue to suffer pain of mind and body, mental

anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were

prevented and will continue to be prevented from performing daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earning and loss of earning

capacity.

       519.    In the alternative, the MSU Defendants’ failure to supervise was so reckless as to

demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs and

constitutes gross negligence that is the proximate cause of Plaintiffs' damages. Plaintiffs have

suffered and continue to suffer pain and suffering, pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

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resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

nightmares, psychological injuries, and physical injuries. Plaintiffs were prevented and will

continue to be prevented from performing Plaintiffs' daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

capacity.

                                                 COUNT TEN

                             NEGLIGENT FAILURE TO WARN OR PROTECT
                                   (Against the MSU Defendants)

       520.    Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       521.    The MSU Defendants knew or should have known that Defendant Nassar posed a

risk of harm to Plaintiffs and/or others in Plaintiffs’ situation.

       522.    The MSU Defendants knew or should have known that Defendant Nassar

committed sexual assault, abuse, and molestation and/or was continuing to engage in such

conduct.

       523.    As early as 1997 and/or 1998, the MSU Defendants had direct and/or constructive

knowledge of Defendant Nassar’s dangerous conduct and failed to respond reasonably and

responsibly.

       524.    The MSU Defendants had a duty to warn or protect Plaintiffs and others in

Plaintiffs’ situation against the risk of injury by Defendant Nassar.

       525.    The special, trusting, confidential, and fiduciary relationship between the MSU

Defendants and Defendant Nassar, as an employee, agent, and/or representative of the MSU

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Defendants, created a duty for the MSU Defendants to disclose information regarding

Defendant Nassar’s sexual conduct.

         526.   The MSU Defendants breached the duty owed to Plaintiffs by failing to warn

Plaintiffs and/or by failing to take reasonable steps to protect Plaintiffs from Defendant Nassar.

         527.   The MSU Defendants breached the duties to protect owed to Plaintiffs by failing

to:

         a.     Respond to allegations of sexual assault, abuse, and molestation;

         b.     Detect and/or uncover evidence of sexual assault, abuse, and molestation; and

         c.     Investigate, adjudicate, and terminate Defendant           Nassar’s   employment   with
                Defendant MSU prior to 2016.

         528.   The MSU Defendants violated Plaintiffs’ rights by failing to adequately screen,

counsel, and/or discipline Defendant Nassar for physical and/or mental conditions that might

have rendered him unfit to discharge the duties and responsibilities of a physician at an

educational institution, resulting in a violation of Plaintiffs’ rights.

         529.   The MSU Defendants willfully refused to notify, give adequate warning, and

implement appropriate safeguards to protect Plaintiffs from Defendant Nassar’s conduct.

         530.   As a direct and proximate result of the MSU Defendants’ failure to warn or protect,

Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to

be prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

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       531.   In the alternative, the MSU Defendants’ failure to warn or protect was so reckless

as to demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs

and constitutes gross negligence that is the proximate cause of Plaintiffs' damages. Plaintiffs

have suffered and continue to suffer pain and suffering, pain of mind and body, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress

disorder resulting in physically manifested injuries including anxiety, depressions, sleep

disorders, nightmares, psychological injuries, and physical injuries. Plaintiffs were prevented

and will continue to be prevented from performing Plaintiffs' daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

capacity.

                                              COUNT ELEVEN

                            NEGLIGENT FAILURE TO TRAIN OR EDUCATE
                                  (Against the MSU Defendants)

       532.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       533.   The MSU Defendants had a duty to take reasonable protective measures to

protect Plaintiffs and others in Plaintiffs’ situation against the risk of injury by Defendant Nassar,

including the duty to train or educate Plaintiffs and other individuals in Plaintiffs situation, about

how to avoid a risk of sexual assault and/or sexual abuse by Defendant Nassar.

       534.   The MSU Defendants breached the duty owed to Plaintiffs to take reasonable

protective measures to protect Plaintiffs, and other patients of Defendant Nassar, by failing to

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properly train or educate Plaintiffs and other individuals in Plaintiffs situation, about how to avoid

a risk of sexual assault and/or sexual abuse by Defendant Nassar.

       535.   The MSU Defendants had a duty to train and educate Defendant Nassar in a

reasonable manner in regards to Defendant Nassar’s treatment of females in his capacity as an

employee, agent, and/or representative of the MSU Defendants.

       536.   The MSU Defendants breached the duty owed to Plaintiffs by failing to properly

train or educate Defendant Nassar in a reasonable manner in regards to Defendant Nassar’s

treatment of females in his capacity as an employee, agent, and/or representative of the MSU

Defendants

       537.   The MSU Defendants failed to implement reasonable safeguards to:

       a.     Prevent acts of sexual assault, abuse, and molestation by Defendant Nassar; and

       b.     Avoid placing Defendant Nassar in positions where he would have unsupervised
              contact and interaction with Plaintiffs and other young women.

       538.   As a direct and proximate result of the MSU Defendants’ failure to train or

educate, Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment of

life, and have sustained and continue to sustain loss of earning and loss of earning capacity.

       539.   In the alternative, the MSU Defendants’ failure to train or educate was so reckless

as to demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs

and constitutes gross negligence that is the proximate cause of Plaintiffs' damages. Plaintiffs

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have suffered and continue to suffer pain and suffering, pain of mind and body, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress

disorder resulting in physically manifested injuries including anxiety, depressions, sleep

disorders, nightmares, psychological injuries, and physical injuries. Plaintiffs were prevented

and will continue to be prevented from performing Plaintiffs' daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

capacity.

                                             COUNT TWELVE

                                       NEGLIGENT RETENTION
                                     (Against the MSU Defendants)

       540.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       541.   The MSU Defendants owed a duty to Plaintiffs and others in Plaintiffs’ situation

when credentialing, hiring, retaining, screening, checking, regulating, monitoring, and

supervising employees, agents, and/or representatives to exercise ordinary care.

       542.   The MSU Defendants breached the duties owed to Plaintiffs by failing to

adequately investigate, report, and address complaints about Defendant Nassar’s conduct,

which the MSU Defendants knew or should have known.

       543.   The MSU Defendants breached the duties owed to Plaintiffs when the MSU

Defendants retained Defendant Nassar as an employee, agent, and/or representative after the

MSU Defendants discovered or should have reasonably discovered Defendant Nassar’s

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conduct, which reflected a propensity for sexual misconduct.

       544.   The MSU Defendants’ failure to act in accordance with the standard of care

resulted in Defendant Nassar gaining access to and sexually assaulting and/or sexually

abusing Plaintiffs and an unknown number of other individuals.

       545.   The aforementioned conduct of the MSU Defendants in credentialing, hiring,

retaining, screening, checking, regulating, monitoring, and supervising of Defendant Nassar

created a foreseeable risk of harm to Plaintiffs and other minors and young adults.

       546.   As a direct and proximate result of the MSU Defendants’ actions in retaining

Defendant Nassar, Plaintiffs have suffered and continue to suffer pain of mind and body, mental

anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were

prevented and will continue to be prevented from performing daily activities and obtaining the

full enjoyment of life, and have sustained and continue to sustain loss of earning and loss of

earning capacity.

       547.   In the alternative, the MSU Defendants’ actions in retaining Defendant Nassar

were so reckless as to demonstrate a substantial lack of concern for whether an injury would

result to Plaintiffs and constitutes gross negligence that is the proximate cause of Plaintiffs'

damages. Plaintiffs have suffered and continue to suffer pain and suffering, pain of mind and

body, shock, emotional distress, physical manifestations of emotional distress, embarrassment,

loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic

stress disorder resulting in physically manifested injuries including anxiety, depressions, sleep

disorders, nightmares, psychological injuries, and physical injuries. Plaintiffs were prevented
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and will continue to be prevented from performing Plaintiffs' daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

capacity.

                                            COUNT THIRTEEN

                                 FRAUD AND MISREPRESENTATION
                                   (Against the MSU Defendants)

       548.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       549.   From approximately 1996 to September 2016, the MSU Defendants represented

to Plaintiffs and the public that Defendant Nassar was a competent, safe, and highly regarded

physician.

       550.   By representing that Defendant Nassar was a team physician and an athletic

physician at Defendant MSU and a National Team Physician with Defendant USAG, the MSU

Defendants represented to Plaintiffs and the public that Defendant Nassar was safe,

trustworthy, and of high moral and ethical repute and that Plaintiffs and the public need not worry

about being harmed by Defendant Nassar.

       551.   The aforementioned representations were false when they were made because

Defendant Nassar had and was continuing to sexually assault, abuse, and molest an unknown

number of patients, including Plaintiffs, and other individuals.

       552.   The MSU Defendants knew the aforementioned representations regarding

Defendant Nassar were false because there had been previous complaints in 1997/1998, 1999,

2000, 2001/2002, 2004, and 2014 to Defendant MSU employees, agents, and/or

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representatives about Defendant Nassar’s sexual assault, battery, molestation, and

harassment.

       553.   Although Defendant MSU had been informed of Defendant Nassar’s conduct, the

MSU Defendants failed to investigate, remedy, or in any way address the 1997/1998, 1999,

2000, 2001/2002, 2004, and 2014 complaints against Defendant Nassar.

       554.   The MSU Defendants continued to hold out and portray Defendant Nassar as a

competent and safe physician.

       555.   Plaintiffs relied on the MSU Defendants’ portrayal of Defendant Nassar when they

sought his medical treatment for their injuries.

       556.   Plaintiffs and other members of the public relied on the assertions of the MSU

Defendants and several other young females continued to seek medical treatment from

Defendant Nassar in the wake of known concerns and dangers.

       557.   Defendant Nassar was permitted to continue employment and sexually assault,

abuse, and molest an unknown number of other individuals, despite Plaintiff Amanda

Thomashow’s 2014 complaint against Defendant Nassar to Kristine M. Moore, Assistant

Director for Institutional Equity at the MSU Office for Inclusion and Intercultural Initiatives.

       558.   The MSU Defendants disregarded Plaintiff Amanda Thomashow’s 2014 complaint

because of Defendant MSU’s culture which included existence of a sexually hostile

environment on Defendant MSU’s campus and premises and the University’s failure to address

complaints of sexual harassment, including sexual violence in a prompt and equitable manner

which in turn caused and may have contributed to a continuation of the sexually hostile

environment, Defendant Nassar was permitted to continue employment and sexually abuse,
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assault, and molest Plaintiffs and an unknown number of other individuals.

      559.   The MSU Defendants intentionally withheld material opinions, findings, evidence,

and conclusions from Plaintiff Amanda Thomashow and other Plaintiffs in regards to the

findings of Plaintiff Amanda Thomashow’s Title IX investigation conducted in 2014, as

described here in this Complaint.

      560.   Between the time of Plaintiff Amanda Thomashow’s 2014 complaint and 2016, the

MSU Defendants continued to portray Defendant Nassar as a safe and competent physician.

      561.   The MSU Defendants, by and through their representatives, also affirmatively took

steps to attempt to dissuade Plaintiff Amanda Thomashow from speaking with police about her

complaints against Defendant Nassar.

      562.   The MSU Defendants, by and through their representatives, also affirmatively took

steps to attempt to dissuade other potential victims of Defendant Nassar from speaking with

police or the media by advising the potential victims to respond “No comment” to any requests

by media or police.

      563.   These actions of MSU Defendants, including the disregard of Plaintiff Amanda

Thomashow’s complaints, were purportedly done as an attempt to hide the known instances of

sexual abuse committed by Defendant Nassar.

      564.   As a result of Plaintiffs’ and the public’s reliance on the MSU Defendants’

fraudulent misrepresentations regarding Defendant Nassar, Plaintiffs and others in Plaintiffs’

situation were sexually assaulted, abused, and molested by Defendant Nassar during

appointments.

      565.   As a direct and proximate result of the MSU Defendants’ actions and knowingly
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false representations, Plaintiffs have suffered and continue to suffer pain of mind and body,

mental anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were

prevented and will continue to be prevented from performing daily activities and obtaining the

full enjoyment of life, and have sustained and continue to sustain loss of earning and loss of

earning capacity.

       566.    In the alternative, the actions or inaction of the Defendants was so reckless as to

demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs and

constitutes gross negligence that is the proximate cause of Plaintiffs' damages. Plaintiffs have

suffered and continue to suffer pain and suffering, pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

nightmares, psychological injuries, and physical injuries. Plaintiffs were prevented and will

continue to be prevented from performing Plaintiffs' daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

capacity.

                                        COUNT FOURTEEN

            VIOLATIONS OF THE ELLIOT-LARSEN CIVIL RIGHTS ACT, MCL 37.2101
                     (Against MSU Defendants and Defendant Nassar)

       567.    Plaintiffs reallege and incorporate by reference the allegations contained in the

  previous paragraphs.

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    568.   The Elliot-Larsen Civil Rights Act (“Elliot-Larsen”) prohibits discrimination based

on sex. MCL 37.2102.

    569.   “Discrimination because of sex includes sexual harassment.” MCL 37.2103(i).

    570.   “Sexual harassment means unwelcome sexual advances, requests for sexual

favors, and other verbal or physical conduct or communication of a sexual nature.” MCL

37.2103 (i).

    571.   Elliot-Larsen protects against sexual harassment in educational institutions.

    572.   MSU is an educational institution pursuant to MCL 37.2401.

    573.   An educational institution shall not “discriminate against an individual in the full

utilization of or benefit from the institution, or the services, activities, or programs provided by

the institution because of . . . sex.” MCL 37.2401(a).

    574.   Elliot-Larsen also protects against sexual harassment in places of public

accommodation. MCL 37.2302. Under this section, an individual shall not be denied “full and

equal enjoyment of the goods, services, facilities, privileges, advantages, or

accommodations of a place of public accommodation or public service because of . . . sex.”

MCL 37.2302(a).

    575.   MSU is a “place of public accommodation” because its “services, facilities,

privileges, advantages, or accommodations are extended, offered, sold, or otherwise made

available to the public.” MCL 37.2301(a).

    576.   Plaintiffs are “persons” within the meaning of MCL 37.2103(g).

    577.   Nassar’s actions and conduct were carried out under one of MSU’s programs,

which provides medical treatment to students, athletes, and the general public, wherein
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  MSU, through MSU Sport Medicine Clinic, solicits and markets to people like Plaintiffs, and

  places Plaintiffs within the University community.

       578.   Nassar’s actions and conduct toward Plaintiffs denied them the full and equal

  enjoyment of MSU’s services at a place of public accommodation, in violation of Elliot-

  Larson.

       579.   Nassar’s actions and conduct toward Plaintiffs of nonconsensual sexual assault,

  battery, and molestation, which includes unconsented touching and rubbing of Plaintiffs’

  genitalia, breasts, buttocks, thighs, and unconsented digital penetration of Plaintiffs’ vagina

  and anus, constitutes sex discrimination under Elliot-Larsen.

       580.   As a direct and proximate result of the Defendants’ actions and/or inactions,

Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to

be prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

       581.   In the alternative, the actions or inaction of the Defendants was so reckless as to

demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs and

constitutes gross negligence that is the proximate cause of Plaintiffs' damages. Plaintiffs have

suffered and continue to suffer pain and suffering, pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

resulting in physically manifested injuries including anxiety, depressions, sleep disorders,
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nightmares, psychological injuries, and physical injuries. Plaintiffs were prevented and will

continue to be prevented from performing Plaintiffs' daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

capacity.

                              CLAIMS AGAINST USA GYMNASTICS

                                          COUNT FIFTEEN

                                     GROSS NEGLIGENCE
         (Plaintiffs Abigail Mealy, Amanda Mealy and Meaghan Ashcraft against Defendant
                                 USAG and Defendant Nassar)

        582.    Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

        583.    A special, confidential, and fiduciary relationship was created between Plaintiffs

and Defendant Nassar when Plaintiffs sought medical treatment from Defendant Nassar, acting

in the course of his employment, agency, and/or representation of Defendant USAG, and

resulting in Defendant Nassar owing Plaintiffs a duty to use due care.

        584.    Plaintiffs Abigail Mealy, Amanda Mealy and Meaghan Ashcraft are or were

members of USAG and participated in USAG sanctioned events.

        585.    Plaintiffs were knowledgeable of USAG and considered it to be a prestigious

organization. In some cases, Plaintiffs were referred to Defendant Nassar through USAG

affiliations.

        586.    Defendant Nassar owed Plaintiffs a duty to use due care in providing medical

treatment as an employee, agent, and/or representative of Defendant USAG.

        587.    Defendant USAG owed the public and Plaintiffs a duty to use due care to ensure
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their safety and freedom from sexual assault, abuse, and molestation while interacting with its

employees, representatives, and/or agents, including Defendant Nassar.

        588.     Defendant USAG knew or should have known of complaints pertaining to

Defendant Nassar’s nonconsensual sexual touching and assaults that occurred under the guise

of medical treatment.

        589.     Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting

Plaintiffs in the course of his employment, agency, and/or representation of Defendant USAG

under the guise of proper medical treatment was so reckless as to demonstrate a substantial

lack of concern for whether injury resulted to Plaintiffs.

        590.     Defendant USAG’s failure to adequately supervise Defendant Nassar was so

reckless as to demonstrate a substantial lack of concern for whether injury resulted to Plaintiffs.

        591.     Defendant USAG’s conduct demonstrated a willful disregard for precautions to

ensure Plaintiffs’ safety.

        592.     Defendant USAG’s conduct demonstrated a willful disregard for substantial risks

to Plaintiffs.

        593.     Defendant USAG breached its duties owed to Plaintiffs and was grossly negligent

when it conducted itself in the manner described above, including, but not limited to, failing to

notify Defendant MSU about the reasons for Defendant Nassar’s separation from Defendant

USAG in 2015 and, more broadly, the issues surrounding sexual abuse and warning signs and

reporting requirements.

        594.     These acts by Defendant USAG were committed with reckless disregard to

Plaintiffs’ safety, health, constitutional and/or statutory rights, and with substantial lack of
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concern to whether injury resulted to Plaintiffs.

       595.    As a direct and proximate result of Defendant USAG’s and Defendant Nassar’s

actions and/or inactions, Plaintiffs have suffered and continue to suffer pain of mind and body,

mental anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were

prevented and will continue to be prevented from performing daily activities and obtaining the

full enjoyment of life, and have sustained and continue to sustain loss of earning and loss of

earning capacity.

       596.    In the alternative, the actions or inactions of Defendant USAG and Defendant

Nassar were so reckless as to demonstrate a substantial lack of concern for whether an injury

would result to Plaintiffs and constitutes gross negligence that is the proximate cause of

Plaintiffs' damages. Plaintiffs have suffered and continue to suffer pain and suffering, pain of

mind and body, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, loss of enjoyment of life,

post-traumatic stress disorder resulting in physically manifested injuries including anxiety,

depressions, sleep disorders, nightmares, psychological injuries, and physical injuries. Plaintiffs

were prevented and will continue to be prevented from performing Plaintiffs' daily activities and

obtaining the full enjoyment of life, and have sustained and continue to sustain loss of earnings

and earning capacity.

                                            COUNT SIXTEEN

                                             NEGLIGENCE
              (Plaintiffs Abigail Mealy and Amanda Mealy against Defendant USAG and
                                        Defendant Nassar)
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        597.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

        598.   A special, confidential, and fiduciary relationship was created between Plaintiffs

and Defendant Nassar when Plaintiffs sought medical treatment from Defendant Nassar in the

course of his employment, agency, and/or representation of Defendant USAG, resulting in

Defendant Nassar owing Plaintiffs a duty to use ordinary care.

        599.   Defendant Nassar owed Plaintiffs a duty to use ordinary care in providing medical

treatment.

        600.   Defendant USAG owed the public and Plaintiffs a duty to use ordinary care to

ensure their safety and freedom from sexual assault, abuse, and molestation while interacting

with their employees, agents, and/or representatives, including Defendant Nassar.

        601.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting

Plaintiffs in the course of his employment, agency, and/or representation of Defendant USAG

under the guise of proper medical treatment was a breach of the duty to use ordinary care.

        602.   Defendant USAG’s failure to adequately train and supervise Defendant

Nassar breached the duty of ordinary care.

        603.   Defendant USAG's failure to properly investigate, address, and remedy

complaints regarding Defendant Nassar's conduct was a breach of the duty to use ordinary

care.

        604.   Defendant USAG’s failure to inform the public, including individuals Defendant

USAG had referred to Defendant Nassar for treatment, of the allegations leading to Defendant

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Nassar’s separation for Defendant USAG was a breach of the duty to use ordinary care.

       605.   Defendant Nassar's conduct in sexually assaulting, abusing, and molesting

Plaintiffs was a breach of the duty to use ordinary care.

       606.   As a direct and proximate result of Defendant USAG’s and Defendant Nassar’s

actions and/or inactions, Plaintiffs have suffered and continue to suffer pain of mind and body,

mental anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were

prevented and will continue to be prevented from performing daily activities and obtaining the

full enjoyment of life, and have sustained and continue to sustain loss of earning and loss of

earning capacity.




                                          COUNT SEVENTEEN

                                        VICARIOUS LIABILITY
                            (Plaintiffs Abigail Mealy, Amanda Mealy and
                            Meaghan Ashcraft against Defendant USAG)

       607.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       608.   Vicarious liability is indirect responsibility imposed by operation of law where an

employer is bound to keep its employees within their proper bounds and is responsible if it fails

to do so.

       609.   Vicarious liability essentially creates agency between the principal and its agent

so that the principal is held to have done what the agent has done.
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      610.   Defendant USAG's website contains sites portraying Defendant Nassar as the

recipient of distinguished awards and boasts him as having been "instrumental" to the success

of USA gymnastics.

      611.   Defendant USAG employed and/or held Defendant Nassar out to be its employee,

agent, and/or representative from approximately 1986 to 2015.

      612.   A special, confidential, and fiduciary relationship was created and existed at all

times pertinent hereto between the MSU Defendants and Defendant Nassar, as described

herein this Complaint, resulting in the MSU Defendants owing Plaintiffs a duty to prevent them

from Defendant Nassar's sexual assault, battery, molestation, and discrimination.

      613.   Defendant USAG is vicariously liable for the actions of Defendant Nassar, as

described above, that were performed during the course of his employment, agency, and/or

representation with Defendant USAG.

      614.   Defendant USAG had actual and/or constructive knowledge of Defendant Nassar

sexually assaulting, battering, molesting, and harassing young females on several occasions

under the guise of medical treatment and during the course of his employment, agency, and/or

representation with Defendant USAG, beginning in 1997 and/or 1998, including, but not limited

to, the following knowledge:

      a.     Upon information and belief, in 1996, Defendant USAG received a complaint about
             Defendant Nassar's sexual abuse by a parent of Jane A71 Doe. The complaint was
             made directly to US Olympic Gymnastics Head Coach, John Geddert, who was the
             head coach for the US World Gymnastics team, and who is a longtime agent of
             USAG.

      b.     Upon information and belief, the parent of Plaintiff Jane A71 Doe, also complained
             of Nassar's sexual abuse to other USAG coaches while Plaintiff Jane A 71 Doe was
             engaged in gymnastics activities at the Twistars' facility, which is a USAG registered
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             gymnastics club.

      c.     Upon information and belief, based on reports made by the Indianapolis Star, "at
             least seven women now say they raised concerns about Nassar starting in the late
             1990 's."

      d.     During Nassar's preliminary examination on May 12, 2017 in the 55th District Court
             in Ingham County, Michigan, a young woman testified regarding an instance of
             sexual assault that occurred at Twistars' facility in Dimondale, Michigan in
             approximately 2010 when she was fifteen years old. She testified that, "Mostly all I
             remember is [Nassar} doing the treatment on me with his fingers in my vagina,
             massaging my back with a towel over my butt, and John [Geddert] walking in and
             making a joke that I guess my back really did hurt, and then I was uncomfortable
             because John [Geddert] was in there during that."

      e.     Altogether, between 1999 and 2016, at least thirty-two (32) USAG gymnasts were
             sexually abused by Larry Nasser while participating in USAG-sanctioned events, at
             USAG's famed Karolyi Ranch, and at the USA Gymnastics Club, Twistars. Upon
             information and belief, the living quarters and scheduling routines of these
             gymnasts were such that it was nearly impossible for USAG coaches, USAG
             trainers, and USAG agents to not know what Larry Nasser was doing.

      615.   Defendant USAG had actual and/or constructive knowledge of Defendant

Nassar’s propensity for sexually assaulting, battering, molesting, and harassing his patients and

other females under the guise of medical treatment and during the course of his employment,

agency, and/or representation with Defendant USAG, as described herein this Complaint, and

took no action to prevent such conduct.

      616.   It was reasonably foreseeable that Defendant Nassar would continue to

sexually assault, batter, molest, and harass females under the guise of medical treatment and

during the course of his employment, agency, and/or representation with Defendant USAG, with

the actual and/or constructive knowledge Defendant USAG had of such conduct.

      617.   As a direct and proximate result of Defendant USAG’s actions and/or inactions,

Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish, shock,
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emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to

be prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

                                           COUNT EIGHTEEN

                                     EXPRESS/IMPLIED AGENCY
                            (Plaintiffs Abigail Mealy, Amanda Mealy and
                            Meaghan Ashcraft against Defendant USAG)

       618.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       619.   An agent is a person who is authorized by another to act on its behalf.

       620.   Defendant USAG intentionally and/or negligently made representations that

Defendant Nassar was its employee, agent, and/or representative.

       621.   On the basis of those representations, Plaintiffs reasonably believed that

Defendant Nassar was acting as an employee, agent, and/or representative of Defendant USAG.

       622.   Upon information and belief, Defendant USAG referred significant numbers of

gymnasts to Defendant Nassar for medical treatment at his office on Defendant MSU’s campus.

       623.   Plaintiffs were injured as a result of Defendant Nassar’s sexual assault, abuse,

and molestation, as described above. These acts were performed during the course of

Defendant Nassar’s employment, agency, and/or representation with Defendant USAG.

       624.   Plaintiffs were injured because they relied on Defendant USAG to provide

employees, agents, and representatives who exercise reasonable skill and care.

       625.   As a direct and proximate result of Defendant Nassar’s actions carried out in the
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course of his employment, agency, and/or representation of Defendant USAG, Plaintiffs have

suffered and continue to suffer pain of mind and body, mental anguish, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to be

prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

                                           COUNT NINETEEN

                                      NEGLIGENT SUPERVISION
                            (Plaintiffs Abigail Mealy, Amanda Mealy and
                            Meaghan Ashcraft against Defendant USAG)

       626.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       627.   Defendant USAG had a duty to provide reasonable supervision of its employee,

agent, and/or representative, Defendant Nassar, while he was in the course of his employment,

agency, and/or representation with Defendant USAG and while he interacted with young female

athletes and Plaintiffs.

       628.   Given the known sexual abuse in youth sports and gymnastics, it was reasonably

foreseeable that Defendant Nassar, who had prior allegations against him, would sexually

abuse his patients, including Plaintiffs, unless properly supervised.

       629.   Defendant USAG by and through its employees, agents, managers, and/or

assigns, such as Mr. Penny and Mr. Colarassi, knew or reasonably should have known of

Defendant Nassar’s conduct and/or that Defendant Nassar was an unfit employee, agent,

and/or representative because of his sexual interest in children and young adults.
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       630.   Defendant USAG breached its duty to provide reasonable supervision of

Defendant Nassar, and permitted Defendant Nassar, who was in a position of trust and

authority, to sexually assault, abuse, molest, and harass Plaintiffs.

       631.   The aforementioned sexual assault, abuse, molestation, and harassment

occurred while Defendant Nassar was in the course of his employment, agency, and/or

representation with Defendant USAG.

       632.   Defendant USAG tolerated, authorized, and/or permitted a custom, policy, practice,

or procedure of insufficient supervision and failed to adequately screen, counsel, or discipline

such individuals, resulting in the allowance of Defendant Nassar to violate the rights of persons

such as Plaintiffs with impunity.

       633.   As a direct and proximate result of the Defendant USAG’s failure to adequately

supervise, Plaintiffs have suffered and continue to suffer pain of mind and body, mental

anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were

prevented and will continue to be prevented from performing daily activities and obtaining the

full enjoyment of life, and have sustained and continue to sustain loss of earning and loss of

earning capacity.

                                            COUNT TWENTY

                           NEGLIGENT FAILURE TO WARN OR PROTECT
                            (Plaintiffs Abigail Mealy, Amanda Mealy and
                            Meaghan Ashcraft against Defendant USAG)

       634.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

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       635.    Given the direct or indirect knowledge of sexual abuse in youth sports, and in

particular gymnastics, it was reasonably foreseeable that sexual abuse of young females may

occur if proper procedures were not put in place by Defendant USAG.

       636.    Defendant USAG knew or should have known that Defendant Nassar posed a

risk of harm to Plaintiffs and/or others in Plaintiffs’ situation.

       637.    Defendant USAG knew or should have known that Defendant Nassar committed

sexual assault, abuse, and molestation and/or was continuing to engage in such conduct.

       638.    Defendant USAG had actual and/or constructive knowledge as to the dangerous

conduct of Defendant Nassar and failed to act reasonably and responsibly in response.

       639.    Defendant USAG had a duty to warn or protect the public, Plaintiffs, and others in

Plaintiffs’ situation against the risk of injury by Defendant Nassar.

       640.    The special, trusting, confidential, and fiduciary relationship between Defendant

Nassar, in his capacity as an employee, agent, and/or representative of Defendant USAG, and

Plaintiffs created a duty to disclose this information.

       641.    Defendant USAG breached the duty owed to Plaintiffs by failing to warn the public

and Plaintiffs and/or by failing to take reasonable steps to protect the public and Plaintiffs from

Defendant Nassar.

       642.    Defendant USAG breached its duties to protect Plaintiffs by failing to detect and/or

uncover evidence of sexual assault, abuse, molestation, and harassment.

       643.    Defendant USAG breached its duty to protect Plaintiffs by failing to investigate,

adjudicate, suspend, and/or ban Defendant Nassar from USAG affiliation.

       644.    Defendant failed to adequately screen, counsel and/or discipline Defendant
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Nassar for physical and/or mental conditions that might have rendered him unfit to discharge

the duties and responsibilities of a physician in his capacity as an employee, agent, and/or

representative of Defendant USAG, resulting in violations of Plaintiffs’ rights.

       645.   Defendant USAG willfully refused to notify, give adequate warning, and implement

appropriate safeguards to protect Plaintiffs from Defendant Nassar’s conduct.

       646.   As a direct and proximate result of the Defendant USAG’s failure to warn or

protect, Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment of life,

and have sustained and continue to sustain loss of earning and loss of earning capacity.



                                          COUNT TWENTY-ONE

                            NEGLIGENT FAILURE TO TRAIN OR EDUCATE
                             (Plaintiffs Abigail Mealy, Amanda Mealy and
                             Meaghan Ashcraft against Defendant USAG)

       647.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       648.   Defendant USAG had a duty to protect the public and Plaintiffs and others in

Plaintiffs’ situation against the risk of injury by Defendant Nassar.

       649.   Defendant USAG breached the duty owed to the public and Plaintiffs to take

reasonable protective measures to protect Plaintiffs, and others in Plaintiffs’ situation, by failing

to properly train or educate Plaintiffs, and other individuals in Plaintiffs’ situation, about how to
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avoid a risk of sexual assault and/or sexual abuse, including sexual assault and/or sexual

abuse by Defendant Nassar.

       650.   Defendant USAG failed to implement reasonable safeguards to:

       a.     Prevent acts of sexual assault, abuse, and molestation by Defendant Nassar; and

       b.     Avoid placing Defendant Nassar in positions where he would have unsupervised
              contact and interaction with Plaintiffs and other young athletes.

       651.   As a direct and proximate result of the Defendant USAG’s failure to train or

educate, Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment of life,

and have sustained and continue to sustain loss of earning and loss of earning capacity.

                                         COUNT TWENTY-TWO

                                       NEGLIGENT RETENTION
                            (Plaintiffs Abigail Mealy, Amanda Mealy and
                            Meaghan Ashcraft against Defendant USAG)

       652.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       653.   Defendant USAG had a duty owed to Plaintiffs and others in Plaintiffs’ situation

when credentialing, hiring, retaining, screening, checking, regulating, monitoring, and

supervising employees, agents, and/or representative to exercise due care.

       654.   Defendant USAG breached the duties owed to Plaintiffs by failing to adequately

investigate, report, and address complaints about Defendant Nassar’s conduct, which

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Defendant USAG knew or should have known.

       655.   Defendant USAG breached the duties owed to Plaintiffs when Defendant USAG

retained Defendant Nassar as an employee, agent, and/or representative after Defendant

USAG discovered or should have reasonably discovered Defendant Nassar’s conduct, which

reflected a propensity for sexual misconduct.

       656.   Defendant USAG’s failure to act in accordance with the standard of care resulted

in Defendant Nassar gaining access to and sexually assaulting and/or sexually abusing

Plaintiffs and an unknown number of other individuals.

       657.   The aforementioned conduct of Defendant USAG in credentialing, hiring,

retaining, screening, checking, regulating, monitoring, and supervising Defendant Nassar

created a foreseeable risk of harm to Plaintiffs and other minors and young adults.

       658.   Defendant USAG’s retention of Defendant Nassar resulted in Plaintiffs relying on

such credentials as they sought medical treatment.

       659.   As a direct and proximate result of the Defendant USAG’s actions in retaining

Defendant Nassar, Plaintiffs have suffered and continue to suffer pain of mind and body, mental

anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were

prevented and will continue to be prevented from performing daily activities and obtaining the

full enjoyment of life, and have sustained and continue to sustain loss of earning and loss of

earning capacity.

                                       COUNT TWENTY-THREE

                                 FRAUD AND MISREPRESENTATION
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                              (Plaintiffs Abigail Mealy, Amanda Mealy
                          and Meaghan Ashcraft against Defendant USAG)

       660.   Plaintiffs incorporate by reference the allegations contained in the previous

paragraphs.

       661.   From approximately 1996 to summer 2015, Defendant USAG represented to

Plaintiffs and the public that Defendant Nassar was a competent, safe, and highly regarded

physician.

       662.   By representing that Defendant Nassar was a team physician and an athletic

physician at Defendant MSU and a National Team Physician with Defendant USAG, Defendant

USAG represented to Plaintiffs and the public that Defendant Nassar was safe, trustworthy, and

of high moral and ethical repute and that Plaintiffs and the public need not worry about being

harmed by Defendant Nassar.

       663.   The aforementioned representations were false when they were made because

Defendant Nassar had and was continuing to sexually assault, batter, molest, and harass

unknown number of his patients and other individuals.

       664.   Additionally, complaints were made to Defendant USAG, yet Defendant USAG did

not contact Plaintiffs, the MSU Defendants, other individuals it had referred to Defendant

Nassar, or any other clubs or organizations affiliated with Defendant Nassar to inform them of

the allegations and potential harm to Plaintiffs and others.

       665.   Defendant USAG continued to portray Defendant Nassar as a competent and

safe physician, intentionally inducing Plaintiffs and the public to rely on the reputation of

Defendant Nassar that Defendant USAG was perpetuating.

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       666.   Plaintiffs relied on the assertions of Defendant USAG and sought medical

treatment from Defendant Nassar while Defendant USAG knew of concerns and dangers.

       667.   As a result of Plaintiffs’ and the public’s reliance on Defendant USAG’s fraudulent

misrepresentation regarding Defendant Nassar, Plaintiffs and others in Plaintiffs’ situation were

sexually assaulted, abused, molested, and harassed by Defendant Nassar.

       668.   Plaintiffs were subjected to sexual assault, abuse, molestation, and harassment

as a result of Defendant USAG’s fraudulent misrepresentations regarding Defendant Nassar.

       669.   As a direct and proximate result of the Defendant USAG’s actions and knowingly

false representations, Plaintiffs have suffered and continue to suffer pain of mind and body,

mental anguish, shock, emotional distress, physical manifestations of emotional distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were

prevented and will continue to be prevented from performing daily activities and obtaining the

full enjoyment of life, and have sustained and continue to sustain loss of earning and loss of

earning capacity.

                            CLAIMS AGAINST TWISTARS AND GEDDERT

                                        COUNT TWENTY-FOUR

                                         NEGLIGENCE
       (Plaintiffs Abigail Mealy, Amanda Mealy and Meaghan Ashcraft against Defendant
                    Twistars, Defendant Geddert and Defendant Nassar)

       670.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       671.   In or around 1998, a parent of a gymnast at Defendant Twistars’ facility

complained to Mr. Geddert, the owner and operator of Defendant Twistars, regarding Dr.
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Nassar’s conduct alleging sexual abuse, assault, and molestation.

      672.   Despite being informed of Defendant Nassar’s conduct, Mr. Geddert

recommended Defendant Nassar as a physician to members and guests of Defendant Twistars.

      673.   Mr. Geddert owed the public and Plaintiffs a duty of ordinary care to ensure their

safety and freedom from sexual assault, abuse, and molestation.

      674.   In recommending Defendant Nassar with knowledge of Defendant Nassar’s

conduct, Mr. Geddert breached the duty of ordinary care to Plaintiffs and the public.

      675.   Defendant Twistars breached the duty of ordinary care to Plaintiffs and the public

in failing to investigate the 1998 allegations, which were made to Mr. Geddert.

      676.   Defendant Twistars breached the duty of ordinary care to Plaintiffs and the public

by failing to report the 1998 allegations, which were made to Mr. Geddert, to law enforcement.

      677.   By seeking medical treatment from Defendant Nassar, a special, confidential, and

fiduciary relationship between Plaintiffs and Defendant Nassar was created, resulting in

Defendant Nassar owing Plaintiffs a duty to use ordinary care.

      678.   Plaintiffs, as members of the public, in taking the recommendation of Defendant

Geddert to seek medical treatment from Defendant Nassar had a reasonable expectation that

Defendant Nassar would carry out medical treatment without subjecting them to sexual assault,

abuse, or molestation.

      679.   Defendant Nassar owed Plaintiffs a duty of ordinary care in carrying out medical

treatment.

      680.   Defendant Twistars’ failure to adequately train and supervise Defendant Nassar

breached the duty of ordinary care.
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       681.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting

Plaintiffs in the course of and under the guise of rendering medical “treatment” was a breach of

the duty to use ordinary care.

       682.   As a direct and/or proximate result of Defendants’ conduct, actions and/or

inactions, Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment of life,

and have sustained and continue to sustain loss of earning and loss of earning capacity.

                                         COUNT TWENTY-FIVE

                                     GROSS NEGLIGENCE
       (Plaintiffs Abigail Mealy, Amanda Mealy and Meaghan Ashcraft against Defendant
                    Twistars, Defendant Geddert and Defendant Nassar)

       683.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       684.   Defendant Twistars and Defendant Geddert owed the public and Plaintiffs a duty to

use due care to ensure safety and freedom from sexual assault, abuse, and molestation while

interacting with their employees, representatives, and/or agents.

       685.   Defendant Nassar owed the public and Plaintiffs a duty to use due care as an

employee, representative, and/or agent of Defendant Twistars.

       686.   By seeking medical treatment from Defendant Nassar in his capacity as an

employee, agent, and/or representative of Defendant Twistars, a special, confidential, and

fiduciary relationship between Plaintiffs and Defendant Nassar was created, resulting in
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Defendant Nassar owing Plaintiffs a duty to use due care.

       687.   Defendant Twistars and Defendant Geddert knew or should have known of

complaints pertaining to Defendant Nassar’s nonconsensual sexual touching and assaults that

occurred under the guise of medical treatment.

       688.   Given known sexual abuse which has taken place in youth sports including

gymnastics and the reasonable foreseeability that harm may occur to athletes, Defendant

Twistars and Defendant Geddert not only referred athletes to Defendant Nassar but also failed

to adequately supervise Defendant Nassar. Defendants’ action were so reckless as to

demonstrate a substantial lack of concern for whether injury would result to Plaintiffs.

       689.   Defendant Nassar’s conduct in sexually assaulting, abusing, and molesting

Plaintiffs in the course of his employment, agency, and/or representation of Defendant Twistars

and under the guise of rendering medical “treatment” as an employee, representative, and/or

agent of Defendant Twistars was so reckless as to demonstrate a substantial lack of concern

for whether injury would result to Plaintiffs.

       690.   Defendant Twistars’ conduct and the conduct of Defendant Geddert demonstrated

a willful disregard for precautions to ensure Plaintiffs’ safety.

       691.   Defendant Twistars’ conduct and the conduct of Defendant Geddert as described

above, demonstrated a willful disregard for substantial risks to Plaintiffs.

       692.   Defendant Twistars and Defendant Geddert breached duties owed to Plaintiffs

and were grossly negligent when they conducted themselves by actions described above, said

acts having been committed with reckless disregard for Plaintiffs’ health, safety, constitutional

and/or statutory rights, and with a substantial lack of concern as to whether an injury would
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result.

          693.   As a direct and/or proximate result of Defendants’ gross negligence, Plaintiffs

have suffered and continue to suffer pain of mind and body, mental anguish, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to be

prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

          694.   In the alternative, the gross negligence of Defendants was so reckless as to

demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs and

constitutes gross negligence that is the proximate cause of Plaintiffs' damages. Plaintiffs have

suffered and continue to suffer pain and suffering, pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

nightmares, psychological injuries, and physical injuries. Plaintiffs were prevented and will

continue to be prevented from performing Plaintiffs' daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

capacity.

                                            COUNT TWENTY-SIX

                                      EXPRESS/IMPLIED AGENCY
          (Plaintiffs Abigail Mealy, Amanda Mealy and Meaghan Ashcraft against Defendant
                       Twistars, Defendant Geddert, and Defendant Nassar)

          695.   Plaintiffs reallege and incorporate by reference the allegations contained in the
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previous paragraphs.

       696.    An agent is a person who is authorized by another to act on its behalf.

       697.    Defendant Twistars intentionally or negligently made representations that

Defendant Nassar was their employee, agent, and/or representative.

       698.    On the basis of those representations, Plaintiffs reasonably believed that

Defendant Nassar was acting as an employee, agent, and/or representative of Defendant

Twistars.

       699.    Upon information and belief, Defendant Twistars referred significant numbers of

gymnasts to Defendant Nassar for medical treatment at Twistars and at his office on Defendant

MSU’s campus.

       700.    Plaintiffs were injured as a result of Defendant Nassar’s sexual assault, abuse,

molestation, and harssement as described above. These acts were performed during the

course of Defendant Nassar’s agency and/or representation with Defendant Twistars.

       701.    Plaintiffs were injured because they relied on Defendant Twistars to provide

employees, agents, and/or representatives who would exercise reasonable skill or care.

       702.    As a proximate cause of Defendant Nassar’s negligence carried out through his

employment, agency, and or representation of Defendant Twistars, Plaintiffs have suffered and

continue to suffer pain of mind and body, mental anguish, shock, emotional distress, physical

manifestations of emotional distress, embarrassment, loss of self- esteem, disgrace, fright,

grief, humiliation, enjoyment of life, were prevented and will continue to be prevented from

performing daily activities and obtaining the full enjoyment of life, and have sustained and continue to

sustain loss of earning and loss of earning capacity.

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                                        COUNT TWENTY-SEVEN

                                    NEGLIGENT SUPERVISION
        (Plaintiffs Abigail Mealy, Amanda Mealy and Meaghan Ashcraft against Defendant
                     Twistars, Defendant Geddert and Defendant Nassar)

       703.    Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       704.    Defendant Twistars and Defendant Geddert each had a duty to provide

reasonable supervision of its employee, agent, and/or representative, Defendant Nassar, while

he was in the course of his employment, agency, or representation of Defendant Twistars when

he interacted with young female patients including Plaintiffs.

       705.    It was reasonably foreseeable given the known sexual abuse in youth sports and

gymnastics in particular that Defendant Nassar who had prior allegations against him had or

would sexually abuse children and young adults, including Plaintiffs, unless properly

supervised.

       706.    Defendant Twistars by and through their employees, agents, managers, and/or

assigns, and in particular by Defendant Geddert, knew or reasonably should have known of

Defendant Nassar’s conduct and/or that Defendant Nassar was an unfit employee, agent,

and/or representative because of his sexual interest in children and young adults and due to the

1998 complaint made to Defendant Geddert of the nonconsensual sexual touching during

“treatment.”

       707.    Defendant Twistars and Defendant Geddert breached their duty to provide

reasonable supervision of Defendant Nassar, and permitted Defendant Nassar, who was in a

position of trust and authority, to commit the acts against Plaintiffs.
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       708.   The aforementioned sexual abuse occurred while Defendant Nassar was acting in

the course of his employment, agency, or representation of Defendant Twistars and while on the

premises on Defendant Twistars.

       709.   Defendant Twistars and Defendant Geddert tolerated, authorized and/or permitted

a custom, policy, practice or procedure of insufficient supervision and failed to adequately

screen, counsel, or discipline such individuals, with the result that Defendant Nassar was

allowed to violate the rights of persons such as Plaintiffs with impunity.

       710.   As a direct and/or proximate result of Defendant Twistars’ negligent supervision,

Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-

esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to

be prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

                                        COUNT TWENTY-EIGHT

                          NEGLIGENT FAILURE TO WARN OR PROTECT
       (Plaintiffs Abigail Mealy, Amanda Mealy and Meaghan Ashcraft against Defendant
                              Twistars and Defendant Nassar)

       711.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       712.   Defendant Twistars and Defendant Geddert knew or should have known that

Defendant Nassar posed a risk of harm to Plaintiffs or those in Plaintiffs’ situation.

       713.   As early as 1998, Defendant Twistars, by a complaint made to its owner,

employee, agent, and/or representative Defendant John Geddert, had direct and/or constructive
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knowledge as to the dangerous conduct of Defendant Nassar and failed to act reasonably and

responsibly in response.

       714.    Defendant Twistars and Defendant Geddert knew or should have known that

Defendant Nassar committed sexual assault, abuse, and molestation and/or was continuing to

engage in such conduct.

       715.    Defendant Twistars and Defendant Geddert had a duty to warn or protect

Plaintiffs and others in Plaintiffs’ situation against the risk of injury by Defendant Nassar.

       716.    The duty to disclose this information arose by the special, trusting, confidential,

and fiduciary relationship between Defendant Nassar, an employee, agent, and/or

representative of Defendant Twistars and Plaintiffs.

       717.    Defendant Twistars and Defendant Geddert breached said duty by failing to warn

Plaintiffs and/or by failing to take reasonable steps to protect Plaintiffs from Defendant Nassar.

       718.    Defendant Twistars and Defendant Geddert breached its duties to protect

Plaintiffs by failing to detect and/or uncover evidence of sexual abuse and sexual assault, which

was taking place on its premises and at its facility.

       719.    Defendant Twistars and Defendant Geddert breached its duties to protect

Plaintiffs by failing to investigate Defendant Nassar, and adjudicate and suspend and/or ban

Defendant Nassar from Twistars sanctioned events.

       720.    Defendant Twistars and Defendant Geddert failed to adequately screen, counsel,

and/or discipline Defendant Nassar for physical and/or mental conditions that might have

rendered him unfit to discharge the duties and responsibilities of a physician with their

organization, resulting in violations of Plaintiffs.
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       721.   Defendant Twistars and Defendant Geddert willfully refused to notify, give

adequate warning, and implement appropriate safeguards to protect Plaintiffs from Defendant

Nassar’s conduct.

       722.   As a direct and/or proximate result of Defendants’ negligent failure to warn or

protect, Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss

of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will

continue to be prevented from performing daily activities and obtaining the full enjoyment of

life, and have sustained and continue to sustain loss of earning and loss of earning capacity.

                                          COUNT TWENTY-NINE

                                FRAUD AND MISREPRESENTATION
        (Plaintiffs Abigail Mealy, Amanda Mealy and Meaghan Ashcraft against Defendant
                               Twistars and Defendant Nassar)

       603.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       604.   From approximately 1996 to September 2016, Defendant Twistars represented to

the public and Plaintiffs that Defendant Nassar was a competent, ethical, and safe physician.

       605.   By representing that Defendant Nassar was a team physician and athletic physician

at Defendant MSU and a National Team Physician with Defendant USAG, Defendant Twistars

represented to the public and Plaintiffs that Defendant Nassar was safe, trustworthy, of high moral

and ethical repute, and that Plaintiffs and the public need not worry about being harmed by

Defendant Nassar.

       606.   The representations were false when they were made as Defendant Nassar had
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and was continuing to sexually assault, abuse, and molest an unknown number of individuals, at

times at Defendant Twistars’ facility.

       607.     As early as 1998, Defendant Twistars knew their representations of Defendant

Nassar were false as Defendant Twistars received a complaint of Defendant Nassar’s conduct.

       608.     Between the time of the 1998 complaint and September 2016, Defendant Twistars

continued to hold Defendant Nassar out as a competent and safe physician.

       609.     Plaintiffs relied on the assertions of Defendant Twistars that Defendant Nassar was

a safe, confident, trustworthy physician.

       610.     Plaintiffs were subjected to sexual assault, abuse, and molestation as a result of

Defendant Twistars’ fraudulent misrepresentations regarding Defendant Nassar.

       611.     As a direct and/or proximate result of Defendant Twistars’ fraudulent

misrepresentations, Plaintiffs have suffered and continue to suffer pain of mind and body, mental

anguish,      shock,   emotional   distress,   physical   manifestations   of   emotional   distress,

embarrassment, loss of self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were

prevented and will continue to be prevented from performing daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earning and loss of earning

capacity.

                                         CLAIMS AGAINST NASSAR

                                               COUNT THIRTY

                                   INVASION OF PRIVACY - INTRUSION
                                       (Against Defendant Nassar)

       612.     Plaintiffs reallege and incorporate by reference the allegations contained in the

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previous paragraphs.

       613.   Defendant Nassar intruded upon Plaintiffs’ seclusion or solitude by sexually

assaulting, abusing, and molesting Plaintiffs without the consent of Plaintiffs or Plaintiffs’ parents.

       614.   Plaintiffs’ genital areas, breasts, and sexual activity are secret and private subject

matters.

       615.   Plaintiffs possessed a right to keep these subject matters private.

       616.   Defendant Nassar's method of sexually assaulting, abusing, and molesting

Plaintiffs is objectionable to a reasonable person.

       617.   As a direct and proximate result of Defendant Nassar’s invasion of Plaintiffs’

privacy, Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss of

self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue

to be prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

                                       COUNT THIRTY-ONE

                                     ASSAULT & BATTERY
                                   (Against Defendant Nassar)

       618.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       619.   The acts committed by Defendant Nassar against Plaintiffs described herein

constitute assault and battery, actionable under the laws of Michigan.

       620.   Defendant Nassar committed nonconsensual sexual acts which resulted in

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harmful or offensive contact with the bodies of Plaintiffs.

        621.   Specifically, Defendant Nassar committed acts which caused injury to Plaintiffs by

subjecting them to an imminent battery and/or intentional invasions of their rights to be free

from offensive and harmful contact, and said conduct demonstrated that Defendant had a

present ability to subject Plaintiffs to an immediate, intentional, offensive and harmful touching.

        622.   Defendant Nassar assaulted and battered Plaintiffs by nonconsensual and

unwanted digital vagina penetration, digital anal penetration, and touching some of Plaintiffs’

breasts without notice or explanation of the “treatment.”

        623.   Plaintiffs did not consent to the contact, which caused injury, damage, loss, and/or

harm.

        624.   As a direct and/or proximate result of Defendants’ gross negligence, Plaintiffs

have suffered and continue to suffer pain of mind and body, mental anguish, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue to be

prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

        625.   In the alternative, the gross negligence of Defendants was so reckless as to

demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs and

constitutes gross negligence that is the proximate cause of Plaintiffs' damages. Plaintiffs have

suffered and continue to suffer pain and suffering, pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder
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resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

nightmares, psychological injuries, and physical injuries. Plaintiffs were prevented and will

continue to be prevented from performing Plaintiffs' daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earnings and earning

capacity.

       CLAIMS AGAINST DEFENDANTS KLAGES, STRAMPEL, KOVAN, AND STOLLAK

                                        COUNT THIRTY-TWO

       MICHIGAN CHILD PROTECTION LAW - FAILURE TO REPORT CHILD ABUSE
                (Against Defendants Klages, Strampel, Kovan, and Stollak)

       603.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       604.   Michigan’s Child Protection Law, MCL 722.621 et seq., establishes mandatory

reporting guidelines for suspected child abuse or neglect and provides penalties for failure to

report child abuse or neglect.

       605.   Specifically, MCL 722.623 provides in pertinent part:

              A physician, dentist, physician's assistant, registered dental hygienist,
       medical examiner, nurse, person licensed to provide emergency medical care,
       audiologist, psychologist, marriage and family therapist, licensed professional
       counselor, social worker, licensed master's social worker, licensed bachelor's social
       worker, registered social service technician, social service technician, a person
       employed in a professional capacity in any office of the friend of the court, school
       administrator, school counselor or teacher, law enforcement officer, member of the
       clergy, or regulated child care provider who has reasonable cause to suspect child
       abuse or child neglect shall make an immediate report to centralized intake by
       telephone, or, if available, through the online reporting system, of the suspected
       child abuse or child neglect.

       606.   Child abuse is defined as “harm or threatened harm to a child’s health or welfare

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that occurs through nonaccidental physical or mental injury, sexual abuse, sexual exploitation, or

maltreatment, by a parent, a legal guardian, or any other person responsible for the child’s health

or welfare or by a teacher, a teacher’s aide, or a member of the clergy.” MCL 722.622(g).

       607.   Child neglect is defined as “harm or threatened harm to a child’s health or welfare

by a by a parent, a legal guardian, or any other person responsible for the child’s health or welfare

that occurs through either of the following: (i) Negligent treatment, including the failure to provide

adequate food, clothing, shelter, or medical care. (ii) Placing a child at an unreasonable risk to

the child’s health or welfare by failure of the parent, legal guardian, or any other person

responsible for the child’s health or welfare to intervene to eliminate that risk when that person is

able to do so and has, or should have, knowledge of the risk.” MCL 722.622(k).

       608.   Under MCL 722.633(1), “A person who is required by this act to report an instance

of suspected child abuse or neglect and who fails to do so is civilly liable for the damages

proximately caused by the failure.”

       609.   Defendants Klages, Strampel, Kovan, and Stollak were mandatory reporters during

the time Defendant Nassar was engaged in child abuse or child neglect.

       610.   As established in the allegations above, Defendants Klages, Strampel, Kovan, and

Stollak had reasonable cause to suspect child abuse or child neglect.

       626.   Defendant Klages, Strampel, Kovan, and Stollak failed to report any instances of

suspected child abuse or neglect.

       627.   Defendants Klages, Strampel, Kovan, and Stollak are or were employed by

Defendants Michigan State University and Michigan State University Board of Trustees during

the time Defendant Nassar was engaged in child abuse or child neglect, and were acting in the
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scope and course of their employment when they failed to report any instances of suspected child

abuse or neglect.

       628.   Defendants Klages, Strampel, Kovan, and Stollak are directly civilly liable for the

damages proximately caused by their failure to report any instances of suspected child abuse or

neglect. Defendants Michigan State University and Michigan State University Board of Trustees

are vicariously liable for said damages.

       629.   As a direct and proximate result of Defendant Nassar’s invasion of Plaintiffs’

privacy, Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss of

self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue

to be prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

       630.   In the alternative, the actions or inaction of Defendants were so reckless as to

demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs and

constitutes gross negligence that is the proximate cause of Plaintiffs' damages. Plaintiffs have

suffered and continue to suffer pain and suffering, pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

disgrace, fright, grief, humiliation, loss of enjoyment of life, post-traumatic stress disorder

resulting in physically manifested injuries including anxiety, depressions, sleep disorders,

nightmares, psychological injuries, and physical injuries. Plaintiffs were prevented and will

continue to be prevented from performing Plaintiffs' daily activities and obtaining the full

enjoyment of life, and have sustained and continue to sustain loss of earnings and earning
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capacity.

                  DAMAGES - FOR ALL AFOREMENTIONED CAUSES OF ACTION

       631.   Plaintiffs reallege and incorporate by reference the allegations contained in the

previous paragraphs.

       632.   As a direct and/or proximate result of Defendants’ actions and/or inactions stated

above, Plaintiffs have suffered and continue to suffer pain of mind and body, mental anguish,

shock, emotional distress, physical manifestations of emotional distress, embarrassment, loss of

self-esteem, disgrace, fright, grief, humiliation, enjoyment of life, were prevented and will continue

to be prevented from performing daily activities and obtaining the full enjoyment of life, and have

sustained and continue to sustain loss of earning and loss of earning capacity.

       633.   The conduct, actions and/or inactions of Defendants as alleged in the above stated

counts and causes of action constitute violations of Plaintiffs’ constitutional and federal rights as

well as the common and/or statutory laws of the State of Michigan, and the United States District

Court has jurisdiction to hear and adjudicate said claims.

       634.   In whole or in part, as a result of some or all of the above actions and/or inactions

of Defendants, Plaintiffs have and continue to suffer irreparable harm as a result of the violations.

       635.   The amount in controversy exceeds the jurisdictional minimum of $75,000.00.

       WHEREFORE, Plaintiffs request this Court and the finder of fact to enter a Judgment in

Plaintiffs’ favor against all named Defendants on all counts and claims as indicated above in an

amount consistent with the proofs of trial, and seek against Defendants all appropriate damages

arising out of law, equity, and fact for each or all of the above counts where applicable and hereby

request that the trier of fact, be it judge or jury, award Plaintiffs all applicable damages, including
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but not limited to compensatory, special, exemplary, and/or punitive damages, in whatever

amount the Plaintiffs are entitled, and all other relief arising out of law, equity, and fact, also

including but not limited to:

       a)      Compensatory damages in an amount to be determined as fair and just under the

circumstances, by the trier of fact including, but not limited to medical expenses, loss of earnings,

mental anguish, anxiety, humiliation, and embarrassment, violation of Plaintiffs’ constitutional,

federal, and state rights, loss of social pleasure and enjoyment, and other damages to be proved;

       b)      Punitive and/or exemplary damages in an amount to be determined as reasonable

or just by the trier of fact;

       c)      Reasonable attorney fees, interest, and costs; and

       d)      Other declaratory, equitable, and/or injunctive relief, including, but not limited to

implementation of institutional reform and measures of accountability to ensure the safety and

protection of young athletes and other individuals, as appears to be reasonable and just.



                                                         Respectfully submitted,


                                                         /s/ Lisa M. Esser
                                                         LISA M. ESSER (P70628)
                                                         SOMMERS SCHWARTZ, P.C.
                                                         Attorney for Plaintiffs
                                                         1 Towne Square, Suite 1700
                                                         Southfield, MI 48076
                                                         Tel: (248) 355-0300
                                                         Email: lesser@sommerspc.com
Dated: April 10, 2018




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                                   PLAINTIFFS’ JURY DEMAND

       Plaintiffs, by and through their attorneys, SOMMERS SCHWARTZ, P.C., hereby demand

a trial by jury on all claims set forth above.



                                                       Respectfully submitted,


                                                       /s/ Lisa M. Esser
                                                       LISA M. ESSER (P70628)
                                                       SOMMERS SCHWARTZ, P.C.
                                                       Attorney for Plaintiffs
                                                       1 Towne Square, Suite 1700
                                                       Southfield, MI 48076
                                                       Tel: (248) 355-0300
                                                       Email: lesser@sommerspc.com
Dated: April 10, 2018




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